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 1          UNITED STATES DISTRICT COURT OF MARYLAND
                         SOUTHERN DIVISION
 2
   ------------------------x
 3 UNITED STATES OF AMERICA  :
              Plaintiff      :
 4                           :
                             :
 5 vs                        :Criminal Action:           RWT -04-0235
                             :
 6                           :
   PAULETTE MARTIN, et al    :
 7           Defendants.     :
   ------------------------x
 8

 9                           Friday, June 16, 2006
                             Greenbelt, Maryland
10
         The above-entitled action came on for a Jury Trial
11 Proceeding before the HONORABLE ROGER W. TITUS, United
   States District Judge, in courtroom 4C, commencing at
12 9:48 a.m.

13      THIS TRANSCRIPT REPRESENTS THE PRODUCT
        OF AN OFFICIAL REPORTER, ENGAGED BY
14      THE COURT, WHO HAS PERSONALLY CERTIFIED
        THAT IT REPRESENTS THE TESTIMONY AND PROCEEDINGS
15      OF THE CASE AS RECORDED    AND REQUESTED BY COUNSEL.

16      APPEARANCES:

17      On behalf of the Plaintiff:

18      DEBORAH JOHNSTON, Esquire
        BONNIE GREENBERG, Esquire
19
        On behalf of the Defendants:
20
        MICHAEL MONTEMARANO , Esquire
21      ANTHONY MARTIN, Esquire
        MARC HALL, Esquire
22      TIMOTHY MITCHELL, Esquire
        PETER WARD, Esquire
23      EDWARD SUSSMAN , Esquire
        HARRY MCKNETT , Esquire
24
   Tracy Rae Dunlap,   RPR , CRR                      (301) 344-3912
25 Official Court Reporter
                             I N D E X



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 1

 2                                 DIRECT    CROSS      REDIRECT

 3
     Mark Walston                   21        49
 4
     Robert   Strause               51        66
 5
     Heath Guillotte                73
 6
     Michael Thurman                86
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23                                                            Page

24 Reporter's Certificate                                     253

25 Concordance                                                254




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 1            MR. SUSSMAN :     Your Honor , Ms. Harden          is not

 2 here .    I haven't     spoke n with her , but I will waive her

 3 presence     for purpose s of legal argument .

 4            THE COURT:      All right .        We're not going to take

 5 any testimony .

 6            MR. MONTEMARANO :        Ms. Johnston     and I have just

 7 spoken ; we have resolved           the issue concern ing my

 8 objection     to the telephone        call .

 9            THE COURT:      Good .

10            MS. JOHNSTON:      Your Honor , let me explain          to the

11 court , because    the transcript        book s as well as the CD

12 have already     been introduced        through     Agent Sakala    with

13 your instruction        to the jury , but Mr. Montemarano 's

14 problem    was with the call that begin s on Page 45 , which

15 is B-357 .

16            THE COURT:      Which volume        is that in ?

17            MS. JOHNSTON:      Volume     1.

18            THE COURT:      I have them all mark ed .

19            Wait a minute .     One second .        On Page 47 ?

20            MS. JOHNSTON:      No , Your Honor .       The call begin s

21 on Page 45 , and Agent Sakala , when going through                 these

22 call s for the fifteenth        time the other day , recognize d

23 that the transcript        in the book has not been edited .

24 The call on the CD has been edited .                The only portion

25 that the jury 's going to hear begin s on Page 52 at the




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 1 top of Page 52 .

 2         THE COURT:      All right .

 3         MS. JOHNSTON:        We had no intention     of play ing

 4 that graphic    portion .    What I would pro pose to do is

 5 keep in the transcript       book s and the court exhibit       Page

 6 45 , which give s the date and the time of the call , and

 7 then just re move Page s 46 through        51 .

 8         THE COURT:      I think Mr. Ward is comi ng in .

 9         All right .

10         MR. WARD:     Good morn ing , Your Honor .       Sorry for

11 the delay .

12         THE COURT:      We haven't    done anything , Mr. Ward .

13 All we're talk ing about is the government           and Mr.

14 Montemarano    have resolve d their difference s with regard

15 to call number     B-357 .

16         MR. WARD:     Thank you , and I apologize , sir .

17         MS. JOHNSTON:        What I would request     do ing is

18 leavi ng the first page , Page 45 , which give s the date

19 and the time of the call , re moving        Pages 46 through       51,

20 and the agent will explain        that those page s had to do

21 with part of the call that we're not play ing and that 's

22 why they've    been re move d.

23         We would re move it from the court exhibit , as

24 well as all of the transcript         book s.

25         THE COURT:      Is that acceptable , Mr. Montemarano .




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 1           MR. MONTEMARANO :     Yes , Your Honor .

 2           Just so the record     is clear , I have no reason          to

 3 think Ms. Johnston       did it on purpose .     From the view of

 4 the defense , the effect       it would have    on my client

 5 would have been significant .

 6           THE COURT:      Your motion   is done .     Your motion     is

 7 granted to exclude that, with consent of the

 8 government, and that        will not be before the Jury.

 9 Those pages will be removed        from all copies --       please

10 be certain     that that 's done , Ms. Johnston .

11           All right .     We have a couple     of other matter s.

12           Mr. McKnett , you had matter s in Book s 2 and 3,              I

13 believe .

14           MR. MCKNETT:      That 's correct , Your Honor .

15           THE COURT:      Let 's take your first one .

16           MS. JOHNSTON:      I'm not able to agree to re move

17 those .

18           THE COURT:      What is your reason       for want ing to

19 exclude     what's   on Page 408 , Mr. McKnett ?

20           MR. MCKNETT :     Your Honor , the entire

21 conversation     is not a conversation       that has to do with

22 any allegation s of drug activity        or anything      else .    It

23 has to do with the fact that Ms. Martin             has been

24 accused     of a homicide    and she 's talk ing to other people

25 during    the course    of this call , including      my client     --




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 1 talk ing about other people            in the course    of this call

 2 and talk ing to my client            about this homicide       and

 3 detective s that have come from California               to

 4 investigate     the murder     and that she 's name d as a

 5 suspect   of the murder .           I'm sure the court is aware of

 6 the content s.

 7           It does n't do anything         to advance    the

 8 government 's case with regard            to the charge s pend ing in

 9 this case .     What it does is add a whole new level of

10 accusation     concern ing a murder -- a violent              crime which

11 has nothing     to do with this case .         It would tend to , I

12 think , add to the aspect            in the mind of the jury that

13 would cause them to be more inclined             to convict          than it

14 would be without         this conversation , because          it 's an

15 inflammatory     conversation .         The subject    matter    of it is

16 inflammatory .

17           While I'm sure the government           will be able to

18 explain   why it believe s this conversation             should       be

19 relevant , it 's not necessary , and the court should                      look

20 at whatever     purpose     the government     think s this

21 conversation     has .     Can the government     accomplish          the

22 same purpose     without     it ?     I think the government          can .

23           THE COURT:       All right .     Is there any intention

24 to play this record ing today ?

25           MS. JOHNSTON:       No , Your Honor .       That 's in Volume




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 1 2, on Page 400 of the call .          It will be quite a while

 2 before    we get to that .       It occur s on April 28 .

 3           THE COURT:     What is your position           about this ?

 4           MS. JOHNSTON:       Your Honor , the government         --

 5 first of all , it does not say that Ms. Martin                 is a

 6 suspect    in the homicide .       Counsel    for Ms. Martin

 7 brought    out this whole notion       of Mr. Brim 's homicide           in

 8 his cross-examination         of Mr. King .     The government        left

 9 it very limited       in term s of its direct      on Mr. King .         We

10 mere ly asked him if his father         had pass ed away and when

11 that was , and he said his father            had been kill ed and

12 that was the ex tent of it .         Mr. Montemarano        went into

13 all this stuff about Mr. Brim , but this call does not

14 say Ms. Martin 's a suspect .         What it says is that the

15 police    were here .

16           It is important , because       it show s the

17 relationship       between   Ms. Ali and Ms. Martin         and the

18 fact that both Ms. Ali and Ms. Martin             know all of these

19 individuals , and Ms. Martin         is confidi ng in Ms. Ali

20 about her opinion       about different       thing s.    In

21 particular , on Page 409 --

22           THE COURT:     Let me do this .       I think I hear what

23 your position s are .        It 's not going to a offered         today .

24 Let me read this over , and give me at least                one day 's

25 notice    before    you intend    to present    this record ing ;




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 1 I'll consider       it and we'll debate        it and resolve    it

 2 then .

 3            MS. JOHNSTON:       That 's fine , Your H onor .

 4              Like wise , I think with the second        call that Mr.

 5 McKnett     had an issue with --

 6            THE COURT:      What 's your issue on the second

 7 call , Mr. McKnett , in Volume          3?    I think it 's at Page

 8 --

 9            MR. MCKNETT :     Page 543 .

10            THE COURT:      Page 543 .     I have that here .

11            MR. MCKNETT :     Your Honor , I have      specifically

12 focused     in on the language , "and I need you to           sign

13 this thing 'Billy Joe,'          because     they have an

14 authorization       that the policy      was received , just a

15 paper ."

16            Well , first of all , by state ment this refer s to

17 insurance      fraud which is the subject         of the next trial .

18 The person      who 's being talk ed to by Ms. Martin         is not

19 name d Billy Joe .       It 's an allegation      of an at tempt to

20 facilitate      an insurance     fraud which does absolute ly

21 nothing     to advance    the government 's position        in this

22 case except      to , again , raise in the minds of the jury

23 that there 's other bad act s going on here with these

24 people .

25            THE COURT:      All right .       I think I understand




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 1 your position .

 2           Ms. Johnston , what's       your position ?

 3           MS. JOHNSTON:      Your Honor , this is a call

 4 between    Ms. Martin    and Ms. Dobie .        In this call , on the

 5 very first page , Ms. Martin          is tell ing Ms. Dobie how

 6 they can't have anybody        comi ng to the house anymore

 7 because    the Takoma Park Police        had a meet ing , "and just

 8 to be on the safe side , you know , what little               ticket s I

 9 did have I had to take them to the school ."

10           This is extreme ly important , because             we have

11 surveillance     two day s before      of Ms. Martin      and Ms. Ali

12 moving    thing s to the school .       She then goes on --

13           THE COURT:      That 's a different       call .

14           MS. JOHNSTON:      No , Your Honor .       542 and 543 ,

15 that 's one call .

16           THE COURT:      Oh, okay.    542?    A   ll right .

17           MS. JOHNSTON:      Then they go on to -- Ms. Dobie

18 says that she has to meet Ms. Martin               at the school .          As

19 we said before , there may be some incident al thing s

20 about insurance      polici es .   It does n't say anything            in

21 term s of whether      it 's fraudulent       or not .   It does n't

22 even say "insurance       policy ."     It just mentions        a

23 policy , and there 's a paper , and then they talk about

24 meet ing at the school .       It would be literal ly

25 im possible    to , I guess , cut out the part about where




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 1 Paulette     Martin    says , I want to bring you a birthday

 2 gift and I need you to sign this thing "Billy Joe ,"

 3 because     they have to have an authorization         that the

 4 policy     was received .

 5            THE COURT:      Mr. McKnett , this one isolate d

 6 snip pet in here does n't really       tell very much about the

 7 insurance     aspect    of this case at all .      I mean , if I'm

 8 reading     it over as a juror , it does n't make any sense

 9 at all .     It does n't look like it 's raisi ng any question

10 about an insur ance fraud scandal .

11            MR. MCKNETT :     Your Honor , it raise s a question

12 in the juror s' minds .       What 's it about ?     It en courage s

13 speculation     about other possible      bad act s.    And de spite

14 what Ms. Johnston        says , the conversation     reads very

15 smooth ly without       that one sentence .     It says early on

16 Ms. Martin 's going to the school .

17            THE COURT:      Let me ask Ms. Johnston .      Is it

18 possible     to excise    this from the record ing ?

19            MS. JOHNSTON:      Your Honor , quite frankly ,

20 anything     is possible , but the problem       with it is this .

21 If we excise     that , then it will look to the jury like

22 Ms. Dobie may be going to the school            the pick up drug s.

23 It may leave an im proper        inference    in term s of the

24 jury .

25            THE COURT:      Let me do the same thing with this .




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 1 Let me look it over in de tail .           Give me at least      a

 2 day 's notice    before     you intend    to play this so I can

 3 consider    the question .

 4            Anything     further    on the record ings ?

 5            All right .     Mr. Martin , I believe       you had a

 6 matter   -- before      you do that .     Mr. Sussman , your

 7 client 's here now .

 8            MR. SUSSMAN :     That 's correct , sir .

 9            THE COURT:      Ms. Harden , you need to be sure

10 you're   here on time .       You have    a right to be present

11 during   all the proceed ings .         Your counsel     waive d it for

12 the purpose s of this discussion           we were having , but I

13 want you to     -- you are waivi ng your right to be present

14 for the few minute s you weren't           here .

15            DEFENDANT HARDEN:         No , I'm not .    I was here .    I

16 was downstairs .        I didn't     real ize you got start ed .      Oh ,

17 I'm sorry .     I didn't     real ize you got start ed at quarter

18 till .

19            THE COURT:      Well , your attorney       waive d your

20 right to be present         for just a few moment s.        Do you

21 understand     that ?

22            DEFENDANT HARDEN:         Right .   He told me .

23            THE COURT:      Please    be on time .     I want you to

24 be able to participate            in this case .

25            DEFENDANT HARDEN:         I will , but I didn't     real ize




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 1 we were here at a quarter           to ten .    Thank you .

 2           THE COURT:     All right , Mr. Martin .

 3           MR. MARTIN:     Yes, sir .      I had a chance , thank s

 4 to the effort s of Ms. Dun lap , last night to re view the

 5 transcript     with respect    to Detective Martini'          s

 6 testimony .     Your Honor may recall          that I've object ed to

 7 the double     hearsay   nature     of that testimony , and I

 8 mis spoke when I approach ed the bench and said he reli es

 9 on the Fifth Amendment .           Obvious ly , it 's the Sixth

10 Amendment     in a confrontation       clause    and Y our Honor , I

11 think , at the bench had said to me , well , Mr. Martin

12 you opened     the door by asking       the question        who .   I

13 thought   I hadn't .     But look ing at the transcript , Your

14 Honor 's recollection      clear ly was better        than mine .

15 Nevertheless , I still stand on my objection , because                  it

16 is an implicati ng statement .

17           THE COURT:     You're     asking     to strike    the entire ty

18 of his testimony .

19           MR. MARTIN:     Well , certain ly that part that

20 deal s with the double      hearsay     where , "G rant told me ."

21           THE COURT:     Specifically,         tell me what it is you

22 want to exclude .

23           MR. MARTIN:     The part that I'd like to exclude

24 -- if I could turn the court 's at tention,                if you have a

25 copy of the transcript        --




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 1            THE COURT:      Yes , I have   it in front of me .

 2            MR. MARTIN:      I'm look ing now at Page 52 .        This

 3 is where I think it start s.            I have it highlight ed , but

 4 un fortunate ly I don't have       --

 5            THE COURT:      Just tell me where you are.

 6            MR. MARTIN:      I'm going to try to find it      .     It

 7 look s like Line 3, Question:           "W ho gave you that

 8 information ?"

 9            Answer :     "It was his 17 year -old daughter        that

10 was in the vehicle .        She said that 's where her father

11 kept it ."

12            Moving     down to Line 9.     Question:    " You didn't

13 find Mr.      Goodwin 's fingerprint s."

14            Then we go over to Page 53 , the first line .

15 Question:     "Y ou never mention ed it in your report ."

16            Answer:     " I don't believe    I did ."

17            Hen we go on to Page 65 , Line 7.           Question:

18 "J ust to make absolute ly certain .          Your testimony       is

19 that Mr. Goodwin 's daughter         told you her dad keep s

20 drug s in the bottle ."

21            And further     down he answer s, beginning      at Line

22 10, " I said that she related           information    to us that

23 that 's where her dad kept it .           She spoke those words to

24 Detective     Grant , and Detective       Grant spoke those words

25 to me ."




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 1          It seem s to me , Your Honor , that this is double

 2 hearsay .   This goes beyond         just the typical      hear say

 3 where the government         says it 's 801 (d)(2)(E ) statement

 4 of a co conspirator        in furtherance       of the conspiracy .

 5 As far as   I know , Iesha goodwin            has never been indict ed

 6 in this case , and there 's no information              to suggest

 7 that Iesha Goodwin         was involve d in drug deal ing .         So ,

 8 to say that this is a co conspirator              exception     I think

 9 is a stretch .

10          What we really       have here -- I know the hearsay

11 rule has pretty     much been emasculated,           but Your Honor

12 you've   got double       hearsay   here .     You don't have Martini

13 hear ing it .    You have     him say ing Grant related          that to

14 him , and it 's not even in his report .             I would suggest

15 that the reliability         of it is such that this come s

16 closer   to Crawford       than what the government        is

17 suggest ing to    you .

18          Crawford , you will remember , is a case where the

19 wife apparent ly made an implicati ng statement                 regard ing

20 her husband , and the court said that that clear ly was

21 testimonial     because     it was a statement       that was being

22 made to a law enforcement           officer     that later on was

23 use d.   Well , that 's exact ly what we have here , except

24 this time we have the daughter               maki ng a statement    and

25 the government     say ing , well , the daughter         is part of




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 1 this conspiracy       and there 's no indication       of that .    So

 2 I would ask that any reference           to the daughter       be

 3 stricken     and that the jury be instruct ed to dis regard

 4 the allege d statement         made by the daughter .

 5            THE COURT:     All right .    Ms. Johnston    and Ms.

 6 Greenberg .

 7            MS. GREENBERG:       Your Honor , what is -- the

 8 difference     here between      a question   that call s for

 9 hearsay     and whether   the government      has to argue

10 co conspirator      statement s is that it was defense

11 counsel 's question ing that elicited            the hearsay

12 testimony     which was an honest       answer    to the counsel 's

13 question .     What counsel      did not refer the court to is

14 the earlier      question s.     First of all , at the bottom       of

15 Page 51 --

16            THE COURT:     Wait a minute .     Let me get there .

17            Okay .

18            MS. GREENBERG:       The witness   was asked , "A nd as a

19 result     of your search , you found these drug s in a

20 plastic     contain er ; correct ?"

21            He answered , "W ell , while on the scene , we

22 received     an indication      why the -- where to look for the

23 drug s."

24            It 's clear ly indicati ng that law enforcement          was

25 look ing for the drug s.         There was a number     of --




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 1 probably     earlier   on Page 51 , Your Honor , there 's a

 2 discussion      about what amount        of time had pass ed before

 3 the drug s had been found .        Mr. Martin     is clear ly

 4 indicati ng that law enforcement            agent s were look ing for

 5 the drug s; the witness        agreed .

 6            Then he refer s to , on Page 52 , "W hile on the

 7 scene we received         indication     where to look for the

 8 drug s."     He 's clear ly referring       to law enforcement

 9 search ing the vehicle .        He asks a very open question ,

10 and he got the honest         answer .     Who gave you the

11 information ?      And the witness        honest ly took that as

12 "you " mean ing law enforcement .

13            "Who gave you the information ?"

14            "It was his 17 year -old daughter         that was in the

15 vehicle .      That 's where she said her father        kept it ."

16            The discussion     here is , how did you know to look

17 in this Pepsi bottle , and he said we received             an

18 indication .      Not "me " and not "I, " but "we."        He

19 answered     honest ly to a question , a very open -end ed

20 question .      Counsel    has to live with the answer .         He

21 went back to it , and just to make absolute ly certain

22 told you -- if you go to Page 65 , Line 7: "J ust to make

23 absolute ly certain .        Your testimony     is that Mr.

24 Goodwin 's daughter        told you that her dad keep s," and he

25 said , "N o.     I said that she related        that information      to




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 1 us ," which is exact ly the series           of question s on Page

 2 52 .   Specifically , now that you're          asking    me ,

 3 specifically     it was to Detective         Grant .

 4           Detective     Grant is available .       Mr. Martin       can --

 5 he 's going to be testify ing later on in the trial .                     Mr.

 6 Martin    can ask him about that .          But this witness        was

 7 answering     question s honest ly , pose d to him by defense

 8 counsel .     It does not entitle         him to strike    the hearsay

 9 answer s that he elicited        from this witness        in response

10 to his question s.

11           THE COURT:      Mr. Martin .

12           MR. MARTIN:      Your Honor , then I would ask that

13 you re serve until such time as Detective               Grant in fact

14 is put on the witness        stand .

15           As far as     I'm concerned , at this point we've got

16 two in visible    witness es .    Rather     than make a decision

17 now , I would ask the court to wait until the government

18 connect s this up and I've had an opportunity                   to --

19           THE COURT:      I'm going to deny your motion             now

20 without     prejudice   for you to     raise it again when

21 Detective     Grant is here .     These are question s that were

22 asked by the defense , and I don't see how there 's a

23 basis for me to strike        testimony      that you elicited          from

24 this witness     that he answered         you truth fully .       So I'm

25 going to deny your motion         now .     You can certain ly raise




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 1 it again , should      Detective     Grant testify , and you can

 2 examine   him .

 3           MS. GREENBERG:      Your Honor , jus t so the court is

 4 clear .   We don't believe      there 's any obligation          that we

 5 need to connect       it up to Detective     Grant .

 6           THE COURT:      I didn't    say there was .     You can

 7 raise the issue if you think somehow           the jury or the

 8 court 's been mis led if you get something             different    from

 9 Detective   Grant .

10           MR. SUSSMAN :     Ju dge , I know you ruled , but I

11 weigh ed in on this issue and I think that I'd like to

12 be heard on this , because         what I think   transpire d here

13 was that this -- the court talk ed about "ambush "

14 previous ly .     This was a terrible      piece of evidence        that

15 was not in the Jenks that I'm sure Ms. Greenberg                  knew

16 about , and there was no heads -up , and I'm not sure

17 whether   she caution ed her officer        to avoid testify ing

18 that way , because      it clear ly was hearsay .        It was what

19 Grant was told by somebody           else , and it 's not just a

20 run of the mill piece of evidence .           It 's a pretty       hard ,

21 devastati ng kind of evidence .

22           He testifi ed -- the appropriate        testimony        would

23 have been as a result       of information     we received , we

24 went in there , and that was the ex tent of it .             I

25 believe   an experience d officer        was wait ing to drop this




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 1 on Mr. Martin , and that at the first opportunity               he

 2 did .    It 's clear ly hearsay    and it 's not subject      to any

 3 exception .

 4            THE COURT:     He was not asked the question         by the

 5 prosecutor .     And to suggest     he was lying in wait for a

 6 question    from a defense     attorney , I don't find that to

 7 be the case here .        I mean , think --

 8            MR. SUSSMAN:     Was he caution ed not to mention

 9 it ?    That is the question .      Frequent ly when we have a

10 piece of evidence       like that , a witness        is admonish ed

11 not to mention     it in the course        of -- that 's a mis trial

12 situation     in various    case s when they talk about

13 in criminati ng information       coming    from a third party .

14            THE COURT:     I don't have     any indication     that

15 that was deliberate ly done in this case .

16            MR. SUSSMAN:     Well , Ms. Greenberg       can talk to

17 whether    that was discuss ed in term s of the          pre trial

18 preparation .     This is -- as Ms. Johnston           has said , this

19 investigat ion has been going on for two year s.

20 Presumably,     the government     was aware of that statement ,

21 and it was n't a surprise       to them .     Presumably , also ,

22 that a 12 -year veteran       of the   police   force who has gone

23 to numerable     thing s would know that 's not the kind of

24 information     that you're    permitted     to put in front of a

25 jury , and that was my objection           to it .    The problem s --




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 1 just because        you ask a question    does n't allow a witness

 2 to come up with anything          they wish -- when the door is

 3 open , not anything       can come in , and that 's exact ly what

 4 the story was here .        That 's why I think the jury should

 5 be told that that was objectionable            hearsay    and that

 6 sentence     sh ould be stricken .

 7            THE COURT:     All right .     Anything    further ?

 8            Okay .    I have deni ed the motion .

 9            Are we ready for the jury ?

10            MS. JOHNSTON:     Yes, sir .

11            THE COURT:     Are they here ?

12            THE CLERK:     Yes .

13            THE COURT:     Okay , bring them in .

14                          (Jury returns    at 10 :09 a.m. )

15            THE COURT:     Good morn ing , ladies and gentlemen         .

16            Ms. Johnston , we're ready to proceed .

17            MS. JOHNSTON:     Thank you , Your Honor .        The

18 government     would call Mr. Mark Wal ston .

19 Thereupon,

20                             MARK WALSTON ,

21 having been called as a witness on behalf of th              e

22 Plaintiff , and having been first duly sworn by the

23 Courtroom Deputy, was examined and testified as

24 follows:

25            THE CLERK:     Some of the counsel        are having    a




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1 little   problem   seeing    the witness es over the monitor ,

2 so I'm going to ask you to sit up as straight              as you

3 can and speak into that micro phone in front of you and ,

4 if you would , state your name        for the record .

5          THE WITNESS:       It 's Mark Walst on .

6                          DIRECT EXAMINATION

7          BY MS. JOHNSTON :

8 Q.       Mr. Walston,      good morn ing .

9          Where are you employ ed ?

10 A.      Southwest      Airline s.

11 Q.      What do you do for Southwest         Airlines ?

12 A.      I'm a custodian      of records .

13 Q.      How long have you been employ ed by Southwest

14 Airline s in that capacity ?

15 A.      Eight year s.

16 Q.      What are your duti es and responsibilities            as a

17 custodian   of records ?

18 A.      To respond      to subpoena s for passenger       records ,

19 and to compile    them and submit     them and then testify .

20 Q.      As a records      custodian , are you familiar       with

21 the records , both paper and electron ic , that are

22 maintain ed by Southwest      Airlines   and create d and

23 maintain ed by Southwest      Airline s in the ordinary       course

24 of their business ?

25 A.      Yes , I am .




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 1 Q.        Have you had occasion          to testify   previous ly as a

 2 records   custodian ?

 3 A.        Yes , I have .

 4 Q.        In regards      to this case , were you request ed to

 5 provide   records   via subpoena      to the investigative

 6 agenci es during    the course     of this investigation ?

 7 A.        Yes , I was .

 8 Q.        I'm going to show you two set s of records             mark ed

 9 as Government 's Exhibit        R-9 and R-10 .

10           R-9 and R-10,      counsel .

11           Do you recognize      those records ?

12 A.        Yes , I do .

13 Q.        Are those Southwest      Airline s records      --

14 A.        Yes , they are .

15 Q.        -- for particular      flight s and particular

16 passenger s?

17 A.        Yes .

18 Q.        I'm going to leave a copy of those exhibit s with

19 you and take them back and put them up on the monitor

20 so we can all see them together .

21           First of all , with regards         to Government 's

22 Exhibit   R-9.    T hat 's a rather      thick package    of

23 document s.

24           Could you tell us why we seem to have a lot of

25 document s in reference        to that record ?




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 1 A.         It 's actual ly two reservation s that go together ,

 2 but it 's the whole reservation          history .

 3 Q.         When you say , "the whole reservation           history ,"

 4 does that have anything         to do with the tab s at the top

 5 of the record ?

 6 A.         Yes , it does .

 7 Q.         What records      do we have in this packet        that 's

 8 mark ed as R-9 relating        to the tab s at the top ?

 9 A.         The first tab is what we call " past history "

10 which is     the actual    reservation    history    with the

11 book ing , payment , contact        information , etcetera .

12 Q.         Are some of these records         repetitive    in term s of

13 the information        that 's set forth ?

14 A.         In this past history , yes .        To make it a little

15 easier   we've broken      it down into different         tab s.    So

16 there 's like a Payment        Tab which show s you just

17 strictly     payment    information , Ticketing      Information

18 which is the itinerary,         and Itinerary     and Usage of the

19 ticket   so it 's a little      easier   to understand .

20 Q.         If we could look at the front page of this and ,

21 beginning     at the very top .       What's   the PNR number ?

22 A.         The PNR is the passenger       name record      or your

23 reservation number        MJ94B .

24 Q.         Underneath    that it list s a passenger        name .

25 A.         Correct .    Actual ly , there 's two passenger s on




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 1 this reservation         that you're    point ing at , and the first

 2 passenger      on the reservation       is a Learley     Goodwin .

 3 Q.          Okay .    If we go further    over , does it give us

 4 the information         in term s of the flight ?

 5 A.          For the flight     information      it show s it 's book ed

 6 for a flight         on December   27 , 2001 , Flight 2180 from

 7 Baltimore /Washington         to Houston .

 8 Q.          The book ing date .     Is that when the reservation

 9 was made ?

10 A.          Correct .

11 Q.          As well as the time for the reservation              was

12 made ?

13 A.          Yes .    That is in central      standard   time .

14 Q.          Now , at the bottom     -- then there 's a column

15 mark ed "R emark s."        Does that information       have anything

16 to do with the ticket s and who book ed them ?

17 A.          It 's just note s that the reservation         agent may

18 have put in .         Some of it is just standard        that

19 automatically         goes in there .

20 Q.          Nothing     of significance   there in term s of this

21 particular      reservation ?

22 A.          Nothing     that I can see , no .

23 Q.          Now if we look at the bottom          box , it 's entitle d

24 "F are ."

25 A.          Correct .




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 1 Q.        What does that box tell us ?

 2 A.        That 's the break down of the type of fare that

 3 was purchase d.

 4 Q.        Now , PAX count and the number 2           refer s to what ?

 5 A.        Passenger        count , which is two .

 6 Q.        Then we have a base fare and total fare .

 7 A.        Correct .

 8 Q.        Was that for one flight         or two ?

 9           Strike    that .

10           Was that for both passenger s or for --

11 A.        That 's for two .

12 Q.        And then underneath         that we have a 1 and a 2.

13 The 1 as H7RNR, and 2 as MZ7 RNR.

14           Do you see those two column s?

15 A.        Yes , I do .

16 Q.        What is that information         that 's associate d with

17 those two line s?

18 A.        That 's the type of fare that they got .              They're

19 two different       seven -day advance     fare s.

20 Q.        Excuse    me ?

21 A.        They're     two different     type s of seven -day advance

22 fare s.

23 Q.        So that 's a code that Southwest           Airlines    use d in

24 term s of what fare is charge d?

25 A.        Correct .




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 1 Q.         Then we have an -- it says , "I tinerary        Date ."

 2            If you could , just explain     to us what the rest

 3 of the information      is in that box in reference         to what

 4 flight s were book ed .

 5 A.         The itinerary     date s goes with the fare , and it

 6 just show s that there was a reservation           for December      27

 7 of 2001 from Baltimore        to Houston , and then December         29

 8 for a return     from Houston     to Baltimore .

 9 Q.         If we look at the second      page .    Is this -- does

10 this page also summarize         the book ed itinerary ?

11 A.         Yes , it does .    The top box there actual ly break s

12 down the whole itinerary         that was original ly book ed .

13 Q.         Could you tell us what that itinerary          was ?

14 A.         It's December     27 , 2001 , Flight 2180 from

15 Baltimore     to Houston , and the return      flight   on December

16 29 , 2001 , Flight 1592 from Houston        to Nashville , and

17 then a connect ing flight , Flight 80 , from Nashville             on

18 to Baltimore .

19 Q.         Across those column s there 's a "R eceived       From "

20 column ?

21 A.         Correct .

22 Q.         What does that refer to ?

23 A.         That is the person     that they spoke to maki ng the

24 reservation .

25 Q.         And then there 's a "C ancel led On" column .          What




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 1 does that refer to ?

 2 A.         That particular    portion    of the reservation         for

 3 the return     was cancel led .

 4 Q.         Then if we go down here , we see a column           that is

 5 mark ed -- I'm point ing at it -- I think "9N R emark s."

 6 A.         Correct .

 7 Q.         Okay .   What does that refer to ?

 8 A.         That 's just another    record     of a contact   where

 9 there was a reservation        that was changed .

10 Q.         And then , "P hone Information ."       Can you tell us

11 where that information        come s from ?

12 A.         When you make a reservation , whether        on line or

13 by telephone , they will ask for a contact            phone number ,

14 and that 's the number       that was given .

15 Q.         And "R eceived   From " is the individual      who -- at

16 least the name use d by the individual           who provide d that

17 telephone     number ?

18 A.         Correct .

19 Q.         And then passenger s.

20 A.         The passenger s is the list of the name s of the

21 passenger s who are on the reservation .

22 Q.         Now , would -- back at the time , December          of

23 2001 , were individuals       required   to present    photo

24 identification s to pick up these ticket s and board the

25 plane s?




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 1 A.       As far as     southwest        is concerned , you only have

 2 to show ID if you're         check ing bag s.

 3 Q.       So you would not have had to check ID back in

 4 2001 ?

 5 A.       Only if you were check ing bag s.

 6 Q.       Turn ing to page --

 7 A.       That 's --

 8          MR. MARTIN:         Objection .

 9          THE COURT:         To what ?

10          BY MS. JOHNSTON:

11 Q.       Do you want to correct            your answer ?

12 A.       I was just going to say that 's just as far as

13 Southwest   is concerned .

14 Q.       Turn ing to Page A-3.

15          Again , at the top , do we have the same flight

16 information ?

17 A.       Correct .

18 Q.       Further     down there 's a reference       to phone and

19 address .

20          Can you explain        to us where that information

21 come s from ?

22 A.       The phone number        and the address     is something

23 they will ask for , because         this ticket     was paid for

24 with a credit      card .    So , they would ask for the bill ing

25 information     to verify      for payment .




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1 Q.        Okay .   What was the bill ing information

2 provided ?

3 A.        It 's 9002 Bexhill C ourt , Hyattsville       Maryland ,

4 20783 .

5 Q.        Who was that received       from according    to the

6 records ?

7 A.        It show s that the purchaser 's name was a Learley

8 R. Goodwin .

9 Q.        Now , if we turn to -- does that PNR, the

10 reservation   payment s that begin s at the bottom         of Page

11 3.   Does that continue     on the top of Page 4?

12 A.       Yes , it does .

13 Q.       What information     was obtain ed , or what credit

14 card number   was use d to book this flight ?

15 A.       This is a Visa .

16 Q.       How do you know that ?

17 A.       It says vendor     ID is BA, which is Bank of

18 America , which is Visa .

19 Q.       Is a credit     card number   depict ed here ?

20 A.       Yes , it is .

21 Q.       Is that the number     that come s across the top ,

22 beginning   "429 ?"

23 A.       Yes, ma'am , that 's it .

24 Q.       Do you know whether     or not the address       and name

25 on that card were verif ied with       the credit     card company




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 1 before    Southwest     issue d the ticket s?

 2 A.        Yes , it was .

 3 Q.        How do we know that ?

 4 A.        In the credit       card bill ing information , the

 5 low er right-hand       corner    of that box , it says , "A ddress

 6 Verification        Complete ."

 7 Q.        If you were un able to verify         the address   given

 8 by the person        making   the reservation , what would

 9 Southwest    do ?

10 A.        They would contact        the card holder   to verify   that

11 it was authorize d, and there would be some note s in the

12 reservation       summary .

13 Q.        And the next two column s just tell us that

14 they're    ticket less reservation s; is that fair to say ?

15 A.        Correct .

16 Q.        Now , are there -- if we go back to start ing on

17 A-9 .    A re the records      a little   bit less repetitive     and

18 easier    to understand ?

19 A.        Yes .

20 Q.        Let 's go to Page A-9 .

21           Do they all contain        the same information ?

22 A.        Correct .

23 Q.        Look ing at Page A-9.        I f you could , explain    to

24 us what we're look ing at here , start ing at the very

25 top .




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 1 A.        This is strict ly the payment          tab , so it 's going

 2 to show all payment s for this particular              reservation .

 3           It 's the same PNR number         that you mention ed in

 4 the beginning .        The first passenger       is Learley   Goodwin .

 5 There 's two passengers .        The credit      card bill ing says

 6 two ticket s purchase d for a Learley            Goodwin   and a

 7 Michael    Thurman .

 8 Q.        Traveling     on the same flight       at the same time ?

 9           MR. MARTIN:      Objection .

10           THE WITNESS:      That particular       -- it does n't show

11 that on this particular        page .

12           THE COURT:      Sir , don't answer      when there 's an

13 objection    pending .

14           What 's the objection ?

15           MR. MARTIN:      Lead ing .

16           THE COURT:      Don't lead him .

17           Sustained .

18           BY MS. JOHNSTON:

19 Q.        Let 's go through     it .     Go through   it line by line

20 with the credit        card bill ing and tell us what 's on each

21 line .    Begin w ith the first box .

22 A.        In the first box it says , "credit c ard purchase

23 for Learley    Goodwin ."

24 Q.        What is that number          429 4041 080667588 ?

25 A.        That is the credit      card number .




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 1 Q.         Is that the same credit           card number    that the

 2 previous     record    show ed was verifi ed comi ng back to the

 3 9002 Bexhill      Court , Hyattsville , Maryland           address ?

 4 A.         Yes , it is .

 5 Q.         And that was for which passenger            traveling       under

 6 what name ?

 7 A.         Learley     Goodwin .

 8 Q.         And the transaction         date was what date ?

 9 A.         December     20 , 2001 .

10 Q.         If we go to the next box .            Is that travel    by a

11 different     pass enger ?

12 A.         Yes , it is .

13 Q.         Was it on the same reservation            number ?

14 A.         It 's on the same reservation , yes .

15 Q.         That would be this number           that I'm referring        to

16 here , MJ9N4B ?

17 A.         Correct .

18 Q.         The same one that appear s at the top of the

19 page ?

20 A.         Correct .

21 Q.         And what credit         card number    was use d to pay for

22 the passenger        traveling     under the name Michael       Thurman ?

23 A.         It 's 429404108 06 67588.

24 Q.         Is that the same credit           card number    that was

25 use d for the passenger          traveling    under the name Learley




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 1 Goodwin ?

 2 A.         Yes , it is .

 3 Q.         Is that the same credit      card number       that you

 4 verifi ed as comi ng back to 9002 Bexhill              Court ,

 5 Hyattsville , Maryland ?

 6 A.         Yes , it is .

 7 Q.         Now , where we have     another    box under "credit

 8 card bill ing ."       Could you tell us what that third box

 9 refer s to ?

10 A.         It 's an additional     charge    under the same credit

11 card for Michael        Thurman,   which was -- when the

12 reservation     was change d, there was an additional

13 charge .

14 Q.         Did he change    his outgoing      flight    to Houston   or ,

15 based upon the records , was it his return               flight   to BWI

16 that was changed ?

17 A.         That 's in the upcoming     page s, but it was the

18 return .

19 Q.         Again , was that change     paid for with the same

20 credit     card number ?

21 A.         Yes , it was .

22 Q.         That 's what the credit     card number       is , that

23 first number     that appear s next to the number           under the

24 credit     card bill ing ; is that correct ?

25 A.         Correct .




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 1 Q.         At the bottom    then do we have a summary       of the

 2 charge s?

 3 A.         Correct .

 4 Q.         And Page A-10.     If you could , tell us what we're

 5 look ing at here .

 6 A.         This is the payment    portion    for the change       in

 7 the reservation .

 8 Q.         The change    on the return   flight     for Mr. Thurman ?

 9 A.         Correct .    On December   29 , 2001 .

10 Q.         Now , if we go to Page A-11 .

11            At the top , we have the same reservation            number ;

12 is that correct ?

13 A.         Correct .

14 Q.         Then we have a new box that 's call ed "T icket

15 Information ."

16            Could you de scribe   for us what's       in that "ticket

17 information " box ?

18 A.         This particular    tab is the ticketing       information

19 and ticketing     history    of what happened       with that

20 ticket .     The first box show s a ticket        for Learley

21 Goodwin     and it show s the itinerary      fly ing out on

22 December     27 , 2001 from Baltimore     to Houston , return ing

23 on the 29 th of December       from Houston    to Nashville      and

24 Baltimore , and it show s under the activity            that the

25 outbound     was --




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 1 Q.        If I could just interrupt       you before     you get to

 2 the activity .

 3           The "sold itinerary ."      Was that what was book ed

 4 on the book ing date of December        20 , 2001 ?

 5 A.        Correct .

 6 Q.        And the flight    from BWI.     Is that listed     next to

 7 Coupon 1 , Flight 2180 ?

 8 A.        Yes , it is .

 9 Q.        I'll jus t highlight    that here on the exhibit .

10           Have I highlight ed the outgoing        flight   from BWI

11 to Houston ?

12 A.        Correct .

13 Q.        Now, if we go to "Coupon Activi        ty. "   What is

14 that information provided?

15 A.        It shows the activ    ity for the coupon for the

16 ticket.

17 Q.        The 1 refer s to what ?

18 A.        The outbound    segment .

19 Q.        Which is what I've highlight ed ?

20 A.        The first coupon .

21 Q.        What I've highlight ed above ?

22 A.        Correct .

23 Q.        What does it tell about Coupon 1 ?

24 A.        It show s that it was flown .

25 Q.        Does it tell us what date it was flown ?




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 1 A.       December    27 th 2001 .

 2 Q.       Is that what I've highlight ed ?

 3 A.       Yes .

 4 Q.       Does it show -- what does it tell us in term s of

 5 Coupon   2 and 3    for the return     flight s?

 6 A.       It show s that those ticket s -- the funds for

 7 that ticket , since it 's electron ic , were ex changed .

 8 Q.       If we go to the next box that begin s at the

 9 bottom   of that page referenc ing passenger         Michael

10 Thurman .   Can you tell us what that tell s us ?           Let me

11 turn to A-12 .      Again , Coupon 1    is for which flight ?

12 A.       It 's for Flight 2180 on December         27 , 2001 ,

13 Baltimore   to Houston .

14 Q.       Then if we go down to coupon         activity , what does

15 that tell us about that outgoing          flight   2180 ?

16 A.       It show s that Coupon 1       was flown on December      27 ,

17 2001 .

18 Q.       What happened     to the return     flight ?

19 A.       The funds were ex changed .

20 Q.       If we go to the next box , what does that

21 concern ?

22 A.       It show ed a --

23 Q.       What passenger     does it concern ?

24 A.       It show s Michael      Thurman , and it show s a

25 reservation      for December   29 , 2001 , Flight 1592 ,




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 1 Baltimore     to Nashville , and then connect ing to Flight

 2 80 Nashville      to Baltimore .

 3 Q.         Was that ever flown ?

 4 A.         No , it was n't .     Those funds were actual ly

 5 ex changed    also .

 6 Q.         If we go to A -13 , what does that tell us about

 7 Mr. Thurman 's reservation ?

 8 A.         It 's a reservation      for Michael     Thurman   for

 9 December     5th of 2002 , Flight 1347 , from Houston          to

10 Baltimore .

11 Q.         What date is it for ?

12 A.         December    5th of -- I mean January        5th of 2002 .

13 Q.         Is that what I'm highlight ing here ?

14 A.         Correct .

15 Q.         What happened       with that ticket ?

16 A.         It show s that Coupon 1      was flown on January         5th .

17 Q.         If we could go to the next document .

18            This exhibit    is handwritten    as B-1 .      Can you

19 tell us what we're look ing at here ?

20 A.         B-1 is a new reservation .       You can see by the

21 PNR number .      It 's MU6 KC7.     The funds that we had in the

22 first reservation       for Mr. Learley , when       they were

23 ex changed , they were ex changed        through    this

24 reservation .

25 Q.         The funds that were use d for the reservation              for




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1 Mr. Goodwin      that was made with Mr. Thurman          for the

2 return     flight    were move d into this ticket .

3 A.          Correct .

4 Q.          What is this a reservation         for ?

5 A.          It was book ed on December        29 , 2001 for flight       on

6 December      30 , 2001 .

7 Q.          Is that what I've highlight ed here ?

8 A.          Correct .       That 's Flight 27 92 , Houston   to

9 Baltimore .

10 Q.         Then are we able to tell from this page and the

11 next page how it was paid for ?

12 A.         On that page it says the purchaser          is Learley       R.

13 Goodwin     and payment       is on Page B-3 .

14 Q.         Before   you go to B-3.        A gain , we have a phone

15 number    listed    here , and an address ?

16 A.         Correct .

17 Q.         Was that information        that note the answer       was

18 correct .

19 Q.         Was that information        that was in the file or

20 provided     by the person       making   the reservation ?

21 A.         It 's the bill ing add ress .

22 Q.         Excuse   me ?

23 A.         It 's the   bill ing address     provide d in the

24 reservation .

25 Q.         Tha t's the address that        I've highlight ed ?




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 1 A.        Correct .

 2 Q.        You said , if we go to the next page , that

 3 actual ly give s you the payment       information ; is that

 4 correct ?

 5 A.        In that box on the bottom , yes .

 6 Q.        What does that tell us in term s of how this

 7 reservation     was paid for ?

 8 A.        It show s a charge     of $582 on a credit      card

 9 42940410 806 67588.

10 Q.        Is this in reference      to the precedi ng page , or

11 is this in reference      to the book ing that is in the OSI

12 remark s comment ?

13 A.        It 's all the same reservation .

14 Q.        All the same reservation ?

15 A.        Correct .

16 Q.        It 's all being paid for , both Thurman         and

17 Goodwin     ticket s?

18 A.        In this case it 's just -- in this reservation

19 it 's just Mr. Learley      -- Mr. Goodwin .

20 Q.        In look ing at that box on Page B-3 , there 's a

21 reference     to Mr. Thurman .    Can you explain      that ?

22 A.        It show s that there was a phone call and they

23 asked for an itinerary       to be sent to that E- mail

24 address     that 's listed , and the person     that they claim

25 they talk ed to was somebody       by the name of Thurman .




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1 Q.          And the E- mail address      you're   talk ing about is

2 in this ?

3 A.          Correct .

4 Q.          On Page B-4 .     W hat do we have there ?

5 A.          It 's just show ing that they were ticket less

6 reservation s.

7 Q.          Again , on Page B-5.       Is that a summary       of the

8 fare information ?

9 A.          Yes , it is .

10 Q.         Similar ly with     the payment    records , once again ,

11 on Page B-6 ; is that correct ?

12 A.         Correct .

13 Q.         Again , is the credit      card note d on that page ?

14 A.         Yes , it is .

15 Q.         Would that be 4294041080667588 ?

16 A.         Yes , it is .

17 Q.         Was that verifi ed ?

18 .          Was there an authorization         code received     from

19 the credit      card company ?

20 A.         Yes , there was.

21 Q.         What 's that authorization        number ?

22 A.         It 's 029 690 .

23 Q.         The number      I've highlight ed here ?

24 A.         Correct .

25 Q.         Again , it shows     on Page B-8 that        we have a




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 1 repeat    of the credit     card bill ing information ; is that

 2 correct ?

 3 A.        Correct .

 4 Q.        It look s like in the middle         column   here there is

 5 another     ex change   of ticket s; is that correct ?

 6 A.        Correct .     The ex change    for that first ticket         is

 7 the ticket     number .    The former    payment    number     reference

 8 reference s back to that first ticket           in the original

 9 reservation .      And then --

10 Q.        If we could go to B-10 .         What does B-10 tell us

11 here ?

12 A.        B-10 is the ticket      activity .

13 Q.        And this is on the second         reservation      for the

14 new return     flight ; is that correct ?

15 A.        Correct .

16 Q.        On this ticket      information , the passenger         name d

17 Goodwin     was book ed to fly when ?

18 A.        Initially , D ecember    29 , 2001 , Flight 1592 ,

19 Houston     to Nashville ; and then connect ing to Flight 80 ,

20 Nashville     to Baltimore .

21 Q.        Was that flight      flown ?

22 A.        No , it was not .

23 Q.        Underneath      that we have a second      box .     Does that

24 reference     the same passenger , Learley         Goodwin ?

25 A.        Yes , it does .




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1 Q.          The same reservation        number ?

2 A.          Same reservation    number .

3 Q.          That 's that PNR number ; is that correct ?

4 A.          Correct .

5 Q.          That would be MU6K C7?

6 A.          Correct .

7 Q.          What does that second        box tell us in term s of

8 what new reservation         Mr. Goodwin     had ?

9 A.          It show s the reservation       for a flight    on

10 December     30 , 2001 , Flight 27 92 from Houston        to

11 Baltimore .

12 Q.         That continue s on the next page ; is that

13 correct ?

14 A.         Correct .

15 Q.         What does that tell us ?

16 A.         It show s that that coupon       was flown .

17 Q.         On what date ?

18 A.         December    30th 2001 .

19 Q.         In your own words , could you summarize             for us

20 what happened      in this transaction ?

21 A.         Including    both PNRs?      Both reservation s?

22 Q.         Yes .

23 A.         Let 's look at the activity .

24 Q.         It might be easier        for me -- do we have a pad

25 and an easel ?




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 1            If I could , Your Honor , use this ?         If I could

 2 have Agent Snyder         set it up for me .

 3            THE COURT:      All right .

 4            BY MS. JOHNSTON:

 5 Q.         What I'm going to ask you to do, Mr.             Walston , is

 6 write the     date the initial     reservation      was made , then

 7 the date,     flight    number , and the name s of the

 8 passenger s who flew from BWI to Houston , and then the

 9 date and time of the return            flight s and the name of the

10 passenger     on that particular        return   flight .

11            Can you do that for me ?

12 A.         Sure .

13            MS. JOHNSTON:      Your Honor , may I have the

14 witness     step down ?

15            THE COURT:      You may .

16            MS. JOHNSTON:      Put the date of the -- why don't

17 we use " I.R." f or "I nitial      Reservation " and put the

18 date .

19 A.         (Witness    indicati ng .)

20            MR. WARD:      Counsel , if you could keep your voice

21 up .     I can't hear you .

22            BY MS. JOHNSTON:

23 Q.         What are those initial s you put at the top ?

24 A.         I put B- --

25            COURT REPORTER:      You're    going to have to speak




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1 into the micro phone .          You're going to have to      repeat

2 your answer .

3            THE WITNESS:      I put the initial s "B K D" to

4 stand for "book ed."

5            BY MS. JOHNSTON:

6 Q.         What pass engers      were book ed on December     20 of

7 2001 ?

8 A.         Learley    Goodwin    and Michael   Thurman .

9 Q.         Can you write them straight         across from the

10 initial    reservation ?       Just put "Goodwin " and "Thurman ."

11 A.        9Witness    indicati ng .)

12 Q.        Next, put the date that there was actual ly a

13 flight    from BWI to Houston       that was flown .      What was

14 the date of that flight

15 A.        (Witness    indicati ng .)

16 Q.        Who flew on that flight ?

17 A.        (Witness    indicati ng .)

18 Q.        You can write it bigger .

19 Q.        Underneath     Flight 2180 , if you just write "BWI "

20 to "HOU" for Houston .

21 A.        (Witness    indicati ng .)

22 Q.        Now if you could put the return         flight s that

23 were actual ly flown .

24 A.        (Witness    indicati ng .)

25 Q.        And the return       flight   for Mr. Goodwin .




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 1 A.         (Witness    indicati ng .)

 2 Q.         Is that before     -- what date was the return

 3 flight     for Mr. Goodwin ?

 4 A.         This is December     30 , 2001 .

 5 Q.         Could you maybe write it here but put an arrow

 6 to reflect        that it came in between     Mr. Thurman 's trip s

 7 out and back ?

 8 A.         (Witness    indicati ng .)

 9 Q.         You could just -- and then just put your

10 initial s at the bottom        of that page and date it with

11 today 's date .

12 A.         (W itness   indicati ng .)

13 Q.         We'll have this mark ed as the next miscellaneous

14 exhibit     to be Miscellaneous     5.

15            If you could then resume        the witness     stand --

16 oh .     Before    you do that , why don't we put up -- never

17 mind .     Just go back up there .        That 's fine .

18            These ticket s that we've just discuss ed were all

19 paid for with the same credit            cart card ; is that

20 correct ?

21 A.         Correct .

22 Q.         All comi ng back to the same address ?

23 A.         Correct .

24 Q.         If we could turn to Government 's Exhibit           R-9 and

25 R-10 -- Agent Eveler , would you re move that ?




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 1          Show ing you what 's been mark ed as R-10 .         Are

 2 these similar    but short er records      for another    trip that

 3 was taken ?

 4 A.       Correct .

 5 Q.       And the reservation      number .    Is that present

 6 here ?

 7 A.       Yes , it is .

 8 Q.       What is that number ?

 9 A.       It is F4BX7G .

10 Q.       And the first passenger        name on that

11 reservation ?

12 A.       It 's Michael    Thurman .

13 Q.       How many passenger s?

14 A.       Two passenger s.

15 Q.       And the flight     number ?

16 A.       It 's Flight 1592 , Houston      to Nashville , and it

17 actual ly connect s, but it 's on March 22 , 2002 .

18 Q.       Again , do we have the same kind of information

19 here concern ing what the fare was ?

20 A.       Correct .

21 Q.       What was the fare ?

22 A.       It was a YL fare .

23 Q.       What is does that mean ?

24 A.       That 's our full fare .

25 Q.       We have the book ed itinerary        that begin s at the




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 1 bottom   of the first page ?

 2 A.       Correct .

 3 Q.       What's   the flight    number ?

 4 A.       1592 , Houston     to Nashville    on March 22 , 2002 .

 5 Q.       Does that information       continue    the itinerary     at

 6 the top of the next page ?

 7 A.       Yes , it does .

 8 Q.       What does that tell us ?

 9 A.       Show s a connect ing flight       in Nashville     to

10 Baltimore , Flight 2464 , again on March 22 , 2002 .

11 Q.       Now , under passenger s -- strike        that .

12          Under phone , again , do you have information

13 concern ing what number      was use d to book the

14 reservation ?

15 A.       That was -- there 's a phone number            that was

16 given as a contact      phone number .

17 Q.       That 's actual ly the    contact    number ?

18 A.       That 's a contact     number .

19 Q.       That 's given by the person        making   the

20 reservation ?

21 A.       Correct .

22 Q.       And then the name s of the passenger s.            Are those

23 listed   as well ?

24 A.       Yes , they are .

25 Q.       That would be whom ?




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 1 A.       Michael     Thurman   and Rodney G reen .

 2 Q.       Again , you don't actual ly know whether          the

 3 person   who use d those ticket s was actual ly Mr. Thurman

 4 or Mr. Green or Mr. Goodwin         for that matter , do you ?

 5 A.       No , I don't .

 6 Q.       If we could go to Page C-4.          W as this a credit

 7 card bill ing ?

 8 A.       No , it was not .

 9 Q.       How was it paid for ?

10 A.       It was paid for with cash .

11 Q.       Were the ticket s issue d?

12 A.       Yes , they were .

13 Q.       Is that information       dis play ed in the second      box

14 that we have on this page ?

15 A.       Yes , it is .

16 Q.       Is that what I've highlight ed ?

17 A.       Yes .

18 Q.       Now we get to the ticket        information    on Page

19 C-5 .

20          What does this tell us for the passenger            name d

21 Mi chael Thurman     in relation    to his ticket ?

22 A.       It show ed he had a reservation         for March 22 ,

23 2002 , Flight 1592 , Houston       to Nashville .

24 Q.       Is that what I've highlight ed here ?

25 A.       Correct .




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 1            Connect ing on Flight 2464 , Nashville          to

 2 Baltimore .

 3 Q.         Was that ticket      flown ?

 4 A.         Yes , it was .

 5 Q.         That 's what I've highlight ed here ?

 6 A.         Correct .

 7 Q.         Is the same information        available     for the

 8 pass enger name d Rodney G reen ?

 9 A.         Yes , it is .

10 Q.         Was he traveling      on the same flight ?

11 A.         Yes , he was .

12 Q.         Were those flight s, like wise , flown ?

13 A.         Yes , they were .

14            MS. JOHNSTON:       I have no further       question s of

15 this witness .

16            THE COURT :     A ll right .   Any cross-examination        ?

17            MR. MARTIN:       Brief ly , Your Honor .

18                             CROSS-EXAMINATION

19            BY MR. MARTIN:

20 Q.         Sir , you were shown R-10 recent ly , and I'm not

21 sure exact ly how to        work this so I'm going to ask to

22 approach     the witness , if that 's okay with you Your

23 Honor .

24            THE COURT:       You may .

25            BY MR. MARTIN:




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 1 Q.        With respect     to R-10.   I don't recall      you being

 2 asked any question s about which credit           card was use d

 3 for this particular        flight .

 4           I see you have it in front of you .

 5           Are you able to determine       from look ing at R-10

 6 which credit       card was use d?

 7 A.        This particular     reservation    was paid for in

 8 cash .

 9 Q.        That one was paid for in cash .          And with respect

10 to the other reservation        that was made .      You said that

11 was made on a credit        card that went to , I think , 9002

12 Bexhill    Court ?

13 A.        Correct .

14 Q.        And you have no way of know ing whether          a Learley

15 Goodwin    live s at 9002 Bexhill     Court , do you ?

16 A.        No , I don't .

17 Q.        You've     never met Mr. Learley    Reed Goodwin , have

18 you ?

19 A.        No .

20 Q.        I think your testimony      was that no ID had to be

21 shown at the time the passenger         actual ly board ed the

22 plane ; is that correct ?

23 A.        Unless     they were check ing bag s.

24           MR. MARTIN:      I have no further      question s.   Thank

25 you .




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 1            THE COURT:      Any re direct ?

 2            MS. JOHNSTON:      No, sir .

 3            THE COURT:      All right .    You may step down .

 4 Thank you very much .

 5                           (Witness    excused   at 10 :49 a.m. )

 6            MS. JOHNSTON:      Your Honor , may that witness          be

 7 excused ?

 8            THE COURT:      Yes .

 9 Thereupon,

10                         ROBERT TRAVIS     STRAUSE ,

11 having been called as a witness on behalf of th              e

12 Plaintiff , and having been first duly sworn by the

13 Courtroom Deputy, was examined and testified as

14 follows:

15            THE CLERK:      I need you to sit up a little           bit

16 and state your name        for the record .

17            THE WITNESS:      Robert    Travis   Strause .

18            THE CLERK:      Spell your last name for me .

19            THE WITNESS:      S T R A U S E.

20                               DIRECT EXAMINATION

21            BY MS. JOHNSTON:

22 Q.         Good morn ing , Lieutenant        Strause .

23 A.         Good morning .

24 Q.         Where are you employ ed ?

25 A.         I'm a lieutenant        with the Orange County




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 1 Sheriff 's office    in Orange , Texas .

 2 Q.       Can you give us an idea of where Orange , Texas

 3 is locate d?

 4 A.       It 's the last county      on Interstate 10        at the

 5 Texas /Louisiana    border .

 6 Q.       You mention ed Inter state 10 .         I know it 's an

 7 inter state , but what area s does it -- do you use it to

 8 connect ?

 9 A.       It basically     run s from the Mexican      border    all

10 the way to , I believe , Florida .

11 Q.       How long have you been employ ed with the Orange

12 County law enforcement ?

13 A.       This is start ing on my tenth year .

14 Q.       Can you de scribe     some of your experience ,

15 train ing and background ?

16 A.       For ten year s I've work ed as a narcotic s officer

17 for the Orange County Sheriff 's De partment .             Prior to

18 that I was a narcotic s interdiction            officer   with the U.

19 S. Coast G uard .

20 Q.       Call ing your attention      to January     21 of 2004 .

21 Were you work ing on that date ?

22 A.       I was engage d in criminal       patrol    efforts    along

23 Interstate 10    on the westbound      side .

24 Q.       What you mean by criminal        control    activities ?

25 A.       It 's criminal    patrol   it 's basically       we stop




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 1 vehicle s for traffic     violation s, speed ing , traffic

 2 infraction s and from there we conduct          roadside

 3 inter view s to detect    any type of narcotic s or

 4 contraband , trafficking , weapon s and explosive s.

 5 Q.        Based on your experience s is Interstate 10            a

 6 high way that 's frequent ly use d by people        engage d in

 7 drug trafficking      or other illegal     activities ?

 8 A.        Yes, ma'am .    From the information      I've had

 9 through    past experience    and train ing , it 's one of the

10 largest    narcotic s transportation      corridor s in the

11 United    States .

12 Q.        Do you know what time of day you were work ing ?

13 A.        I believe    it was 4:20 p.m.

14 Q.        De scribe   for us -- strike    that .

15           Were you in a uniform ed car ?

16 A.        No .   We were in an un mark ed vehicle .

17 Q.        Were you by yourself      or with any other officer s?

18 A.        I was work ing with Sergeant       Richard   Clark .

19 Q.        De scribe   for us what you -- what observation s

20 you made that afternoon .

21 A.        I o bserve d a maroon -in -color van head ing

22 westbound    on Interstate 10 .      The van was -- black

23 smoke , basically , was comi ng out of the back of the

24 van .    The van cross ed over from one lane into the other

25 lane without     signal ling , which is the actual        arrest ,




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1 failure     to maintain    a single    lane, and    it was also

2 being operated onto the        shoulder of the interstate,

3 which is     also a violation .       That 's why we pull ed the

4 van over .

5 Q.         What occurred    when you pull ed the van over ?

6 A.         I walk ed up to the passenger       side of the vehicle

7 to speak with the driver .         Once I approach ed the

8 passenger      side of the vehicle , I immediate ly observe d

9 the crack between       the air bag -- the air bag and the

10 dashboard .     There were carpet      fiber s stick ing out of

11 that crack .

12 Q.        What's   the significance     of that to you ?

13 A.        From pas t experience      with hidden    compartment s in

14 vehicle s, I know that the interior         of the compartment s

15 are often line d with carpet         to help the installation

16 and removal     of the package s -- to make them slide

17 easier    in and out of the compartment .

18 Q.        Continue   with what you did after you made that

19 observation .

20 A.        Once I made the observation , I explained         the

21 traffic    violation   to the driver and asked him to exit

22 the vehicle .      Once he was outside     of the vehicle , I

23 spoke to him about the traffic          violation , and then I

24 asked him where he was going to .

25 Q.        How many people    were in the vehicle ?




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 1 A.        There were tw o.

 2 Q.        Do you recall     the name s of those two

 3 individuals ?

 4 A.        Thurman     and Moore .

 5 Q.        Who was the driver ?

 6 A.        Thurman .

 7 Q.        Did there come a time when you actual ly search ed

 8 the vehicle ?

 9 A.        Yes, ma'am , there did .

10 Q.        De scribe    how it is that you came to search         it .

11 A.        Once I spoke with the driver , he indicated            that

12 they were drivi ng to Houston          to get the vehicle

13 service d, from Washington , D. C. , which I thought             was

14 im plausible , and I spoke to the passenger              and there

15 were some in consistenc ies in         their story which led me

16 to ask for consent        to search    the vehicle .      I did ask

17 for consent , and the driver          of the vehicle      gave verbal

18 consent    to search .

19 Q.        De scribe    what you discovered      during    the course

20 of your search .

21 A.        As soon as I walk ed up to the vehicle , I opened

22 and entered     the vehicle .       I immediate ly smell ed

23 moth ball s, which sometimes         people   use as a cover scent

24 to cover the smell of cocaine , marijuana , and such as

25 that .    I pushed    on the air bag , and when I did it




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 1 opened    up and I could see that there was a hidden

 2 compartment     in the air bag .      While I was look ing at the

 3 air bag , I smell ed a strong        odor of raw marijuana

 4 comi ng from the area between         the driver    and passenger

 5 seat .    I look ed above the center , between        the driver

 6 and passenger     seat , and saw a -- how they custom ize

 7 van s, they have shiny boards         and light s and stuff up

 8 there .

 9           There was a    light fixture , and I pull ed down on

10 the light fixture       and I heard an electric       noise , and I

11 observe d the hydraulic       ram p being actuated.     It    fold ed

12 down the center     section    of the light s, and I look ed up

13 there with my flashlight        and observe d a plastic       vacuum

14 pack ed bag .    I pull ed it over where I could see it and

15 observe d that it contain ed approximately           two pounds    of

16 marijuana .     I re move d that .

17           We handcuff ed the driver      and the passenger       and

18 we re move d the vehicle      from the scene , took it to our

19 mechanic 's shop , where we locate d a third hidden

20 compartment     -- electronically -operate d hidden

21 compartment .     In that hidden      compartment    we locate d, I

22 believe , $26,980 , along with two pistol s and some

23 ammunition .

24 Q.        What was done with the two individuals             that you

25 had on the side of the road ?




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 1 A.         Say that again .

 2 Q.         What happen ed to the two individuals           on the side

 3 of the road ?

 4 A.         They were arrested      for possession     of marijuana

 5 and unlawfully        carry ing a weapon .

 6 Q.         Do you know whether      or not    they ever went to

 7 trial ?

 8 A.         No .    But I do know that -- I believe         they pled

 9 guilty .     It did not go to trial .

10 Q.         You don't know whether       they've    ever gone to

11 court on those charge s, as far as            you know ?

12 A.         No, ma'am .

13 Q.         In addition     to seizi ng the two gun s and the

14 marijuana , did you also seize some other item s from the

15 vehicle ?

16 A.         Yes, ma'am .     There was numerous      receipt s and

17 paperwork     that was locate d in the paperwork           that we

18 seize d, also .

19 Q.         Let me show you first of all , and put it up on

20 the screen        -- have you had occasion      to look at these

21 exhibit s before       comi ng into court ?

22 A.         Yes, ma'am , I have .

23 Q.         First , beginning    with P-234 .      Do you recognize

24 that exhibit ?

25            MR. WARD:      I'm sorry .   What is the number ,




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 1 ma'am ?

 2            MS. JOHNSTON:      P-234 , Mr. Ward .

 3            THE WITNESS:      That 's a photograph    of the rear of

 4 the Chevy van that we stopped         on the inter state .

 5            BY MS. JOHNSTON:

 6 Q.         Does that accurate ly depict      the van and where it

 7 was when     you stopped    it on the inter state ?

 8 A.         Yes, ma'am .

 9 Q.         In fact , do we have a reference        to Interstate 10

10 in the background ?

11 A.         Yes .

12 Q.         Let me show you P-235 .

13            Do you recognize     this photograph ?

14 A.         Yes, ma'am .

15 Q.         What is that ?

16 A.         The license    plate that was dis play ed on the

17 vehicl e.

18 Q.         Is it un usual , based on your train ing and

19 experience , to see D. C. deal er tag s down in your area ?

20 A.         Yes, ma'am .     That 's the first time I think I've

21 ever saw that .

22 Q.         Next , let me show you what 's been mark ed as

23 Government 's Exhibit       P-236 .

24            Do you recognize     that exhibit ?

25 A.         Yes, ma'am .     That 's the air bag hidden




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 1 compartment     -- electronically -operate d hidden

 2 compartment .

 3 Q.         Were you able to see the carpet           fiber s you were

 4 referring     to ?

 5 A.         Yeah .    Like , if you look on the left at the top

 6 part of the --

 7 Q.         You can hit the --

 8 A.         Oh , you already     did .   Just put that last arrow

 9 -- you can see carpet         fiber s there , and that would have

10 been stick ing out right here on the bottom              portion .

11 That last arrow is when I walk ed up to the window .

12 Also , there was some visible           --

13 Q.         Do you want me to clear that ?

14 A.         Yes , please .

15 Q.         All right .      There you go .

16 A.         There were some visible           right where that green

17 dot is .

18 Q.         Some of the carpet      fiber s?

19 A.         Yes, ma'am .

20 Q.         Let me show you what 's been mark ed as

21 Government 's Exhibit        P-237 and ask you if you can tell

22 us what's     depict ed in this photograph .

23 A.         That 's the rear electron ic compartment         that was

24 locate d -- if you can picture           the in side of a van , all

25 the way to the rear there 's normally             a clothe s hang er




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 1 -- a rod where clothe s hang on .          Above that there 's

 2 speak er s and air duct s for the air conditioning .            The

 3 section     between   the two speak er s is where this is

 4 locate d.     It pull s straight     out , and there 's like a

 5 drop box be hind it .         That 's where money and weapon s

 6 were locate d.

 7 Q.        What are we look ing at here in this picture ?

 8 A.        That 's actual ly -- we could n't get it to

 9 activate .     We could tell it was there , but we had to

10 un screw the front .         There were screw s there and just

11 be low that mark .      We un screw ed them and slid the whole

12 -- the entire       drawer    out , and be hind that drawer    is

13 where all the money was locate d.

14 Q.        You say , "all of the money ."        Does this

15 photograph     accurate ly depict     the way the money was

16 bundled ?

17 A.        Yes, ma'am .       That 's how we found it .

18 Q.        Could you de scribe      for us how much money it was

19 and how it was package d?

20 A.        Like I said , I believe       it was $26,980 .      It was

21 package d in $1,000      increment s and wrap ped up in small

22 rubber    bands .

23 Q.        What was the de nomination       of the   bill s?

24 A.        $20 bill s.

25 Q.        Do you recognize       any of the   other item s in that ?




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 1 A.        Yes, ma'am .    The black box to the far right -hand

 2 side of the screen       where the yellow      dot is is a small

 3 electron ic scale -- digital         scale .

 4 Q.        What is the significance        of that to you ?

 5 A.        We common ly find digital       scale s with people     who

 6 are involve d in illegal      distribution      of narcotic s,

 7 marijuana , cocaine      such as that .

 8 Q.        Is there any significance        to the way the money

 9 was package d?

10 A.        Yes, ma'am .    The majority     -- I would say like 99

11 percent     of the cash seizure s that we made , the money is

12 divide d up into $1,000      increment s to speed the count ing

13 process .

14 Q.        The count ing process      for whom ?

15 A.        For the -- on the other end whenever          the

16 narcotic s are purchase d.

17 Q.        Let me show you what we've mark ed as

18 Government 's Exhibit      P-282 .

19           Do recognize    this photograph      that 's been mark ed

20 as P-28 2?

21 A.        Yes, ma'am .    From the left to the right would be

22 the pistol     and ammunition .      Above that would be the

23 digital     scale s.   To the right of the digital       scale s is

24 all the currency .       Be low the currency      is the second

25 pistol    and two magazine s that contain ed live




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 1 ammunition , and to the right of that is the bag

 2 contain ing the marijuana .        It 's not a very good

 3 picture , but --

 4 Q.       In regards     to the two gun s that were re covered .

 5          Do you recall      the model an d make and caliber         of

 6 those gun s?

 7 A.       No .   I think one was a Sigma .         I'm not sure .

 8 It 's been so long .

 9 Q.       Do you have your file with you ?

10 A.       No .   I didn't    bring it in here .         No , I did not .

11 Q.       Court 's indulgence       one moment .

12          If I could have this mark ed as the next

13 miscellaneous    numb er for identification        purpose s only ,

14 Miscellaneous    6.

15          Counsel , this is M iscellaneous         6.

16          MR. MARTIN:       If I can see it for a second .

17          MS. JOHNSTON:     Sure.

18          BY MS. JOHNSTON:

19 Q.       Do you recognize      this document ?

20 A.       Yes, ma'am .      That 's my report .

21 Q.       Would re view ing your report       refresh      your memory

22 in term s of the caliber       and make of the pistol s that

23 you seize d?

24 A.       One black -in -color Smith & Wesson 9mm

25 semiautomatic    pistol    with one magazine .         The serial




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 1 number   being A718831 ; one black -in -color .380 Caliber

 2 semiautomatic    pistol , and two load ed magazine s, serial

 3 number   BKK4080 .

 4 Q.       In addition     to seizi ng those item s, did you also

 5 seize a number       of document s?

 6 A.       Yes, ma'am , I did .

 7 Q.       I'm going     to show you what 's been mark ed as

 8 Government 's Exhibit s OC-1 , 2, 3, 4, 5, 6, 7, 8 and 9 .

 9          Do you recognize      those document s?

10 A.       Yes, ma'am .      These were all re move d by myself

11 from the van -- the interior           of the van .

12 Q.       Government 's Exhibit        O. C. 1 through   9, and O. C.

13 10 .   Could you tell us what that is ?

14 A.       That 's a photo copy of Mr. Moore's          Washington

15 driver 's license      and Mr. Thurman 's Maryland       driver 's

16 license .

17 Q.       I believe     there 's a second    page in there can .

18 Can you tell us what the second           page contain s?

19 A.       The second     page is a Washington        D. C. driver 's

20 license , and the name of Xavier          Delante   Moore.   It's a

21 photo copy , actual ly .    The second     one is a Department       of

22 Consumer    and Regulatory     Affair s, like a license      for a

23 motor vehicle    sale sman , for Lobo's      Dis count Auto in the

24 name of Michael       Thurman , and there 's a Department       of

25 Motor Ve hicle s registration         certificate   -- a partial




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 1 certificate , and the only thing I can read off of there

 2 is D7428 .

 3 Q.       Was that the tag that was on the vehicle ?

 4 A.       Yes, ma'am .

 5 Q.       Was that vehicle        re lease d?

 6 A.       No, ma'am .     It was seize d.

 7 Q.       Let me put them up on the screen            so everyone   can

 8 see them .      First of all , the first page of O. C. 10 .

 9 Those are actual       copies   of the driver 's license s that

10 were provided      to you at the time ?

11 A.       Yes, ma'am .

12 Q.       Then the second        page .    Is that a second   copy of

13 Mr. Moor e's driver 's -- second           photo copy of Mr. Moor e's

14 driver 's license ?

15 A.       Yes, ma'am .

16 Q.       Call ing your attention          to the other two

17 document s.      The tag number .        Was that -- where is that

18 on this screen ?

19          Which document     refer s to the tag number        of the

20 vehicle ?

21 A.       The one I just touch ed .          The one on the far

22 left .

23 Q.       Okay .     Are you able to read the dis count car

24 center 's full title ?

25 A.       No .     "O's Dis count Car Center ," but I believe




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 1 that 's -- from see ing the card , I believe         it 's Lobo 's

 2 Dis count Car Center .

 3 Q.        Do you recall     if it 's the same name as was on

 4 Mr. Thurman 's --

 5 A.        Yes, ma'am , it is .

 6 Q.        It was the same name ?

 7 A.        Lo bo 's Dis count Auto .

 8 Q.        That 's the car d that Mr. Thurman       pr esent ed to

 9 you at the time ?

10 A.        Yes, ma'am , he did .

11 Q.        In addition     to that , I'm going to put on the

12 screen    O. C. 2.    I f you could tell the -- let me pull it

13 out of the envelope .       If you could , tell the ladies and

14 gentlemen of the jury       what this document      is .

15 A.        It 's the D epartment      of Motor Vehicle s -- from

16 the government       of the D istrict   of Columbia .      It say s

17 it s a temporary      registration    for deal er tag number

18 D7248 for the business        Lobo 's Dis count Car Center , 1124

19 Florida    Avenue , Washington , D. C.

20 Q.        Is that the tag number        that was on the vehicle

21 that you stopped ?

22 A.        Yes, ma'am .

23           MS. JOHNSTON:      Court 's indulgence    one moment .

24           I have no further      question s of this witness .

25           THE COURT:      Cross-examination   .




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 1            MR. MONTEMARANO :     Thank you , Your Honor .

 2                            CROSS-EXAMINATION

 3            BY MR.   MONTEMARANO :

 4 Q.         Good morn ing , Lieutenant      Strause .

 5            How are you ?

 6 A.         Fine .

 7 Q.         When you made this stop back in January             of 2004 ,

 8 you 've were a sergeant , or you 've been promoted             since

 9 then ?

10 A.         Yes .

11 Q.         Congratulation s.

12 A.         Thank you .

13 Q.         I'm not familiar     with Texas law , so I will ask

14 you a few question s.

15            Would it    be correct   that it 's illegal    to

16 transport     a firearm    in the state of Texas ?

17 A.         It actual ly was .    They've    actual ly change d the

18 law since then .

19 Q.         On January     21st 2004 , when you pull ed over the

20 van in question , that would have been illegal            --

21 A.         Correct .

22 Q.         That there     were two firearm s.    That was two

23 separate     offense s?

24 A.         There was one     offense   for each person    in the

25 vehicle .     They were both , I believe , charge d with the




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 1 same offense .

 2 Q.       Okay .   And of course     it 's illegal   to be

 3 possess ing just short of two pounds          of marijuana ;

 4 correct ?

 5 A.       Yes, sir , it is .

 6 Q.       And to be transport ing it ?

 7 A.       Yes, sir .

 8 Q.       And unless    I'm -- now , the firearm s were load ed ?

 9 A.       There was two magazine s load ed with ammunition .

10 I don't recall     -- I'd have to look at my report          to see

11 if they were load ed .

12 Q.       Do you want to go ahead and look at it ?            Please .

13 A.       Evident ly they weren't      load ed , or I probably

14 would have annotate d it in my report .

15 Q.       Okay .   So your recollection       is you don't believe

16 they were load ed .

17 A.       Correct .

18 Q.       But there were magazine s with them ?

19 A.       Yes, sir .

20 Q.       The magazine s had live rounds        in them ?

21 A.       Yes .

22 Q.       The magazine s fit the respect ive weapon s they

23 were locate d with; correct , sir ?

24 A.       Yes .

25 Q.       So unless    I'm very wrong -- when you carry --




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 1 do you carry a firearm       professionally ?

 2 A.        Yes, sir .

 3 Q.        You don't have one here today ?

 4 A.        Oh , no .

 5 Q.        When you're    on duty ?

 6 A.        Yes , I do .

 7 Q.        Do you mind if I ask you what kind of firearm

 8 they issue you in the Orange County Sheriff 's

 9 Department ?

10 A.        We purchase    our own . It's a    Glock .45.

11 Q.        So you have a .45 Caliber?

12 A.        Yes.

13 Q.        Unless I'm very wrong , based upon your train ing

14 and your experience , tak ing a magazine         and a firearm ,

15 (snaps fingers),       it take s about that long ?

16 A.        Yes .

17 Q.        Then you pull back the slide and get a round in

18 the chamber       and it is , for lack of a better      term , good

19 to go ?

20 A.        Yes, sir .

21 Q.        Okay .

22           Now , as a part of your training and experience

23 as a law enforcement       officer , you have at least       a

24 pass ing familiarity      also with federal     law ?

25 A.        Yes , I do .




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 1 Q.        And you're    familiar      with a law call ed "felon in

 2 possession ?"

 3 A.        Yes .

 4           MS. JOHNSTON:      Objection .

 5           Beyond    the scope of direct .

 6           THE COURT:      Where are you going with this ?

 7           MS. JOHNSTON:      Your Honor , perhaps       we should

 8 approach .

 9           THE COURT:      All right , come to the bench .

10                         (At the bar of the court.)

11           MS. JOHNSTON:      I'm object ing because it 's

12 totally   irrelevant     whether   this officer      know s what the

13 federal   law s are .

14           THE COURT:      Where are you going with this ?

15           MR. MONTEMARANO :     Sure .     Mr. Thurman , when

16 arrested , it 's my understand ing had a conviction             from

17 Montgomery    County for robbery        with a    dead ly weapon .

18 That make s him a felon in possession .             I'd like to ask

19 this officer       if he 's aware of the law and that these

20 firearm s in the possession        of Mr. Thurman      would have

21 made him a felon in possession .

22           THE COURT:      So what ?

23           MR. MONTEMARANO :     That 's basically       what the

24 government    know s about the record .          The officer   know s

25 about the law .       I'm going to put it in front of the




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 1 jury at some point .       I'd like to be clear on this , and

 2 I'm just want ing to go further         so I can proffer        where

 3 I'm going wit h it.       I'll    go further     and that as far as

 4 he 's aware -- as Ms. Johnston         asked , there 's never been

 5 a trial on this .       As far as    he 's aware , there 's never

 6 been federal     charge s on this , and he 's never          testifi ed

 7 at a court proceed ing .         She opened     the door to all of

 8 this by asking , have these case s been resolve d.

 9           MS. JOHNSTON:    I     asked him about the charge s

10 that he place d.       I asked him about -- he arrested            them

11 and he place d charge s against        them .     I asked him

12 whether     he knew about any dis position .         He said he

13 thought     they pled guilty .      The charge     is still

14 outstanding     in term s of Mr. Thurman         as far as    I know .

15 But this notion     of introducing      evidence     that there

16 could have possibly       been federal        charge s create s an

17 inference     that maybe somebody      did something      for him

18 back then when he was not in government              custody .

19 Nothing 's ever -- it 's total ly irrelevant .

20           THE COURT:      Mr. Montemarano , I don't see how

21 it 's relevant    what this officer          know s and whether    he

22 could have or should       have been charge d with federal

23 charge s.     He 's a county     officer .     The gentleman     was

24 charge d with something        which he think s he 's pled guilty

25 and may or may not be true .




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 1          MR. MONTEMARANO :       I want to ask him if charge s

 2 had been brought      for felon in possession .

 3          THE COURT:     I'm going to sustain        the objection .

 4          MR. MONTEMARANO :       Thank you , Your Honor .

 5                        (Back in open court .)

 6          BY MR. MONTEMARANO :

 7 Q.          As Ms. Johnston    asked you.       You 've never

 8 testifi ed in a trial or court proceed ing concern ing Mr.

 9 Thurman ; correct , sir ?

10 A.       That 's correct .

11          MR. MONTEMARANO :       Court 's indulgence , please .

12          Pass the witness , Your Honor .          Thank you .

13                               CROSS-EXAMINATION

14          BY MR. MARTIN:

15 Q.       Good morn ing , lieutenant .       Anthony   Martin     here

16 on behalf     of Mr. Goodwin .

17 A.       All right .

18 Q.       I just want to make sure we've got the date

19 correct .     This occurred    on January   21 , 2004 ?

20 A.       Yes, sir .

21 Q.       If I heard your testimony        correct , the

22 controlled     substance s that were found in the van was

23 marijuana .

24 A.       That 's correct .

25          MR. MARTIN:     Nothing    further .     Thank you .




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 1            MR. HALL:     I have no question s, Your Honor .

 2            MR . MITCHELL:      No question s, Your Honor .

 3            MR. WARD:     I have no question s, Your Honor .

 4 Thank you .

 5            THE COURT:       Any re direct ?

 6            MS. JOHNSTON:       No, sir .

 7            THE COURT:       All right     thank you .   You may step

 8 down , officer .       Thank you very much .

 9                   (Witness     excused     at 11 :16 a.m. )

10            MS. JOHNSTON:       Your Honor , our next witness

11 would be Officer        Heath Guillotte .

12            THE COURT:       Is this a short witness       or long

13 witness ?

14            MS. JOHNSTON:       Your Honor , he will probably        be

15 the same length        as the last witness .

16            THE COURT:       All right .     Well , let 's start him at

17 least .

18 Thereupon,

19                             HEATH GUILLOTTE ,

20 having been called as a witness on behalf of the

21 Plaintiff , and having been first duly sworn by the

22 Courtroom Deputy, was examined and testified as

23 follows:

24            THE CLERK:       If you would , state your name      for

25 the record .




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1          THE WITNESS:    Heath        Guillotte .

2          THE WITNESS:        What ?

3          THE CLERK:     What is it ?

4          THE WITNESS:        Heath Guillotte .

5          THE CLERK:     Spell the last name for me .

6          THE WITNESS:        G U I L L O T T E .

7                         DIRECT EXAMINATION

8          BY MS. JOHNSTON:

9 Q.       Troop er Guillotte , good morn ing .

10 A.      Good morn ing .

11 Q.      Where are you employ ed ?

12 A.      Louisiana    State Police .

13 Q.      How long have you been employ ed with the

14 Louisiana    State Police ?

15 A.      Since January       of '98 .

16 Q.      During   those eight year s, what position s have

17 you held with them ?

18 A.      I was a patrol       -- regular    patrol   troop er up

19 until November    of 2002, and I was transferred          into our

20 Criminal    Patrol Unit .

21 Q.      Prior to start ing with the Louisiana           State

22 Police in January     of 19 98 , did you have other law

23 enforcement    experience ?

24 A.      Yes, ma'am , I did .

25 Q.      Where did you work ?




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 1 A.         The Franklin    Police Department     in Franklin ,

 2 Louisiana .

 3 Q.         Where is Franklin , Louisiana ?

 4 A.         Approximately     50 miles south of Lafayette .

 5 Q.         Where is that in relation        to the Texas /Louisiana

 6 border ?

 7 A.         Lafayette    is at mile post 103 .     So , it 's 103

 8 miles from Texas , and then 50 miles south of that is

 9 Franklin .

10 Q.         What were your duty assignment s with the

11 Franklin     Police Department ?

12 A.         I start ed off as a patrol       officer   and work ed

13 narcotic s for a couple       of year s, and then supervisor .

14 Q.         How many year s of narcotic s experience        do you

15 have ?

16 A.         Two .

17 Q.         Once you came to the Louisiana        State Police , you

18 indicated     you did regular      patrol   and then you got move d

19 to a different        division ?

20 A.         Yes, ma'am .

21 Q.         What was the new division        you were move d to ?

22 A.         Criminal    Patrol Unit .

23 Q.         Could you de scribe     for us what you do in the

24 Criminal     Patrol Unit ?

25 A.         We patrol    the major inter state s and U. S.




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 1 high way s in the state look ing for the traveling

 2 criminal    on those high way s and inter state s.

 3 Q.         Call ing your attention    -- strike that.

 4            In do ing that kind of work , are you in a mark ed

 5 car or un mark ed car ; uniformed      or un- uniform ed ?

 6 A.         Fully mark ed patrol   car , and in uniform .

 7 Q.         Call ing your attention    to June 16 of 2004 .

 8            Were you work ing on that date ?

 9 A.         Yes, ma'am , I was .

10 Q.         Were you by yourself ?

11 A.         Yes, ma'am .

12 Q.         Call ing your attention    to the early     morn ing

13 hour s of June 16 , 2004 .

14            Did you have occasion     to make a traffic       stop ?

15 A.         Yes, ma'am , I did .

16 Q.         Approximately    what time was that ?

17 A.         At 06 57 hour s in the morn ing .

18 Q.         Where were you work ing at that hour ?

19 A.         I was on I-10 near mile post 109 .

20 Q.         That 's Interstate 10 ?

21 A.         That 's correct .

22 Q.         That 's a road that goes down through        Houston , or

23 to the Houston     area ?

24 A.         Correct .

25 Q.         What did you -- what observation s did you make ?




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 1 A.       I observe d a tan motor home traveling           in the

 2 left lane eastbound      on I-10, and I observe d the motor

 3 home cross the white fog line onto the shoulder                of the

 4 road way and then return       back to its lane .

 5 Q.       Why did that come to your attention ?

 6 A.       Well , I was concerned      that maybe the drive r was

 7 fall ing asleep or intoxicate d or having          some kind of

 8 difficulti es that cause d it to leave the travel              lane .

 9 Q.       What did you do at that time ?

10 A.       I got be hind the motor home , turn ed on my

11 emergency   light s, and made a traffic         stop on the

12 vehicle .

13 Q.       How many people       occupi ed the vehicle ?

14 A.       Two .

15 Q.       Do you recall       who those two people     were ?

16 A.       Yes, ma'am .

17 Q.       Who were they ?

18 A.       Marcus    Thurman    and Mr. Weather sby .

19          Michael    Thurman , I believe     his name was , and Mr.

20 Weather sby .

21 Q.       Who was the driver ?

22 A.       The driver     was Mr. Thurman .

23 Q.       What occurred       once you stopped    the tan motor

24 home ?

25 A.       I approach ed the passenger        side of the vehicle




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1 and asked the driver       to step to the rear of the vehicle

2 with his driver 's license .

3 Q.        Why do    you approach    the passenger    side if you're

4 asking   the driver     to get out ?

5 A.        Because    I don't want to get hit by a car on the

6 driver 's side of the vehicle .

7 Q.        Did Mr. Thurman     comply    with your request ?

8 A.        Yes, ma'am .     He did step out of the vehicle           and

9 meet me at the rear of the motor home .

10 Q.       What occurred     once you got him to the rear of

11 the motor home ?

12 A.       I again asked for his driver 's license .           He said

13 he didn't    have one .   He gave me an auto deal er 's I .D.

14 card that identifi ed him , and he said he left his

15 driver 's license    in Shreveport , Louisiana .

16 Q.       The auto deal er 's I. D. card .      Did it have     a

17 photograph    of Mr. Thurman      on it ?

18 A.       Yes, ma'am .

19 Q.       Do you know where -- do you recall           the name of

20 the dealership ?

21 A.       No, ma'am , I don't .

22 Q.       How about the location        of the dealership ?

23 A.       Washington , D. C.

24 Q.       After he present ed that identification           to you ,

25 did you have any further        conversation    with him ?




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 1 A.         Yes, ma'am .    I asked him where he was going and

 2 where he was comi ng from .       He said he had been

 3 traveling     since March and was on his way back to

 4 Washington,      D. C. from Houston , Texas .      He said that he

 5 had been in Houston       vis iting relative s and he and his

 6 passenger     were on their way back for a family         get -

 7 together    in Washington,     D. C.

 8 Q.         Did you have any contact      with the passenger       of

 9 the vehicle ?

10 A.         Yes, ma'am , I did .   I spoke to the passenger ,

11 asked him where they were going and where they were

12 comi ng from .     He gave me the same story as Mr. Thurman .

13 He said he was going to be comi ng back to Houston

14 Sunday   and that Mr. Thurman      was going to be bring ing

15 him to Houston .

16            I went back and spoke with Mr. Thurman          again ,

17 and he said he was n't sure when the passenger            was going

18 to be going back home to Houston .

19 Q.         Did you take any enforcement       action   at that

20 time ?

21 A.         I retrieved    the passenger 's I.D. and     went back

22 to my patrol      unit and ran a check to see if either           of

23 the subject s were warrant ed .

24 Q.         What was the result    of that check ?

25 A.         They were not .




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 1 Q.         What did you do at that point ?

 2 A.         I fill ed out a Consent         to Search form .    I felt ,

 3 because    of Mr. Thurman 's nervous ness when he gave me

 4 his I.D. --        his hands were shaki ng and he         was real

 5 nervous ; I smell ed the odor of burnt marijuana               as I was

 6 talk ing to him , and I felt that there may be some sort

 7 of criminal        activity    taking   place .    So , I fill ed out a

 8 Consent    to Search form .

 9 Q.         Did Mr. Thurman       give you consent      to search ?

10 A.         When I original ly asked him for consent            to

11 search , he did .       After I explained         the form to him and

12 had him read the form to make sure he understood                 it , at

13 that point he asked me if he could refuse , and I told

14 him yes , he could .          He said , well , I want to refuse .

15 Q.         Did that end your investigation ?

16 A.         Did it end my investigation ?

17 Q.         Yes .

18 A.         No, ma'am , it did      not .

19 Q.         What did you do at this point ?

20 A.         I contact ed our K-9 officer , who came to the

21 scene and ran his dog around             the vehicle .

22 Q.         What were the result s of that ?

23 A.         He advise d me that the dog indicated            to the

24 presence     -- the odor of narcotic s on the vehicle            around

25 the vehicle .        At that point he explained          to Mr. Thurman




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 1 what took place , and we search ed the vehicle .

 2 Q.       Was anything     re covered    from the vehicle ?

 3 A.       Yes, ma'am .     My partner       assisted    me in the

 4 search , and we re covered        a small duct -tape d package

 5 locate d underneath      the stove in the natural          void of the

 6 motor home .

 7 Q.       Did you     determine    what was in that duct -tape d

 8 package ?

 9 A.       Cocaine .

10 Q.       How did you make that determination ?

11 A.       Our narcotic s agent s field -tested           it .

12          MR. SUSSMAN :     Objection .

13          Hearsay .

14          THE COURT:      Sustained .

15          Ask another     question .

16          BY MS. JOHNSTON:

17 Q.       Have you had occasion         to see cocaine          before ?

18 A.       Numerous     time s.    Yes, ma'am .

19 Q.       When you began your search           of the motor home or

20 camper , did you notice         anything   that got your attention

21 in side the camper ?

22 A.       Yes, ma'am , I did .       I noticed    a roll of duct

23 tape on the bed of the motor home .

24 Q.       Why was that significant           to you ?

25 A.       Many , many time s that I've discovered                cocaine




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1 in vehicle s, it 's been wrap ped in duct tape .

2 Q.        Were you present     when the duct -tape d package      was

3 re move d from where it was locate d?

4 A.        Yes, ma'am , I was .

5 Q.        Where was it locate d?

6 A.        It was under the stove , in the cabinet s, in a

7 natural   void .

8 Q.        What did you and your partner        do with it once

9 you had it re move d from that void ?

10 A.       I took my pocket     knife , cut the duct tape and

11 saw white powder .

12 Q.       Was there any significance       to you to the fact

13 that there was white powder       in side the duct tape ?

14 A.       Yes, ma'am .

15 Q.       What was that ?

16 A.       I believe d it was cocaine .

17 Q.       What did you do with the package         at that time ?

18 A.       Secured   it and place d Mr. Thurman      and his

19 passenger   under arrest .

20 Q.       What was done with the package         after you place d

21 Mr. Thurman   and his partner     under -- Mr. Weather sby

22 under arrest ?

23 A.       It was secured    in the trunk of my unit .

24 Q.       Where did you take it ?

25 A.       To West District N arcotic s Office in Lafayette .




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 1 Q.       What was done with it there ?

 2 A.       It was turned     over to the narcotic s agent s.

 3 Q.       Were you present      with them when they conduct ed

 4 any test s on it ?

 5 A.       No, ma'am , I was not .

 6 Q.       Let me show you what 's been mark ed as

 7 Government 's Exhibit     P-233 A, B, C and D.

 8          Have you seen these picture s earlier          this

 9 morn ing ?

10 A.       Yes, ma'am .

11 Q.       We'll put them up on the screen          then and ask you

12 to tell us what we're look ing at .

13 A.       That is a picture      of the rear of the motor home

14 that I stopped .

15 Q.       I will zoom in on that .

16          The tag on that vehicle .        Do you recall     whether

17 or not that was a deal er tag ?

18 A.       Yes, ma'am , it was .

19 Q.       What state or area issue d that tag ?

20 A.       Washington , D. C.

21 Q.       Government 's Exhibit      P-233 B.   What is that ?

22 A.       That is a picture      of the front of the motor home

23 I stopped .

24 Q.       And P-233 C.

25 A.       That is the driver 's side of the same motor




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 1 home .

 2 Q.         P-233 D.

 3 A.         That is the package        locate d in side the motor

 4 home .

 5 Q.         Is this picture      taken before   or after there was

 6 a slit in the package ?

 7 A.         Excuse     me , ma'am ?

 8 Q.         Is this picture      taken before   or after you slit

 9 open the duct -tape ?

10 A.         After .

11 Q.         Are we able to see the white powder         substance

12 you're     referring     to ?

13 A.         I'm not sure if this area where the slit is is

14 the white powder         or not .    I can't see it clear enough .

15 Q.         I'll bring it up to you so you can see if it 's a

16 little     clear er .

17 A.         I'm not sure if this is the cellophane          or white

18 powder .

19 Q.         Excuse     me ?

20 A.         I'm not sure if this area here is cellophane            or

21 white powder .

22 Q.         Let me put it on the screen , and you can touch

23 the screen      and point to the area you're        talk ing about .

24            Can you show us what area you're         talk ing about ?

25            You're     not sure whether    it 's the slit or the




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 1 cellophane ?

 2 A.        Right in the center     of the slit .

 3 Q.        Other than that slit , is the package           in the same

 4 condition     as when you re covered      it ?

 5 A.        Yes, ma'am .

 6 Q.        Do you recall     what the weight        of the package

 7 was ?

 8 A.        .75 pounds .

 9 Q.        Excuse   me ?

10 A.        .75 pounds .

11 Q.        Did you have any conversation            with Mr. Thurman

12 after you re covered      the package ?

13 A.        Yes , I did .

14 Q.        What was that conversation ?

15 A.        After re covering    the package , I place d him under

16 arrest    and advise d both he an d his passenger          of their

17 Miranda     right s and asked them about the cocaine             in the

18 vehicle .     Mr. Thurman   said if there was any cocaine            in

19 the vehicle     it was for his nose is what he said , and I

20 took that to mean personal        use .

21           I asked him about that particular            package , and

22 he said that was a package        that was a part of a 10 -kilo

23 ship ment that he took from Houston              to Washington    and it

24 didn't    cook into crack cocaine , so he brought           it back

25 to Houston     and forgot   to re move that small package           out




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 1 of the vehicle .

 2 Q.       Was Mr. Thurman      charge d with that offense ?

 3 A.       Yes , he was .

 4 Q.       Do you know whether         or not    he actual ly made it

 5 to court or what happened          to those charge s?

 6 A.       No , I do not .

 7          MS. JOHNSTON:       I have nothing       further .

 8          THE COURT:     C ross-examination .

 9          MR. MONTEMARANO :         No question s, Your Honor .

10          MR. MARTIN:       Mr. Goodwin       has no question s for

11 this witness , Your Honor .

12          MR. HALL:     No question s, Your Honor .

13          THE COURT:       Anyone    else ?

14          MR . MITCHELL:      No question s, Your Honor .

15          MR. WARD:     No question s.

16          THE COURT:       Thank you very much .        You may step

17 down , officer .

18                  (Witness    excused     at 11 :30 a.m. )

19          THE COURT:       We will take a recess        until ten

20 minute s of 12 .

21                        (Jury excused at 11:30 a.m.)

22                        (Off the record         at 11 :30 a.m. )

23                        (On the record         at 11 :52 a.m.)

24          THE COURT:       Ready for the jury ?        Bring them in .

25                        (J ury return s at 11 :54 a.m. )




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 1            THE COURT:      You may proceed .

 2            MS. JOHNSTON:      Your Honor , our next witness

 3 would be Michael        Thurman .

 4            THE COURT:      All right .

 5            MR. WARD:     Michael    Turn er ?

 6            MS. JOHNSTON:      Michael     Thurman .   He 's in

 7 custody .

 8 Thereupon,

 9                            MICHAEL THURMAN ,

10 having been called as a witness on behalf of the

11 Plaintiff, and having been first duly sworn by the

12 Courtroom Deputy, was examined and testified as

13 follows:

14            THE CLERK:      I need you to state your name for

15 the record.

16            THE WITNESS:      Michael     Thurman.

17                           DIRECT EXAMINATION

18            BY MS. JOHNSTON:

19 Q.         Good morning,     Mr. Thurman.

20 A.         Good morning.

21 Q.         How old are you?

22 A.         31.

23 Q.         Where did you grow up?

24 A.         Washington, D.     C.

25 Q.         How far did you go in school?




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1 A.       Graduated.

2 Q.       Graduated from where?

3 A.       Wheaton High.

4 Q.       What year did you graduate from high school?

5 A.       '94.

6 Q.       Are you currently incarcerated?

7 A.       Yes.

8 Q.       Is that as a result of your involvement in this

9 drug conspiracy?

10 A.      Yes.

11 Q.      Have you ever been incarcerated before?

12 A.      Yes.

13 Q.      When was that, approximately?

14 A.      1999.

15 Q.      For what?

16 A.      Armed robbery.

17 Q.      When were you released?

18 A.      June 2001.

19 Q.      When you were released from prison, what area

20 did you live in?

21 A.      Baltimore County.

22 Q.      Did you get employment when you were released?

23 A.      No, ma'am.

24 Q.      Have you ever used any drugs?

25 A.      Yes.




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1 Q.        What kind of drugs have you used?

2 A.        Marijuana, cocaine and "       E" pills.

3 Q.        What do you mean by "'      E pills?'"

4 A.        I don't understand the question.

5 Q.        What is an " E pill?"

6 A.        Oh.    Ectasy.

7 Q.        Approximately how old were you when you started

8 using drugs?

9 A.        16 or 17.

10 Q.       Ever receive any treatment for your drug use?

11 A.       No, ma'am.

12 Q.       Now, when you got out of prison in           June of 2001,

13 did you use drugs after that release?

14 A.       Yes.

15 Q.       What kind of drugs did you use after you got out

16 of prison in     June of 2001?

17 A.       Marijuana, cocaine, "      E" pills.

18 Q.       When you say "cocaine," are you talking about

19 powder cocaine or crack cocaine?

20 A.       Powder.

21 Q.       Now, if you weren't working after you got out of

22 jail in 2001, how did you obtain your drugs?

23 A.       Friends.

24 Q.       Did there come a time after you were released

25 when you began selling any drugs?




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 1 A.        Yes.

 2 Q.        Approximately how soon after you got out of

 3 prison did you start selling drugs?

 4 A.        In between the three to five months.

 5 Q.        What kind of drugs did you start selling?

 6 A.        Crack and powder.

 7 Q.        Excuse me?

 8 A.        Crack and powder cocaine.

 9 Q.        How did you get involved in selling crack and

10 powder cocaine?

11 A.        I don't understand the question.

12 Q.        Well, where did you get the crack or the powder

13 initially when you started selling it?

14 A.        Oh.    Through a mutual friend.

15 Q.        Who was that friend?

16 A.        Tony.

17 Q.        Where did you know     Tony from?

18 A.        Another mutual friend,       Jeff.

19 Q.        Jeff and   Tony.

20           Were they from     Baltimore County?

21 A.        No, from   Washington,     D. C. and   Prince   George's

22 County.

23 Q.        What general area in       Washington,   D. C.?

24 A.        Southeast.

25 Q.        Who was that     Tony or   Jeff?




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1 .          Who lived in that area?

2 A.         Oh, Jeff.

3 Q.         Where was       Tony from?

4 A.         Prince    George's    County.

5 Q.         You said you started getting it through            Tony.

6            Was Tony also a user of drugs?

7 A.         Yes, user and seller.

8 Q.         And how -- what conversation did you have with

9 Tony that resulted in your starting to sell drugs?

10 A.        Can you --

11 Q.        Did you have a conversation with          Tony about

12 using drugs and/or selling drugs?

13 A.        Yes.     Yes.

14 Q.        Could you describe for us generally what you

15 discussed?

16 A.        Just how we can make some money and if            I knew

17 any way we can get some product or anything cheaper.

18 Q.        What quantity of drugs were you getting through

19 Tony initially?

20 A.        We were getting, like, 8-balls and quarters.

21 Q.        When you say an "8-ball," what do you mean by

22 that?

23 A.        Three -- three grams.

24 Q.        What would you do with the three grams that you

25 would get?




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 1 A.        Break it down and sell it.

 2 Q.        What quantities would you break it into, and            how

 3 much would you sell it for?

 4 A.        Like $10s and $20s and so forth.

 5 Q.        Approximately what would you pay for an 8-ball?

 6 A.        About $125 to $150.

 7 Q.        How much would you be able to make if you sold

 8 it -- broke it down and sold it?

 9 A.        About $300.

10 Q.        So you would double your money?

11 A.        Yeah.

12 Q.        Was that crack or cocaine that you were buying

13 8-alls of, or both?

14 A.        Both.

15 Q.        The crack as opposed to the powder.

16           What denomination was the crack sold in?

17 A.        The same.

18 Q.        The powder, too, was also $10s and $20s?

19 A.        Yeah.

20 Q.        That refers to the amount of money you would

21 charge somebody for it?

22 A.        Right.

23 Q.        How many $10s or $20s could you get out of an

24 8-ball?

25 A.        Around the same.




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1 Q.         The same whether it was crack or powder?

2 A.         Right.

3 Q.         What would be the number?

4 A.         Oh, about $300.

5 Q.         In addition to selling you the 8-ball crack or

6 the 8-ball powder, did you use any of that as well?

7 A.         Yes.

8 Q.         In addition to 8-balls, you also got quarters?

9 A.         Right.

10 Q.        Could you tell us what a "quarter" is?

11 A.        Seven grams.

12 Q.        Does that refer to a quarter of an ounce?

13 A.        Yes.

14 Q.        An "eighth" refers to an eighth of an ounce?

15 A.        Yes.

16 Q.        What would you pay for a quarter, or seven

17 grams?

18 A.        $300.

19 Q.        Was the price the same if it was crack or

20 powder?

21 A.        Yes.

22 Q.        Did you know -- when you were getting these

23 8-balls and quarters through         Tony, did you know where

24 he was getting it at first?

25 A.        No, not at first.




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1 Q.        Now, how long were you getting it through             Tony

2 before you found out where it came from?

3 A.        About a month.

4 Q.        What conversation did you have with           Tony after

5 that first month about where he was getting his drugs?

6 A.        I just went with him on a trip to get it.         There

7 wasn't really no --        I just went with him to purchase

8 it.

9 Q.        Where did you go with Tony to pick up the drugs?

10 A.       Southeast.

11 Q.       Where in Southeast?

12 A.       Anacostia    Road.

13 Q.       Do you recall the address on         Anacostia    Road?

14 A.       Not right offhand.

15 Q.       What kind of establishment was it that you went

16 to?

17 A.       Apartment building.

18 Q.       Do you remember how many apartments were in the

19 building?

20 A.       Four.

21 Q.       Did you go to the apartment, or did you meet

22 whoever it was outside?

23 A.       To a particular one.

24 Q.       What apartment did you go to?

25 A.       Upstairs one.




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 1 Q.        Can you describe the outside of the building for

 2 us?

 3 A.        Like a brick building with a front door leading

 4 to the hallway, and you can go upstairs or downstairs.

 5 Q.        How many flights of stairs would you go up?

 6 A.        One flight.

 7 Q.        Okay.   When you got to the top of the stairs,

 8 where would the apartment be that you went into?

 9 A.        On the right.

10 Q.        How many apartment doors were up there?

11 A.        Two.

12 Q.        And then there two on the bottom level?

13 A.        Yes.

14 Q.        When you went into that apartment upstairs --

15 this first time when you went with          Tony -- who was

16 there?

17 A.        Several people, and     Mr. Goodwin.

18 Q.        Do you remember the names of any of the other

19 people?

20 A.        No, ma'am.

21 Q.        You said " Mr. Goodwin."

22           Do you see    Mr. Goodwin in the courtroom?

23 A.        Yes.

24 Q.        Would you identify him for the record by

25 something he's -- by his appearance?




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 1 A.       Right here with the glasses.       (Witness

 2 indicating.)

 3 Q.       Okay.   Well, we have any number of people

 4 sitting here with glasses.      Could you -- using me and

 5 counting over from me, which person is it?

 6 A.       Fourth.

 7 Q.       Okay.   What is he wearing?

 8 A.       Like, a greenish suit.

 9 Q.       Okay.     I would ask the record to reflect the

10 witness has identified the defendant,           Learley   Goodwin.

11          MR. MARTIN:    No objection.

12          THE COURT:    The record will so indicate.

13          BY MS. JOHNSTON:

14 Q.       Was that the first time you met          Mr. Goodwin?

15 A.       Yes.

16 Q.       What happened in his apartment?

17 A.       I was with a guy --      Tony -- went to purchase

18 some drugs.

19 Q.       Were you present during the transaction?

20 A.       Yes.

21 Q.       What drugs were purchased?

22 A.       Some crack and powder cocaine.

23 Q.       How much was purchased?

24 A.       About a half an ounce altogether.

25 Q.       Who gave    Tony the total of the half ounce of




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1 drugs?

2 A.         Mr. Goodwin.

3 Q.         Did you see where he got it from?

4 A.         Yes.

5 Q.         Where did he get it from?

6 A.         At this time it was on the table.

7 Q.         What room was the table in?

8 A.         The living room.

9 Q.         Can you describe the inside of that apartment

10 for us?

11 A.        When you come in the door, the kitchen's to the

12 left; the living room and dining room to the right.

13 Q.        Do you know -- did     Tony pay    Mr. Goodwin for the

14 drugs when he received them?

15 A.        Yes.

16 Q.        How much was paid for them?

17 A.        All together it was about $600.

18 Q.        Did you receive any of those drugs?

19 A.        Yes.

20 Q.        What did you receive?

21 A.        I received half.

22 Q.        Half of?

23 A.        The half.

24 Q.        Of the?

25 A.        Half ounce.




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 1 Q.       You would have gotten a quarter ounce?

 2 A.       Yes.

 3 Q.       Do you recall whether or not that was powder or

 4 crack cocaine, or both?

 5 A.       It was both.

 6 Q.       What did you do with the drugs you received?

 7 A.       Resold and used.

 8 Q.       So if you got a quarter ounce, we're talking

 9 about roughly seven grams?

10 A.       Yes.

11 Q.       And you were able to repackage that and sell it;

12 is that correct?

13 A.       Yes.

14 Q.       Let me show you two photographs and ask you if

15 you recognize the location.

16          Showing him    P-68 and P-69.       P-68 and   P-69.

17          MR. WARD:     Thank you.

18          BY MS. JOHNSTON:

19 Q.       Do you recognize that location?

20 A.       Yes.

21 Q.       What location is that?

22 A.       The apartment that we met at.

23 Q.       I will put them up on the screen.

24          Is that the outside door of the apartment?

25 A.       Yes.




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1 Q.        What area do we see on P-69?

2 A.        Like a dining room are, the table.

3 Q.        And the door there.     What door is that?

4 A.        The front door.

5 Q.        Excuse me?

6 A.        The front.

7 Q.        Was there -- were you introduced to           Mr. Goodwin

8 at that time?

9 A.        Yes.

10 Q.       By what name were you introduced to him?

11 A.       Mike.

12 Q.       Did you have any nicknames that people called

13 you?

14 A.       "Cadillac    Mike."

15 Q.       How was   Mr. Goodwin introduced to you?

16 A.       As "Goody."

17 Q.       During the time that you were there, did you

18 have any particular conversation with           Mr. Goodwin about

19 drugs?

20 A.       Yeah.

21 Q.       What was that conversation?

22 A.       About knowing people where we can get them for a

23 lower price.

24 Q.       How did that come up in the conversation if you

25 were just meeting      Mr. Goodwin for the first time?




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1 A.        Because    Tony had already -- had talked to him or

2 whatever about knowing somebody that could find it for

3 a lower price.

4 Q.        Okay.   Then let's back up for a moment.

5           Before you went with       Tony to pick up drugs from

6 Mr. Goodwin, had you and         Tony had a conversation about

7 drugs and getting them at cheaper prices?

8 A.        Yes.

9 Q.        Describe that conversation for us.

10 A.       Just a conversation about getting -- I guess

11 getting money so that       I can get it out of town for a

12 lower price.     We just needed somebody to, you know, go

13 with us or whatever.

14 Q.       Did you have money -- enough money to go out of

15 town and buy larger quantities of drugs?

16 A.       No, ma'am.

17 Q.       The most that you were spending at a time to buy

18 drugs at that time was how much?

19 A.       Anywhere from $150 to $300.

20 Q.       What did    Tony say when you discussed trying to

21 get someone to go in with you to go get larger

22 quantities of drugs?

23 A.       Can you repeat the question?

24 Q.       What, if anything, did       Tony say when you had

25 this discussion about trying to find someone to go in




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1 to get more drugs?

2 A.         Oh.    That he had someone that had the money to

3 be able to get, you know, a big quantity of drugs if                I

4 knew a connect.

5 Q.         What did you tell    Tony?

6 A.         That I had family and friends out of state.

7 Q.         Where were your family and friends?

8 A.         Houston,    Texas.

9 Q.         Had you brought drugs from       Houston,   Texas

10 before?

11 A.        No, ma'am.

12 Q.        Well, how did you know that your friends or

13 family in   Houston,     Texas would be able to help you?

14 A.        Because    I've been in   Texas before, and     I just --

15 I knew different friends and family that had a drug

16 connection that was cheaper to get drugs closer.

17 Q.        Had you seen drugs in      Texas before?

18 A.        Yes.

19 Q.        And who were these family members or friends

20 that you knew who were involved in drugs?

21 A.        It was several, but a few in particular was

22 Steve.

23 Q.        Steve was a relative or friend?

24 A.        Steve was a relative, and one of the          Steves was

25 a friend.




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1 Q.          So there were a couple of      Steves in Texas; is

2 that correct?

3 A.          Yes.

4 Q.          Do you know the last names of the        Steves ?

5 A.          One was my cousin,    Ross, and the other one was

6 Campbell.

7 Q.          So we had    Steven Ross and   Steven Campbell?

8 A.          Right.

9 Q.          So you had this discussion with       Tony, and that's

10 before you met       Mr. Goodwin; is that correct?

11 A.         Yes, ma'am.

12 Q.         When you go and pick up the half ounce from           Mr.

13 Goodwin at the apartment on        Anacostia , what discussion

14 did you have with        Mr. Goodwin at that time concerning

15 drugs?

16 A.         Just about what kind of prices we can get and if

17 we can get it cheaper, and just to, like, check into it

18 -- sort of look into it, basically.

19 Q.         Who asked you to look into it?

20 A.         Oh.    Mr. Goodwin.

21 Q.         What quantities of drugs did you and         Mr. Goodwin

22 discuss?

23 A.         Bricks.

24 Q.         What's a "brick?"

25 A.         Oh.    A kilo.




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 1 Q.         Are there other names for kilos?

 2 A.         There's several names.

 3 Q.         Okay.    What are those -- some of those names for

 4 kilos?

 5 A.         There's "white girls," "cakes," "pies" -- it can

 6 be several different, you know --

 7 Q.         Do you usually just call them kilograms of

 8 cocaine?

 9 A.         Bricks or keys.

10 Q.         Was there discussion of what kind of price or

11 how much money        Mr. Goodwin could contribute to getting

12 these kilos?

13 A.         It was dependent on the cheaper price where we

14 can get them for.

15 Q.         What arrangements, if any, did you make with            Mr.

16 Goodwin when you met with him that first time?

17 A.         I don't understand the question.

18 Q.         Okay.    After you had that -- let me rephrase it.

19            After you had that discussion, what did you do?

20 A.         Oh.     I proceeded to make phone calls and talk to

21 my relatives and friends.

22 Q.         Who did you call?

23 A.         Cousin.     Steven Ross.

24 Q.         What discussion did you have with         Mr. Ross?

25 A.         To check and see if he can get any keys for a




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 1 good price, and how soon, and who do we talk to, and a

 2 good quality.

 3 Q.        When you had that conversation with          Mr. Ross on

 4 the phone, did you talk as you just told us:          Can you

 5 tell us what price you can get keys for?         Or did you

 6 use different language in speaking with him on the

 7 phone?

 8           MR. MARTIN:    Objection.

 9           Compound and leading.

10           THE COURT:    Rephrase the question.

11           BY MS. JOHNSTON:

12 Q.        How did you discuss it over the phone with your

13 cousin,   Mr. Ross?

14 A.        What's the prices we can get for, say, keys or

15 birds.

16 Q.        Did he give you prices over the phone?

17 A.        He wouldn't know exactly what the price we get

18 them for -- depend who we deal with -- but he gave us a

19 price range.

20 Q.        What was the price range he gave you?

21 A.        Anywhere from $15,500 to $17,500.

22 Q.        Now, as a result of that discussion with your

23 cousin,   Mr. Ross, did you have further discussions with

24 Mr. Goodwin?

25 A.        Yes.




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 1 Q.       Where did you have those discussions with him?

 2 A.       Back at the apartment building in Southeast.

 3 Q.       The one on     Anacostia    Road?

 4 A.       Yes, Anacostia      Road.

 5 Q.       Who was present for those discussions?

 6 A.       Me, him, and other people and          Tony.

 7 Q.       Do you recall who some of those other people

 8 were that were in the apartment from time to time?

 9 A.       Tiffany, and --      I can't recall no more.

10 Q.       Who was " Tiffany" in relation to          Mr. Goodwin?

11          MR. MARTIN:     Objection.

12          BY MS. JOHNSTON:

13 Q.       If you know.

14 A.       His girlfriend.

15 Q.       How do you know that?

16 A.       From seeing them interact.

17 Q.       What were your discussions with          Mr. Goodwin

18 after you got the price from          Steve Ross?

19 A.       That I pretty much had everything in motion.

20 Just had to go down there, you know, talk about it and

21 make deals and final arrangements.

22 Q.       Were any arrangements made to go to            Texas?

23 A.       Not at that time.

24 Q.       Did there come a time when arrangements were

25 made to go to     Texas?




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1 A.       Yes, ma'am.

2 Q.       Approximately how long after you had this

3 discussion were arrangements made?

4 A.       30 to 60 days.

5 Q.       Approximately what time of year was that?

6 A.       Late.    Late.   End of the year.

7 Q.       The end of what year?

8 A.       '01.

9 Q.       Excuse me?

10 A.      '01.     2001.

11 Q.      What were the arrangements that were made?

12 A.      To fly -- to fly down to        Houston.

13 Q.      Who was to fly down to        Houston?

14 A.      Me and    Mr. Goodwin.

15 Q.      Who made those arrangements?        The travel

16 arrangements.

17 A.      You mean obtaining the tickets?

18 Q.      Who obtained the tickets -- made the

19 reservations?

20 A.      Oh.     Mr. Goodwin.

21 Q.      Did you -- did there come a time when you

22 actually traveled to      Texas?

23 A.      Yes.

24 Q.      Do you recall the date of the travel?

25 A.      No, I can't recall the date.




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 1 Q.         What airline did you travel on?

 2 A.         Southwest.

 3 Q.         Who traveled with you?

 4 A.         Mr. Goodwin.

 5 Q.         Who paid for the tickets?

 6 A.         We picked them up.       I'm not sure who paid.     Mr.

 7 Goodwin.

 8 Q.         Did you pay for the tickets?

 9 A.         No, ma'am.

10 Q.         Do you know how they were paid for?

11 A.         No, ma'am.

12 Q.         Court's indulgence one moment.

13            I'm going to show you what's been marked as

14 Government's Exhibit R9 and ask you if this refreshes

15 your recollection of when you traveled to             Houston with

16 Mr. Goodwin.

17 A.         Yes.

18 Q.         On what date did you travel to        Houston?

19 A.         12/27/2001.

20 Q.         Were there any difficulties in getting to

21 Houston?

22 A.         No, ma'am.

23 Q.         Where did you go once you arrived at the           Houston

24 airport?

25 A.         Were picked up by my cousin,       Steven Ross.




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1 Q.        Where did    Mr. Ross take you?

2 A.        To the Hood to meet the guy.

3 Q.        Did you say, "to the Hood?"

4 A.        Yeah.

5 Q.        Okay.

6 A.        Oh.    Well, to      Marcolin .      To, like, the south

7 side of    Texas, or the north side.

8 Q.        To where?

9 A.        To the north side of          Houston,    Texas.

10 Q.       What was the name of the area or the street?

11 A.       Marcolin .

12 Q.       Can you spell that for us, please?

13 A.       Not correctly.

14 Q.       Okay.

15 A.       M-A -R -C -O -L -I -N.

16 Q.       Whose house did you go to initially?

17 A.       Steve's.     Steve       Campbell.

18 Q.       Had you met       Steve -- you knew       Steven   Campbell

19 before this trip down there; is that correct?

20 A.       Yes.

21 Q.       Who was present when you got to              Mr. Campbell's

22 house?

23 A.       Both.   His friend Darren and another guy that                I

24 don't know the name.

25 Q.       Was Mr. Goodwin with you when you went to               Steve




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1 Campbell's house?

2 A.       Yes.

3 Q.       How about Steven Ross?

4 A.       Yes.

5 Q.       What occurred when you got to          Mr. Campbell's

6 house?

7 A.       We talked outside the house for a few minutes,

8 introducing everyone, then we proceeded to go into the

9 house and into the garage part of the house.

10 Q.      What conversation took place there?

11 A.      We were just talking about what we came down

12 for, the prices for the keys, the quality and be able

13 to supply it, and the demand.

14 Q.      Excuse me?

15 A.      Be able to -- like, would they be willing to be

16 able to keep supply.

17 Q.      Who participated in that conversation?

18 A.      Mr. Goodwin and      Steve Campbell.

19 Q.      You recall what prices they discussed?

20 A.      It depends on the quality, but it was anywhere

21 from $15,500 to $17,500.

22 Q.      And was that for delivery to         Washington,     D. C.

23 or pickup in    Houston?

24 A.      That was pickup in       Houston.

25 Q.      What quantities of drugs -- of cocaine were




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1 discussed?

2 A.        Starting out it would be five.

3 Q.        Who made the statement that starting out it

4 would be five?

5 A.        Mr. Goodwin.

6 Q.        Was there any discussion about the arrangements

7 in terms of whether the money would be delivered first

8 or the drugs?

9 A.        It was like -- it was a bunch of different ideas

10 going on, so it was up in the air until we made the

11 final -- the final decision.

12 Q.       What was the discussion generally about the

13 procedure?

14 A.       Can you rephrase the question?

15 Q.       You said there was some different ideas being

16 thrown about before you all reached a conclusion.

17 A.       Yes.   Oh.   It was like driving down, using          UPS

18 -- there was a couple of different ways.

19 Q.       What was decided upon initially?

20 A.       Sending everything.

21 Q.       If you're sending everything, was there a

22 discussion about whether the drugs would be sent to

23 Washington first, or the money would be sent to             Houston

24 first?

25 A.       It would be the money sent first.




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1 Q.         You also indicated there was a discussion about

2 quality.

3 A.         Right.

4 Q.         Can you describe what -- how that discussion

5 proceeded?

6 A.         I'm just saying, like, the quality of it,

7 because you want the better         quality to do what you need

8 to do with it.

9 Q.         What do you mean, "do with it?"

10 A.        Like if you're going to cook it up in crack, or

11 sniff it or whatever, you've got to have a good quality

12 for the customers.

13 Q.        Was the cocaine that Mr     . Campbell was going to

14 provide, was that powder cocaine or crack cocaine?

15 A.        Powder.

16 Q.        While you were in his home having these

17 discussions, was anything shown to you?

18 A.        Yes.

19 Q.        Could you describe that?

20 A.        Several kilos of cocaine.

21 Q.        Where were they?

22 A.        They were in the garage.     They were in the back

23 of a car that he had in the garage.

24 Q.        Can you describe for us how you happened to see

25 those?




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 1 A.         They were really, like, out in the open, and

 2 then once he popped the trunk you could see the ones he

 3 had in the trunk.

 4 Q.         Were any of those tested that day while you and

 5 Mr. Goodwin were there?

 6 A.         Yes.

 7 Q.         Describe that process.

 8 A.         Looked at it.    Rubbed it in the fingers.           I

 9 sniffed it.       That's how much it was tested.

10 Q.         Who rubbed it in between their fingers?

11 A.         Mr. Goodwin.

12 Q.         Do you know why you would rub it between your

13 fingers?

14 A.         I guess to see if --

15            MR. MONTEMARANO :    Objection,    Your Honor.

16            BY MS. JOHNSTON:

17 Q.         Mr. Thurman, you can't testify in         terms of

18 guessing something.

19 A.         Oh, okay.

20 Q.         Had you seen that process done?

21 A.         Yes.

22 Q.         Why do you rub it between your fingers?

23            MR. MONTEMARANO :    Objection,    Your Honor.

24            He's already stated he doesn't know.       He said he

25 guessed.




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 1            THE COURT:    If he knows, he may answer.

 2            BY MS. JOHNSTON:

 3 Q.         If you know, why do you rub it between your

 4 fingers?

 5 A.         To see if it's going to dissolve.

 6 Q.         Why do you need to know if it's going to

 7 dissolve?

 8 A.         So when you try to cook it up.

 9 Q.         Why is it important that it dissolve when you

10 cook it up?

11 A.         Well, so it will break down when you're trying

12 to cook it up in crack form.

13 Q.         Was any cocaine purchased at that time?

14 A.         No, ma'am.

15 Q.         I want to show you two pictures, Government's

16 Exhibit    P-265 and P-266.

17            Do you recognize that address?

18 A.         Yes.

19 Q.         What is it?

20 A.         That's   Steve's old house.

21 Q.         Excuse me?

22 A.         Steve's old house.    It wasn't a child day care

23 back then.

24 Q.         When you say, " Steve's old house," which          Steve

25 are you referring to?




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 1 A.        Campbell.

 2 Q.        In terms of your meeting in        December of 2001,

 3 was this the residence where you met with him?

 4 A.        Yes.

 5 Q.        Is there something different about the residence

 6 as it appears in these two pictures than the way it was

 7 when you met with him with         Mr. Goodwin back in 2001?

 8 A.        It wasn't a day care and it had a garage that

 9 opens.

10 Q.        Can we see the garage on the picture, P-265?

11 A.        No.

12 Q.        Can we see where the garage was?

13           If you could --you can take your finger, and

14 when you touch the screen it will leave a mark.          Show

15 us where the garage is -- was back then.

16 A.        (Witness indicating.)

17 Q.        So the day care signs and the changing of the

18 garage.   Are those the only two differences you notice

19 about the house itself?

20 A.        The paint.

21 Q.        Excuse me?

22 A.        The paint color.    It wasn't them light, bright

23 colors then.

24 Q.        And 266.     Is that the same house?

25 A.        Yes.




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 1 Q.       Do you know when      Mr. Campbell left that house?

 2 A.       I'm not sure of the exact date.

 3 Q.       Did you meet with him more than once at that

 4 location?

 5 A.       That particular trip?

 6 Q.       On that particular trip.

 7 A.       Yeah.

 8 Q.       Well, after that particular trip, did you ever

 9 return to    Houston and go back to that location?

10 A.       That location at the house -- a house further

11 down the street is his mom's house.

12 Q.       Let me show you      P-.

13          Do you recognize      P-267?

14 A.       Yes.

15 Q.       What residence is that?

16 A.       That's his mother's.

17 Q.       Is that the second location where you met with

18 Mr. Campbell --

19 A.       Yes.

20 Q.       -- during the time you were dealing with him?

21          After the meeting with         Mr. Campbell where these

22 discussions occurred, was there an agreement as to what

23 the first delivery would be?

24 A.       Yes.

25 Q.       How much?




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1 A.       Oh.   It was said we were going to purchase

2 around five.

3 Q.       Was any money delivered that day?

4 A.       No.

5 Q.       How much would the five kilograms of cocaine

6 have cost, approximately?

7 A.       $90,000.

8 Q.       Did you have even $1,000 to your name at that

9 point?

10 A.      No, ma'am.

11 Q.      Who was to provide the money, based on the

12 conversations?

13 A.      Mr. Goodwin.

14 Q.      How did you get back to        Maryland?

15 A.      Flew.    Took a plane.

16 Q.      Did you and     Mr. Goodwin fly together?

17 A.      No.     I flew back at a later time.

18 Q.      When did    Mr. Goodwin fly back?

19 A.      Like a day or two before the end of the year.

20 Q.      How do you remember that it was before the new

21 year -- before New Year's Day?

22 A.      Because the year was coming up, and he had to

23 get back for, like, a grand opening of a store.

24 Q.      He had to get back for what?

25 A.      A grand opening of a restaurant.




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1 Q.          Do you recall the name of the restaurant?

2 A.          D. C.'s Finest.

3 Q.          Where was that located?

4 A.          Rhode Island Avenue.

5 Q.          Were you originally scheduled to fly back at the

6 same time?

7 A.          Yes.

8 Q.          Again, who changed the flights?

9 A.          Mr. Goodwin.

10 Q.         Why did you stay down there longer?

11 A.         To tie up some loose ends and then try to figure

12 out the arrangements on the transportation and so

13 forth.

14 Q.         Who did you have those discussions with?

15 A.         Steven   Ross and   Steven   Campbell and another guy.

16 Q.         What was the other guy's name?

17 A.         I'm not sure of the name.

18 Q.         Why was this other guy involved in the

19 discussions?

20 A.         Because he worked inside of the United Parcel

21 Service.

22 Q.         UPS?

23 A.         Yes.

24 Q.         Why was it important that he be involved in the

25 discussions?




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 1 A.       Because he had the way to get the drugs back and

 2 forth being undetected.

 3 Q.       Do you recall the date you flew back to

 4 Maryland?

 5 A.       No, ma'am.

 6 Q.       Let me show you again what have been introduced

 7 as Government's Exhibit R-9.

 8          Did you fly Southwest coming back?

 9 A.       Yes, ma'am.

10 Q.       Court's indulgence one moment.

11          Does this refresh your recollection of the date

12 you flew back?

13 A.       January 5th 2002.

14 Q.       Once you got back to       Maryland, did you have any

15 contact with     Mr. Goodwin?

16 A.       Yes.

17 Q.       How would you get in touch with          Mr. Goodwin?

18 A.       Telephone, or either go past wherever he was at.

19 Q.       What different locations would you go by to see

20 Mr. Goodwin?

21 A.       Several.

22 Q.       Excuse me?

23 A.       Different locations.

24 Q.       Where were these different locations?

25 A.       Like, a restaurant, the building.        You know, any




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 1 place he was at at the time where we needed to talk.

 2 Q.       Who would tell you where to come to meet him?

 3 A.       He would.

 4 Q.       You said the restaurant.       You're referring to

 5 D. C.'s Finest?

 6 A.       Yes.

 7 Q.       Can you tell us where that was located?

 8 A.       Rhode Island Avenue, Washington,           D. C.

 9 Q.       What part of     Washington,    D. C.?

10          Northwest?     Northeast?

11 A.       Oh, northeast.

12 Q.       Do you know the cross street that it was near?

13 A.       Not right offhand.

14 Q.       So, you met him there.

15          Where were some of the other locations?

16 A.       Anacostia    Road.

17 Q.       Now, the location on        Anacostia    Road.

18          Is that the apartment you identified?

19 A.       Yes.

20 Q.       Did that have any nickname?

21 A.       The "Ponderosa."

22 Q.       Who called it the "Ponderosa?"

23 A.       Everybody.

24 Q.       Everybody, including        Mr. Goodwin?

25 A.       Yes.




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1 Q.        Who are some of the people that you knew -- who

2 called it the "Ponderosa?"

3 A.        The guy   Tony that introduced us, and anybody

4 that pretty much came in contact with -- around him.

5 Q.        The people that you came in contact with down

6 around there.     Did you ever see them with drugs?

7 A.        Yeah.

8 Q.        Were those people drug users?

9 A.        Some.

10 Q.       How about the others?

11 A.       It was,   I guess, sellers.

12 Q.       Did you ever see any of those people supplied

13 with cocaine by anyone?

14 A.       I can't understand the question.

15 Q.       The question is, while you were there and you

16 would see people who used drugs and other people who

17 sold drugs, did you ever see where they got their

18 drugs?

19 A.       Oh.   Yes.

20 Q.       Where would they get their drugs?

21 A.       From Mr. Goodwin.

22 Q.       What kind of drugs would you see          Mr. Goodwin

23 give to them?

24 A.       Crack and powder.

25 Q.       Did you ever see where he kept it?




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1 A.         Different places.   On the table, in tool boxes

2 -- in different locations.

3 Q.         This is on   Anacostia   Road at the "Ponderosa?"

4 A.         Yes.

5 Q.         You're referring to the apartment where you

6 first met him?

7 A.         Yes.

8 Q.         What about other apartments in that building?

9 A.         Repeat it.

10 Q.        Did you ever go into other apartments in that

11 building with    Mr. Goodwin, or was it just the same

12 apartment?

13 A.        Same apartment.

14 Q.        Once you returned, did you have any discussions

15 with Mr. Goodwin about what had occurred in            Texas at

16 the end of 2001?

17 A.        Just that it was -- there were --         Steve Campbell

18 was ready whenever we got our stuff together, and I

19 told   him about the plan about getting it up here

20 through   UPS.   So,   I just gave him the last details and

21 then we went from there.

22 Q.        You gave who the last details?

23 A.        Mr. Goodwin.

24 Q.        What were those details?

25 A.        That we can do everything by       UPS.




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1 Q.          What was   Mr. Goodwin's response when you told

2 him that you were able to do it by           UPS?

3 A.          We were going to just try it and see if it

4 worked because, you know, that wasn't the best idea or

5 the best way to go with it.

6 Q.          Why not?

7 A.          Because it had a chance of getting caught.

8 Q.          You said you were going to do a test.      Describe

9 for us what test was done.

10 A.         The first purchase.   Like, the first purchase.

11 Q.         How many kilos was the first purchase?

12 A.         It ran two and a half to five.

13 Q.         Was the money sent first?

14 A.         Yes.

15 Q.         Where did the money come from?

16 A.         Mr. Goodwin.

17 Q.         How much money was it, approximately?

18 A.         $45,000 to $90,000.

19 Q.         Excuse me?

20 A.         $45,000 to $90,000.

21 Q.         Depending whether it was two kilos to five

22 kilos?

23 A.         Yes, ma'am.

24 Q.         You don't recall what the first shipment was

25 exactly?




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 1 A.       No, ma'am.

 2 Q.       How was the money packaged?

 3 A.       Wrapped up in plastic and tape and put inside of

 4 a parcel box.

 5 Q.       Who actually delivered it to the           UPS to have it

 6 shipped down?

 7 A.       I did.

 8 Q.       Do you recall what address you mailed it to?

 9 A.       I can't recall the exact address, but it was

10 addressed wherever      Steve was going to be able to pick

11 it up.

12 Q.       So it was an address provided by           Mr. Campbell?

13 A.       Yes.

14 Q.       Any problems with the money getting to            Mr.

15 Campbell?

16 A.       No, ma'am.

17 Q.       What happened after you sent the money?

18 A.       He sent the package back.

19 Q.       Do you know what address that package was sent

20 to?

21          Did you know the address?

22 A.       Oh, that it was sent back to?

23 Q.       Yes.

24 A.       The first time it was 28        Gilray Court.

25 Q.       Is that an address associated with you?




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1 A.       Yes.   That's where      I stayed at.

2 Q.       What was in the package that you received?

3 A.       The cocaine that was purchased.

4 Q.       What did you do with it?

5 A.       Took it down to the District.

6 Q.       Do you recall where you took the first load?

7 A.       To the apartment in Southeast?        The apartment

8 building in Southeast.

9 Q.       On Anacostia ?

10 A.      Yes.

11 Q.      Was there any other apartments in Southeast that

12 you delivered it to, or just that one on            Anacostia ?

13 A.      Yes, ma'am.    Just that one.

14 Q.      Who did you deliver it to at the apartment?

15 A.      Mr. Goodwin.

16 Q.      What was done with it then?

17 A.      It was checked and cooked up, and that was it.

18 Q.      Who cooked it up?

19 A.      Mr. Goodwin.

20 Q.      Were you present when he cooked it up?

21 A.      When he started.

22 Q.      Did you -- how much did you see him cook up?

23 A.      Probably about a quarter key.

24 Q.      Can you describe how he cooked it up?

25 A.      On the stove, in a beaker, in like a Pyrex --




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1 like a measuring cup.

2 Q.        What did   Mr. Goodwin use to cook it up, in

3 addition to the Pyrex beaker on the stove?

4 A.        Like, water, baking soda...

5 Q.        Did he use any other liquids with it?

6 A.        Like, gin.

7 Q.        Were you surprised that he used gin?

8 A.        I never seen it before.

9 Q.        Oh?   Did you have any conversation with him

10 about using some kind of liquor?

11 A.       Yeah.    I've never seen it done before until           I

12 seen him do it.

13 Q.       What did he tell you?

14 A.       It, like, pulls out the oils and stuff in the

15 drugs.

16 Q.       Were you paid or compensated for that first

17 delivery?

18 A.       Not at the moment.

19 Q.       What do you mean, "not at the moment?"

20 A.       Not when   I took it back, like, the next day or

21 so.

22 Q.       Who paid you the next day or so?

23 A.       Goodwin.

24 Q.       What did he pay you?

25 A.       $1,000 per key.




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 1 Q.       Was that $1,000 paid in cash or in drugs?

 2 A.       Cash.

 3 Q.       This is the first time?

 4 A.       Yes.

 5 Q.       Had you ever had that much cash of your own

 6 before that time at one occasion?

 7 A.       Yes.

 8 Q.       Were there any problems with that first test

 9 shipment?

10 A.       No, ma'am.

11 Q.       So what happened after the first test shipment?

12 A.       He said, we'll do it again.

13 Q.       Do you know how many times it was done again?

14 A.       Once before it didn't go -- it got caught up.

15 Q.       So there was another shipment?

16 A.       Yes.

17 Q.       Did you follow the same procedure of you getting

18 the money from     Mr. Goodwin and you mailing the money?

19 A.       Right.

20 Q.       And how was the money -- the money that was sent

21 down there --

22 A.       Right.

23 Q.       -- was it all in a pile, or was it separated out

24 and counted?

25          How was it packaged?




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1 A.       Already counted, like, in stacks.

2 Q.       What kind of stacks was it in?

3 A.       Some, maybe, was $10,000 stacks and some, maybe,

4 was $5,000 stacks.

5 Q.       Do you know who counted the money before it was

6 put in the box?

7 A.       Mr. Goodwin.     Then    I recounted it.

8 Q.       All right.

9          Do you know how much money was sent down on that

10 second trip?

11 A.      About -- approximately about $90,000.

12 Q.      Did drugs come back in the same procedure?

13 A.      Yes.

14 Q.      Where were the drugs delivered on the second

15 trip?

16 A.      It was to my house.      Again, the house        I was

17 staying at again.

18 Q.      How much drugs came back the second time?

19 A.      Around five.

20 Q.      Was that equal to the price, that $90,000 or so

21 that was sent down?

22 A.      Yes.

23 Q.      What did you do with the five kilos that came in

24 on the second trip?

25 A.      Once they were delivered,         I waited a while then




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 1 contacted    Mr. Goodwin.     Then I proceeded to meet him

 2 somewhere downtown; called him once           I get close to the

 3 area.

 4 Q.       Do you recall exactly where you met him on the

 5 second trip?

 6 A.       At the restaurant.

 7 Q.       D. C.'s Finest?

 8 A.       Yes, ma'am.

 9 Q.       What did you do at the restaurant?

10 A.       Basically, just talking.       Showed him the cooler

11 that it came in.     Basically, that's all.      Just really

12 talking and saying, you know,         I made it through --       I

13 mean, just confirmation.      Just, you know, we're happy

14 that it made it.

15 Q.       You said it was in a cooler?

16 A.       Yeah.

17 Q.       Describe how it was packaged.

18 A.       When I got it or once       I took it?

19 Q.       Once you got it.

20          When you received it, what did it look like?

21 A.       Oh.   It was inside of a little cardboard box,

22 like the box the cooler came in, just wrapped up in

23 brown -- in a paper used to cover packages, and the

24 cooler was taped shut, you know what I mean?          So it

25 would be sealed.     So there wouldn't be nothing to leak




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 1 out.   So there would be no smell to detect it.

 2 Q.       So the cocaine was actually packaged inside the

 3 cooler inside the cooler box?

 4 A.       Yes.

 5 Q.       Right?

 6 A.       Right.

 7 Q.       Once you showed it to       Mr. Goodwin at the

 8 restaurant, did you leave it there or take it with you?

 9 A.       I left it there.

10 Q.       Was there any cooking done there at the

11 restaurant of that cocaine?

12 A.       No, ma'am.

13 Q.       Was it in the cooler when you left it?

14 A.       Yes.

15 Q.       Do you know how many shipments were done like

16 this with    UPS before there was a problem?

17 A.       One more.

18 Q.       On that third shipment did you follow the same

19 procedure?

20 A.       Following the same procedure on the way down,

21 but the procedure on the way up didn't make it.

22 Q.       What do you mean?

23          How much money did you send down?

24 A.       About $90,000 again.

25 Q.       Again, was this your money?




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 1 A.         No, ma'am.

 2 Q.         Whose money was it?

 3 A.         Mr. Goodwin's.

 4 Q.         If it was    Mr. Goodwin's money, why were you

 5 getting $1,000 a kilo from him?

 6 A.         That was, like, the going rate to get paid for

 7 my part    I was doing.

 8 Q.         For doing the transportation?

 9 A.         Huh?

10 Q.         For arranging the transportation?

11 A.         Right.

12 Q.         So you sent the money down the same way as you

13 usually do.

14 A.         Right.

15 Q.         Where was the shipment to come back to?

16 A.         It was either to the house       I was staying at or

17 the address that        I had in Southeast.

18 Q.         The address in Southeast.     That was different

19 from the    Anacostia     apartment?

20 A.         Yes, ma'am.

21 Q.         That address in Southeast.     Where was it in

22 relation to the restaurant?

23            Was it near the restaurant,        D. C.'s Finest?

24 A.         Yes.

25 Q.         Why were you using a different address?




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1 A.       Just in case, you know, because we already had

2 did a couple of times in case the police was on and

3 everything, you didn't want to use the same address and

4 make it hot.

5 Q.       What happens after you send the money?

6 A.       The drugs was supposed to have been sent off,

7 but I never received them.

8 Q.       What do you do when they don't come?

9 A.       I wait a while to see if they going to come or

10 if the police come and if the police had caught it in

11 between, and    I called the person --       I called    Steve

12 Campbell and the guy that's working at           UPS for a

13 tracking number to track the package.

14 Q.      Did you get a tracking number?

15 A.      Yes.

16 Q.      What did you find out?

17 A.      That the tracking number was no good.

18 Q.      What do you do at that point?

19 A.      I tried to investigate a little more.             I called

20 a person to try to find out why the tracking number

21 wasn't working.    So, a series of phone calls back and

22 forth to realize pretty much that it wasn't coming.

23 Q.      Was that a problem for you?

24 A.      Yes.

25 Q.      Why was it a problem for you?




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1 A.       Because    I was responsible for the shipment and

2 the drugs, and      I didn't have any -- either.

3 Q.       What?   You didn't have either what?

4 A.       The money or the drugs.

5 Q.       You were responsible to who for that?

6 A.       Mr. Goodwin.

7 Q.       What did you do eventually when the package

8 didn't show up?

9 A.       Several hours later       I go down to the

10 "Ponderosa."

11 Q.      And who's there?

12 A.      Mr. Goodwin.

13 Q.      What conversation did you have with           Mr. Goodwin?

14 A.      The same conversation       I had with my cousin and

15 Steve Campbell and the      UPS guy about what we thought

16 happened to the package or what could have happened and

17 so forth.

18 Q.      What did    Mr. Goodwin say when you told him you

19 didn't have the money or the drugs?

20 A.      That we had to figure out what happened.         We had

21 to figure out something to figure out you know had to

22 figure out what happened what went wrong or that

23 someone somebody did something.

24 Q.      Do you recall     Mr. Goodwin saying anything

25 particular concerning that event, other than you had to




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1 figure out what happened?

2 A.        Oh.   I needed to go down there and check into

3 it.

4 Q.        Why did he say you needed to go down there and

5 check into it?

6 A.        Because it was my connect, my family, my friends

7 and my problem.

8 Q.        Was there any discussion about the money that

9 Mr. Goodwin had lost?

10 A.       Yeah, because we had to get the money or the

11 drugs back.

12 Q.       Who had to get them?

13 A.       Well, I did.

14 Q.       Did you -- what did you did after that

15 conversation with     Mr. Goodwin?

16 A.       The next morning     I flew to    Houston.

17 Q.       What occurred in     Houston?

18 A.       A series of meetings with my cousin Steve, the

19 UPS guy, trying to determine where it went wrong or

20 what happened.

21 Q.       Were you able to determine what happened to the

22 drugs?

23 A.       Not really what happened.         I had to assume,

24 because no one had an answer.

25 Q.       What did you do after you investigated what




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1 happened?

2 A.       After a day or two,       I realized    I won't be able

3 the recover the money or the drugs, so I came back --                   I

4 flew back to      Washington.

5 Q.       Did you have a conversation with           Mr. Goodwin

6 when you got back without the money or the drugs?

7 A.       Yes.

8 Q.       What was that conversation?

9 A.       That somebody screwed us over and the police

10 didn't catch it.    It was -- you know, somebody screwed

11 us over, because if the police had caught it, they

12 would have came, and that we needed to find a new way

13 and a way to make up for that money -- that loss we

14 took.

15 Q.      During that discussion with         Mr. Goodwin, what

16 new way did you all come up with?

17 A.      Driving.

18 Q.      Who was to drive?

19 A.      I was.

20 Q.      What -- initially, when you went down there by

21 car, what vehicle did you drive?

22 A.      A rental car.

23 Q.      Who gave you the money to go back down and get

24 more drugs?

25 A.      Mr. Goodwin.




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1 Q.        How were you going to -- how were you making up

2 for the money he had lost?

3 A.        By getting -- keep going to get more quantities

4 and not really making any profit or getting paid off of

5 it.   Just continue -- just to keep running.

6 Q.        When you started driving -- during the time that

7 you drove down there, you indicated you drove rental

8 cars?

9 A.        Yes.

10 Q.       Did you drive other vehicles, too?

11 A.       Personal vehicles and vehicles that were

12 supplied to me, and rental cars.

13 Q.       All right.   The first time you drove down there,

14 were you by yourself or with someone?

15 A.       Friend of mines from      Baltimore was with me.

16 Q.       Who was it who went with you on the first trip?

17 A.       Rodney green.

18 Q.       Any trouble on that first trip?

19 A.       Yes.

20 Q.       Okay.   Approximately when was that first trip?

21 A.       I'm not sure of the time.

22 Q.       What?

23 A.       I'm not sure of the date and time.

24 Q.       Do you recall that particular trip with            Mr.

25 Green?




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1 A.          Yes.

2 Q.          What kind of vehicle were you in?

3 A.          A Chrysler Concord.

4 Q.          Was that a rental vehicle?

5 A.          Yes.

6 Q.          Who rented the vehicle?

7 A.          Julio Martinez.

8 Q.          Who's Julio Martinez?

9 A.          He's the best friend of my best friend's

10 brother.

11 Q.         The best friend of your best friend's brother?

12 A.         Right.

13 Q.         Who is your --

14 A.         Oh.    Antoine    Jones.

15 Q.         Antoine   Jones is your best friend?

16 A.         Right.

17 Q.         And Antoine's brother is who?

18 A.         Rashard   is Julio's best friend.

19 Q.         Rashard   J ones?

20 A.         Yes.

21 Q.         So, Julio Martinez is      Rashard   Jones' best

22 friend?

23 A.         Right.

24 Q.         And Antoine      Jones is your best friend?

25 A.         Right.




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 1 Q.         Why did you need to have      Julio Martinez assist

 2 you with renting the car?

 3 A.         Because he knew some friends that worked at the

 4 Budget rental car that can get a deal and we could rent

 5 a car without a credit card and so forth.

 6 Q.         Did Mr. Martinez in fact rent the car for you?

 7 A.         Yes.

 8 Q.         I'm going to show you what's been marked as

 9 Government's Exhibit R-4.

10            Do you recognize that document?

11 A.         Yes.

12 Q.         What is that?

13 A.         The rental agreement.

14 Q.         Did you keep a copy of that in the vehicle while

15 you were driving it?

16 A.         Yes, ma'am.

17 Q.         Does that refresh your recollection concerning

18 the date you would have gone out in the vehicle?

19 A.         Yes.

20 Q.         What date was it that you picked up the rental

21 vehicle?

22 A.         2/2/02 -- 2/12/02.

23 Q.         Let me show it to you again.

24            Can you read the date when it went out?

25 A.         Oh.    3/12/03.




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1 Q.        Does that sound about right to you?

2 A.        Yes.

3 Q.        I'm putting it up on the screen.

4           Does it indicate who the person was who leased

5 the car -- the renter?

6 A.        Julio.

7 Q.        Is that the     Mr. Martinez you're referring to?

8 A.        Yes.

9 Q.        Is that his home information there, his home

10 number and his home address?

11 A.       Yes.

12 Q.       And his date of birth?

13 A.       Yes.

14 Q.       Did Mr. Martinez go with you to         Texas?

15 A.       When we left?

16 Q.       When you left in the vehicle, was          Mr. Martinez

17 in the vehicle?

18 A.       No, ma'am.

19 Q.       Who drove to     Texas with you?

20 A.       Me and   Rodney.

21 Q.       Did you take anything with you when you went to

22 Texas?

23 A.       Money.

24 Q.       Okay.    How -- about how much money did you take

25 on this trip?




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 1 A.       $90,000.

 2 Q.       Was it always $90,000?

 3 A.       No.    It varied from $90,000 to $180,000.

 4 Q.       Depending upon what?

 5 A.       How many keys     I was purchasing.

 6 Q.       Who gave you the money for each of these trips

 7 you made to      Texas?

 8 A.       Mr. Goodwin.

 9 Q.       Did all of the money come from          Mr. Goodwin for

10 all of the trips?

11 A.       Sometimes it did and sometimes it didn't.

12 Q.       Well, for this trip in particular do you recall

13 if all of the money came from         Mr. Goodwin?

14 A.       On this trip in particular          I picked it up all

15 from him, yes.

16 Q.       Do you know where he was getting the money from?

17 A.       For this trip in particular I didn't know

18 exactly where he was getting it from.             I assumed.

19          MR. MONTEMARANO :      Objection.

20          BY MS. JOHNSTON:

21 Q.       Again,    Mr. Thurman, you can't testify as to what

22 you assume.

23 A.       Okay.

24 Q.       Mr. Goodwin delivered the money to you --

25 A.       Yes.




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 1 Q.       -- or you picked it up from him?

 2 A.       Right.

 3 Q.       How was it packaged and put in the vehicle?

 4 A.       In behind the seat in different stash cans that

 5 I had.

 6 Q.       Can you describe the stash cans that were used

 7 to take the money down there?

 8 A.       False bottom cans like Fix-a-Flat, hair spray

 9 and different household cans.

10 Q.       Where did you get those different kinds of

11 household cans?

12 A.       Mr. Goodwin.

13 Q.       Let me show you again P-69.

14          Do you recognize any of the items that are on

15 that table there?

16 A.       Yeah, the Fix-a-Flat can.

17 Q.       Let me put it up on the screen and you can show

18 us the Fix-a-Flat can.

19          Again, this picture is from the          Anacostia

20 apartment, the "Ponderosa;" correct?

21 A.       Yes.

22 Q.       And if you could point to the Fix-a-Flat can.

23 A.       (Witness indicating.)

24 Q.       And that's where you put the yellow lines on?

25 A.       Yes.




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 1 Q.         How does that work?

 2            Where's the false compartment in it?

 3 A.         In the bottom.    The bottom unscrews.

 4 Q.         Let me show you a couple of items here that have

 5 been marked as Government's Exhibit 32 and 33.

 6            Do you recognize those items?

 7 A.         Yes.

 8 Q.         What are they?

 9 A.         Stash cans.

10 Q.         Was it cans like this that you used for the

11 money?

12 A.         Yes, and hair spray cans.

13 Q.         Hair spray cans?

14            Any other others you can think of?

15 A.         Fix-a-Flat, hair spray, and he even had soda

16 bottles.

17 Q.         How did the soda bottles work?

18 A.         They pulled apart.

19 Q.         Can you describe that for us?

20 A.         They pulled apart in the middle.

21 Q.         Did they have soda in them?

22 A.         In the tops and the bottoms, but not in the

23 middle.    The middle was hollow.

24 Q.         Who gave you these containers?

25 A.         Mr. Goodwin.     Some   I later purchased at a store.




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 1 Q.       Where would you purchase them?

 2 A.       Called -- a store called Starships.

 3 Q.       Excuse me?

 4 A.       A store called Starships.

 5 Q.       How did you learn about that store?

 6 A.       By making runs, going up and down, and other

 7 people --    Steve Campbell and different people.

 8 Q.       Okay.   Let me show you what's been marked and

 9 introduced as Government's         Exhibit 27.

10          What's that?

11 A.       A stash bottle.

12 Q.       Is that similar to the ones that you got from

13 Mr. Goodwin?

14 A.       Yes.

15 Q.       Did you have any difficulties on your way down

16 to Houston in the rental car with the money in the

17 various stash locations and in the panels or

18 compartments?

19 A.       No.    We made it down safely.

20 Q.       Where did you arrive?

21 A.       In Houston.     In   Houston,    Texas.

22 Q.       What did you do once you got to           Houston?

23 A.       Got a hotel and then went around to           Marcolin .

24 Q.       When you went around to         Marcolin , did you take

25 the money with you at that time?




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1 A.         Yes.

2 Q.         Did you have any problems before you went to

3 Marcolin ?

4 A.         No.    Not before   I went to   Marcolin , no.

5 Q.         What happened when you got to        Marcolin ?

6 A.         I went to look for my cousin and         Steve Campbell

7 and to go see my family members.

8 Q.         Were Mr. Campbell and     Mr. Ross around?

9 A.         Not at that particular moment.      We had to come

10 back later.

11 Q.        You said you also met with other family members?

12 A.        Yes.

13 Q.        Was Mr. Green with you at the time?

14 A.        Yes.

15 Q.        Where did you go from?

16 A.        We went back to the hotel and to get something

17 to eat.

18 Q.        Who left the hotel to get something to eat?

19 A.        Me and   Mr. Green.

20 Q.        Okay.    Did you still have the money at that

21 time?

22 A.        Yes.

23 Q.        Did there come a time when something happened to

24 you while you were in the vehicle?

25 A.        Oh.    That was, like, later on that night when          I




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1 was going to see a friend.

2 Q.       So let me get the chronology correct.         After you

3 went around to     Marcolin    and went back to the hotel to

4 get something to eat, you went out with            Mr. Green to

5 get something to eat?

6 A.       Right.    Yes, ma'am.

7 Q.       Returned to the hotel?

8 A.       Yes.

9 Q.       And then who went out later that night?

10 A.      I went out later on that night.

11 Q.      Where is the money at the time you go out?

12 A.      Still stashed in the car.

13 Q.      What happens when you go out that night?

14 A.      I was on my way over to a friend's house, and              I

15 was robbed --    I was attempted to get robbed.

16 Q.      Describe for us what occurred.

17 A.      I pulled up, was starting to park and

18 everything, and two guys walked up on me and asked me

19 for my money and my car.

20 Q.      Were they armed?

21 A.      Yes.

22 Q.      What were they armed with?

23 A.      Handguns.

24 Q.      What did you do when they asked you for your

25 money and your car?




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1 A.          Proceeded to give them the money out of my

2 pockets and, like, the watch and bracelet             I had on, and

3 my keys to my car, and just about everything              I had in

4 my pockets, and my clothes because they took my clothes

5 and my shoes.

6 Q.          Were you injured during that event?

7 A.          Yes.

8 Q.          Describe your injuries.

9 A.          To my back, leg.    Scratches, cuts.

10 Q.         Where did those come from?

11 A.         Because once they took my car, there was a fence

12 separating an apartment complex and car dealership, and

13 they told me so I couldn't see,         I guess, which way they

14 went or whatever,     I had to jump over this, like, barbed

15 wire fence down into these new cars.       So when        I jumped

16 over, I fell into the -- into a new car through the

17 windshield -- the back windshield.

18 Q.         Why did you jump over the fence and fall into

19 the car?

20 A.         Jump or get shot.

21 Q.         Do you recall the date of that incident?

22 A.         No, I don't recall the date.

23 Q.         Let me show you what's been marked -- what

24 happened after you fell into the car?

25 A.         I got about -- got out of the parking lot of the




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1 dealership and went to a hotel where they called the

2 police and ambulance.

3 Q.       Were you dressed at this time?

4 A.       No.    I just had my boxer shorts on and socks.

5 Q.       Do you recall the date of that incident?

6 A.       No, I don't recall the actual date.

7 Q.       Let me show you what's been marked as

8 Government's Exhibit R-11.

9          Did you file a police report?

10 A.      Yes.

11 Q.      Do you recognize this as being a           Houston Police

12 Department printout?

13 A.      Yes.

14 Q.      Is there a date and reference as to when the

15 incident occurred?

16 A.      Yes.

17 Q.      What was the date of the incident?

18 A.      3/17/02.

19 Q.      Does it indicate who the complainant or the

20 victim was?

21 A.      Me.    Myself.

22 Q.      Where were you taken?

23 A.      To Memorial Hospital in        Houston,    Texas.

24 Q.      How long were you in the hospital?

25 A.      For several hours.      Until the next day,




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1 probably.

2 Q.       Well, you can't testify as to "probably."

3 A.       It was the next day, because it happened at

4 night.   So,    I got released the next morning.

5 Q.       When you get released the next morning, who

6 picked you up?      Or did you take a car somewhere?

7          Did you take a cab or were you picked up?

8 A.       Oh.    My cousin picked me up, because          I didn't

9 have a car.     The car was stolen.

10 Q.      And your cousin would have been who?

11 A.      Steven    Ross.

12 Q.      Where did you go at that point?

13 A.      We went back to the hotel first.

14 Q.      Was Mr. Green still at the hotel?

15 A.      Yes.

16 Q.      Did you tell him about what happened?

17 A.      Yes.     Well, he already knew.

18 Q.      Were you ever contacted by the police after you

19 got released from the hospital about the car?

20 A.      Yes.     Well, yes and no because we contacted

21 them.

22 Q.      So you called the police.

23 A.      Right.

24 Q.      What information did you get about the vehicle?

25 A.      That the car was in a parking lot not too far




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1 from the scene where        I got robbed at.

2 Q.         Did you go down there?

3 A.         Yes.

4 Q.         Were you able to get into the car?

5 A.         Yes.    The car was open.

6 Q.         What did you find in the car?

7 A.         That the car was -- there was nothing wrong with

8 the car.     The stash cans and the money behind the seat

9 was still there.

10 Q.        Were you relieved to see that?

11 A.        Yes.

12 Q.        Where did you go at that point?

13 A.        Trying to get a locks       mith to get -- cut a key to

14 the car, because my keys was took when they took the

15 car.

16 Q.        Were you able to get a lock       smith?

17 A.        No.    Because of the year and the make of the

18 car, you can't just cut a key to it.

19 Q.        Who did you contact next?

20 A.        A Chrysler dealership in        Houston,   Texas.

21 Q.        Were they able to assist you with the key?

22 A.        Yes.    I got the car towed there, and the car was

23 about to get the key cut but you need a key code from

24 when you buy the car saying you're the owner of the

25 car, and that's where the problem came since the rental




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 1 agreement wasn't in my name.

 2 Q.       So, what happened?

 3 A.       The dealership called Budget and let Budget know

 4 it was an unauthorized driver driving the car and

 5 getting a key, so they wouldn't release it to me.          So           I

 6 had to call     Julio and get him to fly down to          Texas to

 7 get the car to pick up the car.

 8 Q.       Did Julio actually do that?

 9 A.       Yes.

10 Q.       What happened when Julio got here?

11 A.       When Julio got there, we went to pick up the car

12 from the dealership.

13 Q.       Who's "we?"

14 A.       Oh.    Me,   Steven   Ross, Rodney, and     Julio.

15 Q.       What happened when you got to the dealership?

16 A.       Got to the dealership; he showed them his

17 driver's license and       I. D.; they called Budget and

18 confirmed who he was -- who he said he was, and they

19 let us pick up the car.

20 Q.       Let me show you what's been marked as

21 Government's Exhibit       R-6 and ask you if you recognize

22 this document.

23          R-6, counsel.

24 A.       Yes.    This is the receipt or the invoice from

25 getting the key.




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 1 Q.       Is that in your name?

 2 A.       Yes.

 3 Q.       Did you get a copy of this when you were down

 4 there getting the key?

 5 A.       Yes.

 6 Q.       All right.

 7          THE COURT:      Ms. Johnston?

 8          MS. JOHNSTON:     Yes, sir.

 9          THE COURT:     Are we at an appropriate --

10          MS. JOHNSTON:     If   I can just go two questions

11 with this document.

12          THE COURT:     All right.

13          MS. JOHNSTON:     Thank you,      Your Honor.

14          BY MS. JOHNSTON:

15 Q.       Looking at Government's Exhibit R6, is your name

16 on that document?

17 A.       Yes.

18 Q.       What address is that that you used there?

19 A.       My uncle's house.

20 Q.       All right.    And the date that you got the key is

21 what date?

22          Is that the invoice date?

23 A.       Yes, 2/15/02.

24          No.    The day I picked it up?

25 Q.       Yes.




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 1 A.         Oh.    3/18.

 2 Q.         3/18?

 3 A.         Yes.

 4 Q.         How much did you have to pay?       Do you recall?

 5            Can we see it on this document?

 6            Let me zoom in.

 7 A.         $101 .98.

 8 Q.         What did you do with        Mr. Julio?

 9            Did he remain there with you all in           Texas?

10 A.         No.     I took him back to the airport.

11 Q.         The same day he got there?

12 A.         Yes.

13            MS. JOHNSTON:         Your Honor, that's a good place

14 to break.

15            THE COURT:     All right, we will recess until

16 2:15.

17                     (Off the record at 1     :06 p.m.)

18                     (On the record at 2     :17 p.m.)

19            MR. MONTEMARANO :       Two things we would like to

20 bring to     Your Honor's attention.

21            THE COURT:     Yes.

22            MR. MONTEMARANO :       First,   Ms. Greenberg has just

23 filed a combined response relative to the jury

24 instructions.       There are about ten or so at issue.

25            THE COURT:     Okay.




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 1            MR. MONTEMARANO :    We'd like to discuss them

 2 Tuesday at lunchtime among ourselves and get our ducks

 3 in a row and have that as a date.            I'm guessing we

 4 might want to ask the court for an extra half hour at

 5 lunch to make sure so we are all together in one place

 6 and can continue sorting these things out.

 7            MS. JOHNSTON:     Your Honor, the government

 8 opposes that.    They have Mondays.

 9            THE COURT:   Let me see if you really need an

10 hour and a half.        I'll talk to you about that        Monday

11 morning.

12            MR. MONTEMARANO :    Secondly, we understand that

13 Detective    Sakala will be called later today, and we

14 would like to voir dire him out of the presence of the

15 jury.

16            THE COURT:   On what?

17            MR. MONTEMARANO :    His qualifications.

18            MS. JOHNSTON:     Your Honor, he is not going to

19 get on today.    Not at the rate we're going, no.

20            MR. MONTEMARANO :    Fair enough.    Better early

21 than late.

22            Thank you,   Your Honor.

23            THE COURT:   Bea, you may bring the jury in.

24                         (Witness resumes the stand.)

25                         (J ury returns at 2 :20 p.m.)




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1          THE COURT:     You may proceed.

2          BY MS. JOHNSTON:

3 Q.       Mr. Thurman, when we broke for lunch you were in

4 Texas and you had gotten the car back with the key?

5 A.       Yes.

6 Q.       All right.    And you had sent       Mr. Martinez back

7 to Maryland; is that correct?

8 A.       Yes, ma'am.

9 Q.       What happened -- at that point in time do you

10 still, then, have the money for the drug transaction?

11 A.      Yes.

12 Q.      What happens at that point?

13 A.      I drop him off at the airport and start off to

14 go back towards the hotel.      Then     I was in a car

15 accident and back in the hospital.

16 Q.      Was anyone with you when you had the car

17 accident?

18 A.      No, ma'am.

19 Q.      Was it the same car?

20 A.      Yes.

21 Q.      How long were you in the hospital that time?

22 A.      One day.

23 Q.      What happened to the car?

24 A.      It was towed from the scene.

25 Q.      Let me show you what's been marked as            R-5 and




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1 ask you if you can identify that picture.

2           Do you recognize that photograph?

3 A.        Yes.

4 Q.        What is that?

5 A.        The Chrysler Concord      I was driving.

6 Q.        Are we able to see any damage on that car?

7           Let me put it up on the screen.

8           Where is the damage on the vehicle?

9 A.        The front.

10 Q.       Were you -- did you get back -- was the money

11 still in the car at the time of the accident?

12 A.       No, it was in the hotel.

13 Q.       What did you do when you got out of the

14 hospital?

15 A.       Waited at the hotel to figure out what was my

16 next move and how     I was going to get around, because              I

17 didn't have any     I. D. because they took my        I. D. and

18 everything, so     I couldn't rent another car or get on a

19 plane.   So,    I just made calls to     Steve and everybody to

20 check and see what     I could do to try to finish what           I

21 came here to do and to get home.

22 Q.       Did you finish what you came there to do?

23 A.       Yes.

24 Q.       What did you do -- how much drugs did you pick

25 up on that trip?




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1 A.          Five and a half to seven.

2 Q.          How did you get it back to this area?

3 A.          Since the car had got totalled then and then

4 couldn't drive back,       I was going to try the       UPS method

5 one more time.

6 Q.          Were you successful in sending it by         UPS?

7 A.          Yes.

8 Q.          Where did you have it sent to?

9 A.          This was to my house again.

10 Q.         How did you get back from      Houston?

11 A.         I flew.

12 Q.         What about   Mr. Green?

13 A.         We both -- we flew together back.

14 Q.         Where did you get the money to fly back?

15 A.         It was wired to me.

16 Q.         Did you make any calls before you had the money

17 wired to you?

18 A.         I called back up to    Washington,    D. C. to Mr.

19 Goodwin.

20 Q.         What was your conversation with       Mr. Goodwin when

21 you called back up there?

22 A.         That I needed money to pay for the flights and

23 to get back and all the money that          I had spent since      I

24 was in the car accident for hotel and stuff because I

25 had to stay down there longer than          I was supposed to.




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 1 Q.       What did    Mr. Goodwin tell you?

 2 A.       He'll get somebody to wire it to me.

 3 Q.       Was money wired to you and         Mr. Green?

 4 A.       It was wired to my cousin and          Mr. Green.

 5 Q.       Why was it wired to your cousin and not to you

 6 directly?

 7 A.       Because my    I. D. and everything was stolen.

 8 Q.       Let me show you what's been marked as

 9 Government's Exhibit       R-3 and introduced in evidence.

10          Do you see that money -- Western Union money

11 transfer?

12 A.       Yes.

13 Q.       Do you recognize that?

14 A.       Yes.

15 Q.       What is that?

16          You have to speak into the --

17 A.       Oh.    The sheet saying he received the money to

18 pick it up.

19 Q.       Who actually picked up the money?

20 A.       Steven   Ross.

21 Q.       Were you with him when he picked it up?

22 A.       Yes.

23 Q.       Does that reflect the location where you picked

24 it up?

25 A.       Yes.




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 1 Q.       And the amount of money that you all received?

 2 A.       Yes.

 3 Q.       How much money was it?

 4 A.       $587 .50.

 5 Q.       Can you read the writing on this?

 6          How much    money does it say it was?

 7 A.       Oh.    $687.

 8 Q.       Do you know who actually went to Western Union

 9 and sent that money to you?

10 A.       No.

11 Q.       How soon after you spoke to         Mr. Goodwin did you

12 learn that the money was being wire-transferred?

13 A.       A couple hours.

14 Q.       Let me show you another page of Government's

15 Exhibit R-3.

16          Do you recognize that Western Union?

17 A.       Yes.

18 Q.       Were you with      Mr. Green when that money was

19 picked up?

20 A.       Yes.

21 Q.       Was that picked up at the same place as the

22 payment to      Mr. Ross?   The Western Union that        Mr. Ross

23 received.

24          Do you recall?

25 A.       It was a different location.




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 1 Q.       Once you picked up the money, did           Mr. Ross give

 2 you the money?

 3 A.       Yes.

 4 Q.       What did you and      Mr. Green do with the money?

 5 A.       Purchased plane tickets, paid for the hotel and

 6 other things we needed to get ready to leave, and get a

 7 police report so I can get on the plane.

 8 Q.       Let me show you Government's Exhibit Goodwin 15.

 9          Do you see these two Western Union documents?

10 A.       Yes.

11 Q.       And the first one that        I'm showing you

12 indicates a sender of "      Richard Willis."

13          Do you see that?

14 A.       Yes.

15 Q.       The date is March 18 of '02?

16 A.       Yes.

17 Q.       Same date as when they were picked up?

18 A.       Yes.

19 Q.       Do you know a     Richard Willis?

20 A.       Yes.

21 Q.       Who is   Mr. Willis?

22 A.       A friend of     Mr. Goodwin's.

23 Q.       Where did you meet       Mr. Willis?

24 A.       At the "Ponderosa."

25 Q.       That apartment in      Anacostia ?




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1 A.       Yes.

2 Q.       And then the second one in there is another

3 Western Union transfer?

4 A.       Yes.

5 Q.       Okay.    Who was the sender on this one?

6 A.       Tiffany Vessels.

7 Q.       Who is   Ms. Vessels?

8 A.       Mr. Goodwin's girlfriend.

9 Q.       How did you get back to        Maryland?

10 A.      Once I received the police report so            I can get

11 on the plane, we flew.

12 Q.      Do you remember what airlines you flew on?

13 A.      Southwest.

14 Q.      I want to show you Government's Exhibit R-10 and

15 ask you if that refreshes your recollection concerning

16 what date you flew.

17 A.      Yes.

18 Q.      What date did you fly back?

19 A.      March 22, '02.

20 Q.      You didn't have any problems on the flight, did

21 you?

22 A.      No.

23 Q.      Once you got back, did there come a time when

24 that UPS package arrived?

25 A.      Yes, the following day.




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1 Q.         What did you do once you got back here and the

2 package arrived?

3 A.         Contacted    Mr. Goodwin.

4 Q.         Did you eventually meet with       Mr. Goodwin?

5 A.         Yes.

6 Q.         Where did you meet with him and what did you

7 give him?

8 A.         I met with him at the "Ponderosa" and gave him

9 five and a half to seven keys.

10 Q.        How did you package them to send them up?

11 A.        In a cooler.

12 Q.        The same way they were packaged before?

13 A.        Yes.

14 Q.        How did you make other -- once you turned them

15 over to   Mr. Goodwin, did you receive any payment from

16 him for those?

17 A.        No.    I was to wait until he sells them to make

18 money.

19 Q.        Excuse me?     Can you repeat that?

20 A.        I was to wait until he sells them and make some

21 money.    Then   I can get paid.

22 Q.        Do you recall what he paid you for that trip

23 that involved the carjacking and the car accident?

24 A.        I can't recall the exact amount.

25 Q.        Did he pay you in cash or with drugs?




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1 A.       Probably had both.

2 Q.       Now, after the -- this incident, did you

3 continue to make trips to         Texas?

4 A.       Yes.

5 Q.       Do you know about how many trips you made to

6 Texas when you picked up drugs and brought drugs back?

7 A.       Five.   Five to eight.

8 Q.       Five to eight?

9 A.       Yes.

10 Q.      On those trips, did       Mr. Green go with you on all

11 of the trips?

12 A.      No.

13 Q.      Did other people go with you?

14 A.      Other peoples.

15 Q.      Who were some of the people who traveled on some

16 of the trips with you?

17 A.      Katherine    Demara .

18 Q.      Who's Katherine       Demara ?

19 A.      My girlfriend.

20 Q.      Who else?

21 A.      Xavier Moore,       John Irby and Antoine     Jones.

22 Q.      Antoine    Jones?    Is that the Antoine J      ones you

23 told us about this morning?

24 A.      Yes.

25 Q.      Your best friend?




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 1 A.       Yes.

 2 Q.       Who is    Mr. Irby ?

 3 A.       A friend of     Mr. Goodwin's.

 4 Q.       How did you meet         Mr. Irby ?

 5 A.       Through    Mr. Goodwin.

 6 Q.       What's his first name?

 7 A.       John.

 8 Q.       Does he go by any nicknames?

 9 A.       "John D."

10 Q.       And you mentioned         Xavier Moore.

11          Who is    Mr. Moore?

12 A.       My friend.

13 Q.       Did you meet     Mr. Moore through        Mr. Goodwin?

14 A.       No.

15 Q.       Does Mr. Moore go by any nicknames?

16 A.       "Zay ."

17 Q.       When you went on these additional trips, what

18 vehicles did you use?

19 A.       A Cadillac     SDS , conversion van, and a mobile

20 home.

21 Q.       The Cadillac     SDS .    Whose vehicle was that?

22 A.       It was mines, but it was in Antoine            Jones' name.

23 Q.       Why did you have it in         Mr. Jones 'name?

24 A.       Because    I couldn't acquire tags in my own name.

25 Q.       Do you know how many trips you made in the




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1 Cadillac?

2 A.          Two to three.

3 Q.          Did you have any incidents when you made the

4 trips in the        Cadillac?

5 A.          No.

6 Q.          Do you recall who went with you when you drove

7 the Cadillac down there?

8 A.          I went by myself once, and Antoine and         Rodney.

9 Q.          When you went down in the      Cadillac, where would

10 you carry the money?

11 A.         In between the seats and trunk.

12 Q.         Was it packaged as you described for us this

13 morning?

14 A.         Sometimes it was and sometimes it wasn't.

15 Q.         Did you use those containers we discussed this

16 morning when you used the         Cadillac to go take the money

17 --

18 A.         No.    I just put them between the seats.

19 Q.         Was the money bundled?

20 A.         Yes.

21 Q.         What was the range of the money -- the amount of

22 money you took down there on the two to three trips you

23 made in the       Cadillac?

24 A.         $90,000 to $180,000.

25 Q.         If you were taking $90,000, approximately how




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1 much cocaine were you bringing back?

2 A.       Five to six keys.

3 Q.       If you were taking $180,000, how much cocaine

4 were you bringing back?

5 A.       Ten to 12.

6 Q.       When you were using your        Cadillac, who was

7 providing the money?

8 A.       Mr. Goodwin.

9 Q.       Did he provide all of the money to go down when

10 you used the     Cadillac?

11 A.      Yes.

12 Q.      Did there come a time when someone else was

13 providing money?

14 A.      Yes.

15 Q.      When did that occur?      Before or after the

16 incident with the rental car and the car carjacking?

17 A.      After.

18 Q.      Was it after the rental car?       Was the       Cadillac

19 the next car that you used to make the trips?

20 A.      Yes.

21 Q.      And during the time that you used the            Cadillac,

22 for each one of those trips did all of the money come

23 from Mr. Goodwin?

24 A.      No.

25 Q.      When did that change?




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1 A.        I'm not sure of the date.

2 Q.        Okay.   Describe for us how it changed.

3 A.        I met him at certain locations and we waited on

4 other people to bring money.

5 Q.        Okay.   Who's -- you said, "      I met him."

6           Who did you meet?

7 A.        Mr. Goodwin.

8 Q.        And you said at certain locations.

9           What locations?

10 A.       The school.

11 Q.       What school?

12 A.       On South Dakota Avenue.

13 Q.       Who told you to meet at that school?

14 A.       Mr. Goodwin.

15 Q.       Did you go with     Mr. Goodwin, or did you both

16 arrive   in separate vehicles at the school?

17 A.       Separate vehicles.

18 Q.       Do you recall what kind of vehicle          Mr. Goodwin

19 would be driving at that time?

20 A.       I can't recall.

21 Q.       How did you know to go to the school?

22 A.       Because we met there before.

23 Q.       Excuse me?

24 A.       Because we met there before.

25 Q.       What were the circumstances that you met there




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 1 before?

 2 A.        Same circumstances.     Just somewhere to meet at.

 3 Q.        Okay.    Had you gotten money from anyone -- when

 4 you met him there on the prior occasions before you

 5 went there to get money from other people, did you see

 6 anyone at the school?

 7 A.        It would be several people there, like the same

 8 ones that be at the "Ponderosa" and different people he

 9 was meeting that was coming to see him.

10 Q.        Where was this school located?

11 A.        In Washington,     D. C.

12 Q.        I want to show you what's been introduced as

13 Government's Exhibit       P-184.

14           Do you recognize this photograph?

15 A.        Yes.

16 Q.        What is that?

17 A.        The school.

18 Q.        Which school?

19 A.        Paula's.

20 Q.        Now, you indicated there came a time when you

21 went to that school and other people came to give money

22 to Mr. Goodwin and you.

23 A.        Right.

24 Q.        Who was it that came to give money to you and

25 Mr. Goodwin?




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 1 A.       Oh.     Paula.

 2 Q.       Had you met       Paula before that time?

 3 A.       Like, once or twice.

 4 Q.       Where did you meet her originally?

 5 A.       The school.

 6 Q.       Who introduced you to her?

 7 A.       Mr. Goodwin.

 8 Q.       Do you see her here in the courtroom?

 9 A.       Yes.

10 Q.       Would you identify her for the record, where

11 she's seated in relation to me?

12 A.       The second person in the blue shirt, looks like.

13 Q.       Excuse me?

14 A.       In the blue shirt.

15 Q.       Okay.    Is there another color on her top

16 garment, too?

17 A.       Yellow.

18 Q.       We'd ask the record to reflect the witness has

19 identified      Paulette    Martin as " Paula."

20          THE COURT:        The record will so indicate.

21          BY MS. JOHNSTON:

22 Q.       What occurred at the school when you went there

23 with Mr. Goodwin to pick up money from other people?

24 A.       Just went there, then waited for -- waited to

25 get -- all the money to get there, and he had his half




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1 and then she came with her half.

2 Q.         Do you know approximately how much money she

3 brought?

4 A.         I know approximately.

5 Q.         Did money come from anybody else other than             Mr.

6 Goodwin or        Ms. Martin?

7 A.         No.

8 Q.         What did you do with the money when you received

9 it from both of them?

10 A.        Took it to where     I was staying and proceeded to

11 get ready to go out of town.

12 Q.        What would you do with the money there?

13 A.        Stash it in the car.

14 Q.        And this is in the     Cadillac?

15 A.        Yes.

16 Q.        How many times did you meet        Ms. Martin at the

17 school while you were taking your shipments in the

18 Cadillac?

19 A.        One or two.

20 Q.        And when you made those trips, what did you do

21 with the drugs when you came back?

22 A.        Brought them back and gave them to         Mr. Goodwin.

23 Q.        Did you actually ever hand the drugs to           Ms.

24 Martin during the trips in the         Cadillac?

25 A.        No.




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 1 Q.         Any discussions with      Mr. Goodwin concerning who

 2 he was going to give the drugs to?

 3 A.         Can you repeat the question?

 4 Q.         Did you have any discussion with         Mr. Goodwin

 5 about who was getting the drugs?

 6 A.         Oh, yes.

 7 Q.         What was that discussion?

 8 A.         One-half to him and half to her.

 9 Q.         In terms of the money that you took down, do you

10 know how much of the money came -- what portion of the

11 money came from her and what portion came from              Mr.

12 Goodwin?

13 A.         Half would be $90,000.

14 Q.         If it was $90,000?

15 A.         Half would be $90,000 out of $180,000.

16 Q.         So on these trips, now you were taking about

17 $180,000?

18 A.         Yes.

19 Q.         In addition to making the trips -- strike that.

20            In the trips in the      Cadillac, did anything out

21 of the ordinary happen?

22            Have any car accidents?

23            MR. MONTEMARANO :     Asked and answered,      Your

24 Honor.

25            THE WITNESS:   No.




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 1          THE COURT:     Overruled.

 2          BY MS. JOHNSTON:

 3 Q.       Any other traffic stops or any          carjackings     or

 4 anything like that?

 5 A.       No.

 6 Q.       Everything went smoothly on those trips?

 7 A.       Yes.

 8 Q.       Did there come a time when you changed from

 9 using the    Cadillac to another vehicle?

10 A.       Yes, to a conversion van.

11 Q.       How did you obtain the conversion van?

12 A.       Through " John D." and      Mr. Goodwin.

13 Q.       Explain that to us.

14          What do you mean by "through" them?

15 A.       It was brought to me by "       John D.", and     Mr.

16 Goodwin told him to bring it to me.

17 Q.       Had you known "John       D." or   John Irby before he

18 brought you the conversion van?

19 A.       Yes.

20 Q.       Had you ever seen him at the         Anacostia

21 apartment?

22 A.       Yes.

23 Q.       Ever see him with drugs?

24 A.       Yes.

25 Q.       Under what circumstances did you see him with




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 1 drugs?

 2 A.       Getting drugs to sell.

 3 Q.       Who was he getting the drugs to sell from?

 4 A.       Mr. Goodwin.

 5 Q.       Do you recall the first trip you made in the

 6 conversion van?

 7 A.       Yes.

 8 Q.       Who was with you on the first trip?

 9 A.       Mr. Irby .

10 Q.       I'm going to put on the screen there for you --

11 if you could look at that, Government's Exhibit P-234.

12          Do you recognize that vehicle?

13 A.       Yes.

14 Q.       What vehicle is that?

15 A.       That's the conversion van.

16 Q.       Now, there is a      District of    Columbia tag on

17 there that says, "D     . C. Dealer."

18          Do you know what dealership that tag was for?

19 A.       Lobo's Discount.

20 Q.       Whose car dealership was that?

21 A.       Mr. Goodwin's.

22 Q.       Anyone else go with you on that first trip other

23 than John Irby ?

24 A.       No.    Just me and    John Irby .

25 Q.       Where were you going initially on that trip?




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1 A.       Louisiana.

2 Q.       Why were you going to         Louisiana?

3 A.       To a deal they had previously had done or

4 something.

5 Q.       How did you know that there had been a deal that

6 was previously done or set up?

7 A.       That was the information         I was given.

8 Q.       Who gave you that information?

9 A.       Mr. Goodwin and " John D."

10 Q.      Do you know where you went to in           Louisiana?

11 A.      I'm not sure of the city.

12 Q.      What occurred in      Louisiana?

13 A.      We got to    Louisiana to meet the guy we were

14 supposed to meet, but the deal didn't go through, so we

15 sat there for a couple of days and decided that the

16 deal wasn't going to go through, so we had to make

17 other arrangements or go back home.

18 Q.      What were the other arrangements that you made?

19 A.      I called my friend and family in           Houston.

20 Q.      What occurred -- when you say you called your

21 friends and family, who did you call in            Houston?

22 A.      Steven   Ross and    Steven    Campbell.

23 Q.      What happened when you called          Mr. Ross and     Mr.

24 King?

25 A.      They was like, come there and be ready for us.




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 1 Q.       Can you explain that to me?

 2 A.       I called them and told them that we made a trip

 3 to Louisiana, that the deal fell through, and              I still

 4 was trying to get some product.       So he said if         I come

 5 down, he'll be able to supply me.

 6 Q.       Did you and     Mr. Irby then go down to        Houston?

 7 A.       Yes.

 8 Q.       How much drugs did you get from          Mr. Campbell?

 9 A.       Five and a half.

10 Q.       When you went down there -- where was the money

11 stored on this first trip when you went to             Louisiana

12 but had to go on to       Houston?

13 A.       In the spare tire.

14 Q.       Have any problems with that?

15 A.       What do you mean?

16 Q.       Well, let me back up.

17          Describe for us how you put the money in the

18 spare tire.

19 A.       Oh.    Break the tire off the rim and put it in.

20 Then get the tire flipped back on the rim at a tire

21 shop.

22 Q.       Once you delivered the money, how much cocaine

23 did you pick up from       Mr. Campbell on that trip?

24 A.       About five and a half.

25 Q.       How did you -- where did you put them in the van




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 1 to bring them back?

 2 A.       Back in the spare tire.

 3 Q.       Did you have any problems with putting them back

 4 in the spare tire?

 5 A.       I couldn't get the tire to go on the rim.

 6 Q.       What did you do?

 7 A.       Took it to Sears Automotive.

 8 Q.       What did they do there?

 9 A.       Put the tire on the rim and blew it up.

10 Q.       Court's indulgence for a moment.

11          Now, did you have any problems coming back on

12 that trip?

13 A.       Got pulled over for speeding.

14 Q.       Any search of the vehicle when you got pulled

15 over for speeding on that trip?

16 A.       Can you repeat it?

17 Q.       This is your first trip in the van?

18 A.       Yes.

19 Q.       How many trips did you make in the van?

20 A.       Five or more.

21 Q.       On this -- when you got pulled over for

22 speeding, did they find the drugs in the conversion

23 van?

24 A.       No.

25 Q.       You got a ticket?




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 1 A.         I didn't;    Mr. Irby did.

 2 Q.         When you got back, what did you do with the

 3 vehicle?

 4 A.         Met Mr. Goodwin.

 5 Q.         Do you recall where you met him on this trip?

 6 A.         The shop.    Lobo's.

 7 Q.         Why did you meet him at Lobo's on this trip?

 8 A.         When we called him, that's where we were at.

 9 Q.         What was done with the van when you got to

10 Lobo's?

11 A.         Spare tire    tooken from under the bottom and the

12 tire cut open.

13 Q.         Who did you give the drugs to?

14 A.         Mr. Goodwin.

15 Q.         Now, the money for that trip.     Do you know where

16 it came from?

17 A.         Mr. Goodwin.

18 Q.         Anyone else contribute money to that first trip

19 in the conversion van?

20 A.         No, not that one.

21 Q.         The remaining trips in the conversion van.

22            Were you on all of those trips in the conversion

23 van?

24 A.         Repeat it.

25 Q.         Were you on all of the trips in the conversion




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 1 van going down to      Texas?

 2 A.         Yes.

 3 Q.         So there were at least four or more trips;

 4 correct?

 5 A.         Yes.

 6 Q.         When you made those four or more other trips,

 7 was Mr. Irby with you on those trips?

 8 A.         He was with me on one more trip.

 9 Q.         Anything happen on that trip?

10 A.         No.

11 Q.         Did Mr. Irby ever have any problems when he

12 traveled between here and        Louisiana or here and       Texas?

13 A.         Not with me.   He was with someone else.

14 Q.         When he traveled and had a problem, was that

15 before you started using the conversion van or while

16 you were using the conversion van?

17 A.         While.

18 Q.         Was it after -- it was after the first trip you

19 made with him?

20 A.         After the second trip     I made with him.

21 Q.         Then let's talk about the second trip that you

22 made in the conversion van.

23            Mr. Irby was with you?

24 A.         Yes.

25 Q.         Anyone else?




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1 A.       A female friend of mines.

2 Q.       Who would that be?

3 A.       Chante .

4 Q.       Any difficulties -- strike that.

5          Where did you get the money to take on that

6 second trip in the conversion van?

7 A.       Mr. Goodwin.

8 Q.       And did you see      Ms. Martin deliver any money for

9 that trip?

10 A.      No.

11 Q.      Do you know about how much money you took on the

12 second trip?

13 A.      About $180,000.

14 Q.      Did have any problems on the second trip

15 delivering the money or picking up the drugs?

16 A.      No.

17 Q.      When you take down about $180,000, how many

18 kilos do you bring back?

19 A.      Ten or 12, depending on the price.

20 Q.      Where would you store them in the conversion van

21 when you were bringing them back?

22 A.      Spare tire.

23 Q.      Did there come a time when the conversion van

24 was equipped with hidden compartments?

25 A.      Yes.




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 1 Q.         Was that after you made your second trip down

 2 there?

 3 A.         Yes.

 4 Q.         Do you recall exactly when it was that they were

 5 put into the vehicle?

 6 A.         I can't recall the exact date or month.

 7 Q.         You indicated after that second trip that           Mr.

 8 Irby made with you that Mr.          Irby had a problem; is that

 9 correct?

10 A.         Yes.

11 Q.         Could you describe for us what happened to           Mr.

12 Irby ?

13            MR. WARD:   Objection,     Your Honor.

14            I think he said he wasn't with him at that time.

15            BY MS. JOHNSTON:

16 Q.         How did you learn about what happened to           Mr.

17 Irby ?

18 A.         Goodwin.

19 Q.         Okay.   What did     Mr. Goodwin tell you?

20 A.         That Mr. Irby crashed in      Louisiana.

21 Q.         Crashed?

22            Did he tell you what kind of vehicle he crashed

23 in?

24 A.         I can't recall the vehicle.

25 Q.         What else did      Mr. Goodwin tell you about it?




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1 A.         That he flipped the car and he crashed and they

2 didn't get a chance to do what they was supposed to do

3 down in    Louisiana either.

4 Q.         What did   Mr. Goodwin ask you to do?

5 A.         Wait for   Michael   Jackson to bring me the money

6 they had down in      Louisiana.

7 Q.         And to do what with the money?

8 A.         That had the money      I already had in     Houston.

9 Q.         Mr. Jackson was going to bring you the money

10 where?    Back here in    Maryland, or in     Houston?

11 A.        In Houston.     I was already in     Houston.

12 Q.        How did you get contacted by       Mr. Goodwin?

13 A.        Cell phone.

14 Q.        Did you wait for     Mr. Jackson to bring the money

15 to Houston?

16 A.        Yes.

17 Q.        Had you known    Mr. Jackson at that time?

18 A.        Yes.

19 Q.        Where did you know him from?

20 A.        Mr. Goodwin.

21 Q.        And where did you -- where were you introduced

22 to him?

23 A.        At the "Ponderosa."

24 Q.        What was the condition of       Mr. Irby ?

25 A.        He was in the hospital with broken bones and




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 1 fractures.

 2 Q.       Did Mr. Jackson get down to you with the money?

 3 A.       Yes.

 4 Q.       What did you do once he got there with the

 5 money?

 6 A.       Picked him up from the bus station and then took

 7 him back to the bus station later on that day so he can

 8 catch a bus back to       Washington,      D. C.

 9 Q.       What did he give you when he got up there?

10 A.       $20-30,000.

11 Q.       What did you did with that money?

12 A.       Added that to what       I had.

13 Q.       Okay.   What did you get -- was there somebody

14 with you on that trip other than --

15 A.       Antoin e Jones and --

16 Q.       Anyone else that you can recall?          Or just     Mr.

17 Jones?

18 A.       Antoine    Jones and Katherine       Demara .

19 Q.       Any difficulties getting back on that trip?

20 A.       No.

21 Q.       I'm going to show you what's been marked as

22 Goodwin No. 22.

23          It's Page 1 in Goodwin 22, counsel.

24          The bottom of Goodwin 22, Page 1.

25          Do you recognize the medical center reference




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 1 there?

 2 A.        Yes.

 3 Q.        How you know that medical center?

 4 A.        That was the medical center that "         John D." was

 5 at.

 6 Q.        Is there a number for "John        D." listed

 7 underneath it?

 8 A.        Yes.

 9 Q.        While I have this exhibit here, let me ask you

10 another question about this exhibit.        On the very next

11 page there's another reference to another medical

12 center.

13           Do you recognize that?

14 A.        No.

15 Q.        Do you recognize the name "       John D." under there?

16 A.        Yes.

17 Q.        There's -- on another page there's an address.

18           Do you recognize that address and the telephone

19 number?

20 A.        Yes.

21 Q.        Whose is that?

22 A.        My mother's address.

23 Q.        And telephone number?

24 A.        Yes.

25 Q.        On that page there's a number of 889-6771-5000.




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 1           Do you recognize that?

 2 A.        Yes.

 3 Q.        How do you recognize that?

 4 A.        It's Xavier Moore's pager number -- no, house

 5 number.

 6 Q.        The "5000."    What does that refer to?

 7 A.        My code.

 8 Q.        Finally, on this page here, there's a notation,

 9 "Call Mike" at the top, with a telephone number (202)

10 409-3452, with a dash and "5000."

11           Do you recognize that information?

12 A.        Yes, one of my cell phone numbers.

13 Q.        And the 5000.    What was that?

14 A.        My code.

15 Q.        Your code for communicating with whom?

16 A.        Mr. Goodwin.

17 Q.        So you've gotten the money from         Michael    Jackson,

18 you've picked up the drugs -- any problems coming back

19 with those in the conversion van?

20 A.        No.

21 Q.        Where were they placed in the conversion van?

22 A.        In side -- in the side of the lighting panel.

23 Q.        Did you make several other trips in the

24 conversion van?

25 A.        Yes.




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1 Q.        On any of the -- who went with you on the other

2 trips in the conversion van?

3 A.        Katherine   Demara and Antoine        Jones,   Xavier

4 Moore,    Jeff Holler.

5 Q.        Who?

6 A.        Jeff Holler.

7 Q.        Okay.   On these additional trips in the

8 conversion van, where did you get the money?

9 A.        Mr. Goodwin.

10 Q.       Ever pick up any money from          Ms. Martin for the

11 other trips in the conversion van?

12 A.       No.

13 Q.       How many times did you pick up money from               Ms.

14 Martin to take to       Texas to get drugs?

15 A.       One or two.

16 Q.       When you said one to two, was it one time or two

17 times,   Mr. Thurman?

18 A.       Two.

19 Q.       What were the circumstances of the second time

20 that you picked up money from her?

21 A.       I don't understand the question.

22 Q.       The second time that you picked up money from

23 her, what vehicle were you operating?

24 A.       Oh.    The conversion van.

25 Q.       Where did you pick up the money from her?




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1 A.       At the school.

2 Q.       Was anyone present when you picked up the money

3 from her at the school?

4 A.       Xavier Moore was with me, and          Mr. Goodwin.

5 Q.       Excuse me?

6 A.       Xavier Moore was there with me.

7 Q.       Was there anyone there with         Ms. Martin?

8 A.       Mr. Goodwin.

9 Q.       Do you know how much money you picked up from

10 her and from him on that trip?

11 A.      $90,000 each.

12 Q.      Was that in cash?

13 A.      Yes.

14 Q.      Mr. Goodwin or      Ms. Martin ever give you a check

15 for the money that you were to take down to            Texas?

16 A.      No.

17 Q.      Now, on the trips in the conversion van, these

18 additional trips, did you ever have any problems on any

19 of those trips?

20 A.      Coming back.

21 Q.      Okay.   Well, while you were in         Texas, when you

22 took the $180,000 down, did you pick up the cocaine --

23 ever any problems with getting the cocaine?

24 A.      I couldn't get all that        I came for.

25 Q.      What do you mean by that?




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1 A.       Instead of getting ten,        I only got six.

2 Q.       What did you do?

3 A.       I was waiting around so        I decided instead of

4 waiting, to send the six back and just bring the four

5 up later.

6 Q.       How did you send them back up?

7 A.       With Xavier Moore and Katherine          Demara .

8 Q.       Was Mr. Jones with them on that trip?

9 A.       Yes.

10 Q.      Did they have any difficulties getting back?

11 A.      Can't hear you.

12 Q.      Did they have any difficulties on their way

13 back?

14 A.      No.

15 Q.      Did you eventually get the other -- the

16 additional kilograms?

17 A.      Yes.

18 Q.      How did you get them back up there then?

19 A.      The conversion van was brought back down to me.

20 Q.      Who brought the conversion van back down to you?

21 A.      Antoine    Jones.

22 Q.      Any problems going back with those additional

23 four kilos?

24 A.      No.

25 Q.      Did you make additional trips in the conversion




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1 van?

2 A.        Yes.

3 Q.        Do you recall any trips where there was a

4 problem with the van on the way back?

5 A.        It was a trip on the way back, but          I wasn't with

6 them.

7 Q.        Did you learn about a problem on the trip on the

8 way back that you weren't with them?

9 A.        Yes.     I was called on a cell phone saying they

10 struck a deer in      Virginia.

11 Q.       What were the circumstances that caused you to

12 still be in      Texas and somebody else to drive the

13 conversion van back?

14 A.       Because    I was still waiting on the additional

15 drugs.

16 Q.       How many -- how much was in the van when you

17 sent them back and you remained in          Texas the second

18 time?

19 A.       Seven to ten.

20 Q.       Who contacted you in      Texas and told you what had

21 happened?

22 A.       Antoine, Katherine...

23 Q.       Okay.    What did they tell you had happened?

24 A.       That they -- a deer jumped out in front of them

25 on I-81 and it totalled the van, or the van wasn't




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 1 drivable.

 2 Q.         What did they have to do with the van?

 3 A.         They had to get it towed to a hotel that night.

 4 Then in the morning they got it towed to               Maryland.

 5 Q.         Let me show you what's been introduced as               OC -3

 6 and ask you if this document refreshes your

 7 recollection in terms of when that problem with the van

 8 occurred.

 9 A.         Yes.

10 Q.         What date did that occur?

11 A.         November 30, '03.

12 Q.         What month is it?

13            What number month is it?

14 A.         Oh.    October.    Ten.   10/30.

15 Q.         Were the drugs discovered or taken by the police

16 during that problem with the van?

17 A.         No.

18            MR. MARTIN:       Your Honor?      Excuse me, ma'am.

19            The objection at this point is           I've lost track

20 of the relevant time frame.          Could you tell us when

21 he's talking about at this time?

22            THE COURT:    Could you clarify the time frame?

23            BY MS. JOHNSTON:

24 Q.         These trips began in early 2002; is that

25 correct?




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1 A.        Yes.

2 Q.        And the trips to       Texas ended when?

3 A.        '04.

4 Q.        In terms of the trip you've just described where

5 they had to get the conversion van towed, on or about

6 what day did that occur?

7 A.        10/30/03.

8 Q.        During this time period, in addition to meeting

9 Mr. Goodwin at       Anacostia   Road and the time period being

10 2003, did you ever meet him in any other locations?

11 A.       Yes.

12 Q.       What other locations?

13 A.       Shepherd Road.    Chillum Road,

14 Q.       Any other locations you can recall?

15 A.       And at   Larry's house.

16 Q.       Do you know where       Larry's house was?

17 A.       Yes.

18 Q.       Who is   Larry?

19 A.       His son.

20 Q.       Do you recall where he lived?

21 A.       Not the address.

22 Q.       How often did you meet       Mr. Goodwin at     Larry's

23 house?

24 A.       On several occasions.

25 Q.       For what purpose were you meeting him at            Larry's




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 1 house?

 2 A.         To pick up money, to drop off drugs, and to

 3 purchase drugs.

 4 Q.         Now, when you went to       Ms. Martin's school --

 5 Paula's School of Performing Arts -- was that to pick

 6 up money, or to deliver drugs, or both?

 7 A.         Both.

 8 Q.         Now, after this incident where the truck hits a

 9 deer October 30 of 2003, did you continue to make

10 trips?

11 A.         Yes, once the van was fixed.

12 Q.         You used the van -- continued to use the van?

13 A.         Yes.

14 Q.         Did there come a time around        Thanksgiving of

15 2003 when you were in        Texas and received information

16 concerning        Mr. Goodwin?

17            MR. MARTIN:    Objection.     Compound.

18            BY MS. JOHNSTON:

19 Q.         Were you in    Texas around     Thanksgiving of 2003?

20 A.         Yes.

21 Q.         And while there in     Texas, were you -- did you

22 receive information by telephone concerning             Mr.

23 Goodwin?

24 A.         Yes.

25 Q.         What information did you receive about          Mr.




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1 Goodwin?

2 A.         He got arrested.

3 Q.         Who called and gave you that information?

4 A.         I called looking for him.

5 Q.         Okay.   Where did you call looking for him?

6 A.         The "Ponderosa,"     Larry's house, his house,

7 Paula.

8 Q.         Excuse me?

9 A.         I say Paula.

10 Q.        And where did you get     Paula's number?

11 A.        Mr. Goodwin.

12 Q.        Were you able to speak to anyone at those

13 different locations?

14 A.        Yes.    Tiffany,   Paula and   John.

15 Q.        "John" being    John Irby ?

16 A.        Yes.

17 Q.        What did   Tiffany tell you about where        Mr.

18 Goodwin was?

19 A.        That he was arrested.

20 Q.        Did you have any further conversation with her

21 about that?

22 A.        No.    Where he was being held at, and they didn't

23 know, you know, when he was coming out or the situation

24 was at that moment.

25 Q.        That's what    Ms. Vessels told you?




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1 A.       Yeah.

2 Q.       You said you had a conversation with            Ms. Martin;

3 is that correct?

4 A.       Yes.

5 Q.       Was it one conversation or more than one

6 conversation?

7 A.       More than one.

8 Q.       What were you discussing with          Ms. Martin?

9 A.       What to do.    Like, if to come back home or to

10 wait because we didn't know the circumstances of his

11 arrest, and     I didn't want to move around with drugs

12 when it could have been something waiting for me when                  I

13 got back.

14 Q.      Why did you call      Ms. Martin asking her what to

15 do?

16 A.      Because that was who       I was supposed to call if

17 something happened.

18 Q.      Who told you to call her if something happened?

19 A.      Mr. Goodwin.

20 Q.      That time those drugs you were picking up.          Who

21 provided the money for these drugs in November 2003?

22 A.      Mr. Goodwin.

23 Q.      What advice did      Ms. Martin give you?

24 A.      Wait and see what happened.

25 Q.      Did you wait?




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1 A.       Yes.

2 Q.       About how long were you waiting there?

3 A.       About three weeks.

4 Q.       During those three weeks, did you have

5 additional conversations with         Ms. Martin?

6 A.       Yes.

7 Q.       What were you discussing with her as you waited

8 down there for three weeks?

9 A.       Just what was the update on his case or the

10 situation.     You know, if he was getting bailed out,

11 what to do.    Was     I supposed to bring the money or bring

12 the dope back.

13 Q.      What did Mr.      Martin tell you to do?

14 A.      Just told me to, you know, wait.

15 Q.      Well, did you ever get -- you said you stayed

16 there for about three weeks?

17 A.      Yes.

18 Q.      What did you do at that time?

19 A.      Just waited.      Then   I came back home.

20 Q.      Okay.    Why did you come back home?

21 A.      Because      I wasn't going to come back up with no

22 drugs, because       I didn't know the situation.    And then

23 we just at a standstill, so there was no point in me

24 still staying down there.

25 Q.      So you left the money and the drugs in            Texas?




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1 A.       Yes.

2 Q.       When you got back, where was         Mr. Goodwin?

3          Was he still in jail or out of jail?

4 A.       He was still in jail.

5 Q.       Did there come a time when he got out of jail?

6 A.       Yes.

7 Q.       Where did you see him once he got out of jail?

8 A.       At the "Ponderosa."

9 Q.       Did you have any discussion with him about what

10 had happened to him and his arrest?

11 A.      Yes.

12 Q.      What did he tell you?

13 A.      That he was at the restaurant meeting somebody,

14 and the police ran down somebody and set him up.

15 Q.      Did he tell you who had set him up?

16 A.      He said the guy's name, but         I didn't know him.

17 Q.      What was the name that he gave you?

18 A.      Raynard .

19 Q.      Did you know who      Raynard   was at that time?

20 A.      I knew of him.

21 Q.      And what did you know of        Raynard ?

22 A.      Who he was related to and so forth.

23 Q.      Who was he related to?

24 A.      Tiffany Vessels.

25 Q.      At that point in time had you ever seen him?




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1 A.       Yes, I seen him before.

2 Q.       What did you mean when you said you didn't know

3 him except by the name?

4 A.       I just knew him by that's his name.        You know,           I

5 never actually had any dealings or talked to him or

6 spoke to him.

7 Q.       Did you make any trips to         Texas after    Mr.

8 Goodwin got out of jail?

9 A.       Yes.

10 Q.      When he told you that       Raynard    had set him up,

11 did he say anything else about that?

12 A.      I don't understand the question.

13 Q.      Well, what was his demeanor or his attitude when

14 he told you    Raynard   had set him up?

15 A.      Oh, he was mad about it.

16 Q.      Did you make any trips to         Texas and bring back

17 drugs after that occurred?

18 A.      Yes.

19 Q.      What vehicle do you use?

20 A.      The conversion van.

21 Q.      Who goes with you?

22 A.      Xavier Moore.

23 Q.      Describe the circumstances of how you and              Mr.

24 Moore left here and went to        Texas.

25 A.      Just went to go pick up the money and drugs that




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1 we had left the last trip.

2 Q.         Were you going to pick up the money and the

3 drugs?

4 A.         We was going to go pick up either or, but we

5 ended up picking up the drugs.

6 Q.         Did you have a conversation with         Mr. Goodwin

7 before you went back down there?

8 A.         Yes.

9 Q.         What was that conversation?

10 A.        We need to go get that so we can get money

11 circulating for the money lost and the time lost.

12 Q.        Were you given anything to take down on that

13 trip to   Texas?

14 A.        That trip?    No.

15 Q.        Anything happen on that trip on your way back

16 down to   Texas?

17 A.        Not on that trip.     That was on, like, the last

18 trip.

19 Q.        Okay.    When you went down there on that -- on

20 this trip, sometime between         Thanksgiving and before you

21 got arrested in      Texas; is that correct?

22 A.        Yes.

23 Q.        So, when you go down there with        Mr. Moore, do

24 you pick up the drugs that were due from the money that

25 you left there around         Thanksgiving?




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1 A.        I picked up some of it.

2 Q.        Do you know about how much you brought back?

3 A.        Six.

4 Q.        Okay.    Where did you take the six kilos?

5 A.        Shepherd.

6 Q.        What is    Shepherd?   What's there?

7 A.        The house on    Shepherd Avenue?       Geri Ford.

8 Q.        Okay.    Who lived there?

9 A.        Geri Ford.     Well,   I used to live there too.

10 Q.       Why did you take the drugs there?

11 A.       Because it was a place to meet him at.        It was

12 safe.

13 Q.       Who did you deliver the drugs to?           Geri ?

14 A.       No.     Mr. Goodwin.

15 Q.       What did    Mr. Goodwin do with the drugs when you

16 gave them to him there?

17 A.       Put them in his car and left.

18 Q.       Shortly after that, did you make another trip to

19 Texas?

20 A.       Yes.

21 Q.       Was there a problem with the drugs you had

22 brought back?

23 A.       Yes.

24 Q.       What was the problem with the drugs you had

25 brought back?




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1 A.        They wouldn't cook up right.

2 Q.        How did you know that?

3 A.        Once you try to cook it, it won't -- it won't

4 harden correctly.

5 Q.        Who did you watch try to cook it?

6 A.        Mr. Goodwin.

7 Q.        What did   Mr. Goodwin say when it wouldn't cook

8 up?

9 A.        That it was bad.    That it wasn't the quality

10 they're used to getting, and we need to get them to

11 give us -- to replace it or get some new one.

12 Q.       Was he -- again, what was his demeanor when he's

13 saying that the drugs wouldn't cook up?

14 A.       Oh, he was upset.

15 Q.       What method did he use to cook them up?

16 A.       With the Pyrex and the beakers and the gin and

17 the baking soda.

18 Q.       Where was it that he was cooking this batch up

19 that wasn't cooking right?

20 A.       Larry Lane's house.

21 Q.       Were you present when that was being done?

22 A.       Yes.

23 Q.       You said, though, however, you dropped it off to

24 him at   Shepherd Road?

25 A.       Yes.




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1 Q.          Whose house was that?

2 A.          Geri Ford's.

3 Q.          Okay.     Geri Ford.    Is that a male or female?

4 A.          Female.

5 Q.          What was her husband's name?

6 A.          John.

7 Q.          The cooking wasn't done at that location?

8 A.          No.

9 Q.          How many -- had you been to           Larry Lane's house

10 before this incident where the cocaine doesn't cook up

11 well?

12 A.         Yes.

13 Q.         How many times had you been there before the

14 problem with the cocaine?

15 A.         Several.

16 Q.         Who was present when you were there on those

17 several other occasions?

18 A.         Mr. Goodwin,       Tiffany Vessels,     Larry Lane.

19 Q.         Did you ever go there when        Mr. Goodwin was not

20 present?

21 A.         Yes.

22 Q.         For what purpose?

23 A.         To see    Larry.

24 Q.         To see    Larry for what?

25 A.         To pick up drugs.




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1 Q.          Why would you go see      Larry to pick up drugs?

2 A.          Because   Mr. Goodwin was busy.

3 Q.          How would you know to go see       Larry instead of

4 Mr. Goodwin?

5 A.          I would call, or he would tell me.

6 Q.          Who would tell you?

7 A.          Mr. Goodwin.

8 Q.          Can you describe the house?        Larry Lane's house?

9 A.          It's, like, row houses.    Attached.

10 Q.         Do you know -- do you recall the street that

11 it's on?

12 A.         Ortho- something.   Ortho- something.

13 Q.         Excuse me?

14 A.         It's something with an "     O."   I don't know how to

15 pronounce it.

16 Q.         Let me show you what's been marked as

17 Government's      P-138 and ask you if you recognize this

18 photograph.

19 A.         Yes.

20 Q.         Again, what is that a photograph of?

21 A.         The front of   Larry's house.

22 Q.         Can you describe the inside of the house for us?

23 A.         When you come in the door, it's the living room,

24 then dining room, then kitchen.

25 Q.         Have you ever been upstairs or downstairs in the




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 1 house?

 2 A.         Been downstairs.

 3 Q.         Is there a basement in the house?

 4 A.         Yes.

 5 Q.         What was kept in the basement?

 6 A.         Drugs, bags, supplies.

 7 Q.         Where would those drugs and supplies -- where

 8 were those drugs and supplies kept?

 9 A.         In tool boxes.

10 Q.         I want to show you a couple of government's

11 exhibits and ask you if you recognize these items.

12            Showing you Government's Exhibit         P-154, 155, 156

13 and 157.     Take a moment and look at these pictures.

14            Do you recognize any of those photographs?

15 A.         Yes.

16 Q.         Where were they taken in?

17 A.         In the basement of     Larry's house.

18 Q.         Do you recognize the items in the photographs?

19 A.         Yes.

20 Q.         What are they?

21 A.         Tool boxes.

22 Q.         Were those tool boxes kept locked or unlocked?

23 A.         Locked.

24 Q.         Did you have a combination to get into those

25 tool boxes?




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 1 A.        No.

 2 Q.        Who opened them -- were they ever opened when

 3 you were there?

 4 A.        Yes.

 5 Q.        Who opened them?

 6 A.        Mr. Goodwin.

 7 Q.        Is that a picture of one of the tool boxes

 8 opened?

 9 A.        Yes.

10 Q.        Do you recognize the things that are in the tool

11 box?

12 A.        Bags and crack.

13 Q.        Could you show us where the crack is?

14 A.        (Witness indicating.)

15 Q.        Showing you 156.

16           Again, is that another tool box that's been

17 opened?

18 A.        Yes.

19 Q.        Was Mr. Goodwin present whenever those boxes

20 were opened when you were there?

21 A.        Yes.

22 Q.        Just so the jury can see -- P-157.       Is that

23 another one of the tool boxes?

24 A.        Yes.

25 Q.        So you've gotten back with this cocaine.




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 1          Where is    Mr. Goodwin cooking it at        Larry's

 2 house?

 3 A.       In the kitchen.

 4 Q.       What happens when it doesn't cook up?         What does

 5 he tell you to do?

 6 A.       I call   Steve.

 7 Q.       What conversation --       Steve who?

 8 A.       Campbell.

 9 Q.       What conversation do you have with           Steve?

10 A.       Letting him know that the drugs wasn't the

11 quality that we needed or wanted.

12 Q.       What did he say?

13 A.       That the drugs was all right and it was supposed

14 to be the quality.     He said he would work with us, but

15 he was acting like he didn't really want to work with

16 us.

17 Q.       What did    Mr. Goodwin -- strike that.

18          Did you relay the conversation to           Mr. Goodwin?

19 A.       Yes.

20 Q.       Did Mr. Goodwin talk to        Mr. Campbell?

21 A.       Not at that time.

22 Q.       What happens as a result of that telephone

23 conversation?

24 A.       I was about to make a trip down.

25 Q.       Who told you to make a trip down there?




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1 A.        He did.

2 Q.        Who's "he?"

3 A.        Mr. Goodwin.

4 Q.        What did he tell you in terms of going down

5 there?

6 A.        We needed to get that straight what we -- get

7 that deal straight from the bad drugs and to get the

8 rest of the drugs he owed us but that he said he didn't

9 owe us.

10 Q.       How many kilos did      Mr. Goodwin think      Mr.

11 Campbell owed you?

12 A.       Four.

13 Q.       And did you agree with       Mr. Goodwin that        Mr.

14 Campbell owed four kilos?

15 A.       Yes.

16 Q.       What conversation did you have then with              Mr.

17 Goodwin about you going down to         Texas?

18 A.       That we was going to go down there and see if he

19 was going to make good off the deal.

20 Q.       Who was going to -- who was supposed to go down

21 there?

22 A.       Me and    Xavier.

23 Q.       Did Mr. Goodwin give you anything to take with

24 you when you went down there?

25 A.       Money and two guns.




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1 Q.       Where were you when       Mr. Goodwin gave you more

2 money and two guns?

3 A.       In Larry Lane's house.       In the basement.

4 Q.       How much money did he give you?

5          Do you recall?

6 A.       $30,000.

7 Q.       Why was he giving you $30,000 if           Mr. Campbell

8 was supposed to make good on the bad stuff and still

9 owed you four kilos?

10 A.      To get extras.

11 Q.      Where were you when he gave you the guns?

12 A.      In the basement.

13 Q.      The basement of whose house?

14 A.      Larry Lane's.

15 Q.      Could you see where he got the guns from?

16 A.      Out of a tool box.

17 Q.      Out of one of the tool boxes --

18 A.      Yes.

19 Q.      -- that    I just showed you?

20 A.      Yes.

21 Q.      Do you recall which one it was?

22 A.      No.

23 Q.      What did he do with the two guns he got out of

24 the tool box?

25 A.      Gave them to me.




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1 Q.        Was Mr. Moore present then?

2 A.        Yes.

3 Q.        Why was he giving -- what did he tell you the

4 reason was he was giving you guns to take with you?

5 A.        In case it didn't go right, we can make it

6 right.

7 Q.        What did you do with the guns he gave you?

8 A.        Put them in a stash spot to the van.

9 Q.        And the money that you had.      Where did you put

10 that?

11 A.       In a stash spot also.

12 Q.       And who went in the van on this trip down to

13 Texas?

14 A.       Me and   Xavier Moore.

15 Q.       What happens on your way down there?

16 A.       We were having problems with the van, and then

17 we got pulled over in Orange County,          Texas.

18 Q.       What kind of problems did you have with the van?

19 A.       Transmission.

20 Q.       How did you know you were having problems with

21 the transmission?

22 A.       The engine light, and the way it was driving.

23 It kept getting hot, so we had to pull over every so

24 many hours.

25 Q.       During that trip down in       Texas, were you stopped




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1 by the   Texas police?

2 A.       Yeah, by the Orange County Police.

3 Q.       Were you arrested?

4 A.       Yes.

5 Q.       Did they find the guns and the money?

6 A.       Not off the initial stop, no.

7 Q.       No?    Okay.

8          Well, did they subsequently find the guns and

9 the money?

10 A.      Yes.

11 Q.      That was in different hidden compartments?

12 A.      Yes.

13 Q.      Were you charged with possession of those guns,

14 as well as the marijuana that they recovered?

15 A.      Yes.

16 Q.      Once you were -- was       Mr. Moore also arrested?

17 A.      Yes.

18 Q.      Were you released at any point in time?

19 A.      We bonded out in three to five days.

20 Q.      How did you get bonded out?

21 A.      Mr. Campbell bonded us out.

22 Q.      What did you do once you got bonded out?

23 A.      Stayed at a hotel for a couple of days, then

24 went back to    Houston.

25 Q.      How long did you stay in        Houston?




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1 A.         Three to four weeks.

2 Q.         Was Mr. Moore staying in      Houston with you?

3 A.         Yes.

4 Q.         What did you do after those three or four weeks

5 were up?

6 A.         Just trying to figure out how we were going to

7 get back and make up for the loss we just took again.

8 Q.         Did you talk to    Mr. Goodwin after you got

9 released?

10 A.        Yes.

11 Q.        What was your conversation with        Mr. Goodwin

12 after you got released?

13 A.        Letting him know what had happened.

14 Q.        What was his reaction when you told him what had

15 happened?

16 A.        He was upset.

17 Q.        When you got back to     Maryland -- this is in 2004

18 at this point; is that correct?

19 A.        Yes.

20 Q.        Did you have contact with       Mr. Goodwin then?

21 A.        Yes.

22 Q.        What's your contact with him then?

23 A.        Let him know everything about the stop and

24 arrest that      I couldn't tell him over the phone and

25 trying to figure out how we're going to come up with a




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 1 new plan to continue making money.

 2 Q.       Was he concerned that you had -- that            Mr.

 3 Campbell still owed you kilos?

 4 A.       Yes.

 5 Q.       What was the conversation about that?

 6 A.       That we needed to -- we needed to see if he was

 7 going to pay us our money or give us some drugs.

 8 Q.       Did you ever give      Mr. Goodwin -- during the

 9 whole time since you introduced him in December 2001 up

10 through 2004, did you ever give          Mr. Goodwin    Mr.

11 Campbell's telephone numbers?

12 A.       Yes.

13 Q.       Were you ever present when         Mr. Goodwin called

14 Mr. Campbell?

15 A.       Yes.

16 Q.       How did they talk on the phone?

17          How did    Mr. Goodwin talk on the phone when you

18 were present for these conversations?

19 A.       Talk, you know, normal.      Like, you know, they

20 just talking business.

21 Q.       When they talk, he talked business and would

22 say, where are my five kilos of cocaine?

23 A.       No.    He wouldn't say that.

24 Q.       How would they talk on the phone?

25 A.       Like, in codes.     Where's what you owe me, or




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 1 them four birds or whatever we were calling them at the

 2 time.

 3 Q.         Okay.   When you say whatever you were calling

 4 them, what do you mean by that?

 5 A.         Because you can give it any name when you're

 6 talking.     I mean, just to make up a name for it.

 7 Q.         And you just make up something during the call?

 8 A.         Yeah.   You can just say anything.     Four       CDs.

 9 Four tickets.      Anything.

10 Q.         Did you make any trips to        Texas to see   Mr.

11 Campbell after that?

12            Your arrest in      Texas.   Did you go back to see

13 Mr. Campbell?

14 A.         No.

15 Q.         During this time, did you have conversations

16 with Mr. Goodwin about whether -- about drugs coming

17 from other places?

18 A.         Yes.

19 Q.         What were those discussions?

20 A.         That they had a shipment coming from, like, El

21 Paso.

22 Q.         What did he tell you about the shipment from             El

23 Paso ?

24 A.         When it got here, it wasn't good.

25 Q.         Excuse me?




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1 A.       When it got here, it wasn't a good shipment.

2 Q.       Okay.    Who told you that?

3 A.       He did.

4 Q.       What did -- did he tell you how it got here or

5 who it came from?

6 A.       Yes.

7 Q.       What did he tell you about that?

8 A.       That Tiffany had picked it up and Kelly had made

9 the deal.

10 Q.      Who was "Kelly?"

11 A.      I'm not sure of his last name.        A     Spanish guy

12 that he dealt with.

13 Q.      Okay.    How did you know "Kelly" was a          Spanish

14 gay that he dealt with?

15 A.      I seen him before.

16 Q.      Where did you see him before?

17 A.      At the shop and in different locations around

18 Washington,     D. C.

19 Q.      When Mr. Goodwin told you that this cocaine had

20 came from Kelly with      Tiffany, that some of it was bad,

21 what did he ask you to do?

22 A.      Find new transportation and return it.

23 Q.      Did you ask him why he wanted you to return it

24 instead of letting      Ms. Vessels take it back to Kelly?

25 A.      No, I didn't ask that.




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1 Q.         During your conversations with        Mr. Goodwin, did

2 you learn whether or not        Ms. Vessels had made more than

3 one trip?

4 A.         Yes.

5 Q.         Do you know about how many trips         Ms. Vessels

6 made to see Kelly in       Texas to get drugs?

7 A.         The only one   I'm aware of is one.

8 Q.         Is that the one you're describing with the bad

9 cocaine?

10 A.        Yes.

11 Q.        Do you know if she went alone or if she went

12 with someone else?

13 A.        She went with someone else.

14 Q.        Who was the person she went with?

15 A.        Doug.

16 Q.        Excuse me?

17 A.        Doug.

18 Q.        Did you know "Doug?"

19 A.        Yes.

20 Q.        Where did you meet     Doug?

21 A.        At the shop.

22 Q.        Who introduced you to     Doug?

23 A.        Mr. Goodwin.

24 Q.        Do you know whether or not        Doug made any other

25 trips other than this trip with          Ms. Vessels with the




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 1 bad cocaine?

 2 A.       I'm not aware.

 3 Q.       When Mr. Goodwin asked you to get another

 4 vehicle and take bad cocaine back, were you able to get

 5 another vehicle?

 6 A.       Yes.

 7 Q.       What vehicle did you get?

 8 A.       A RV.

 9 Q.       How did you get that        RV?

10 A.       From a dealership in my sister's name.

11 Q.       Do you recall where that dealership was?

12 A.       In Washington,      D. C.

13 Q.       Do you recall the name of that dealership?

14 A.       Jimmy's.

15 Q.       Can you describe the vehicle that you purchased?

16 A.       26' mobile home.

17 Q.       Why did you purchase it in your sister's name?

18 A.       Because    I couldn't get any tags or credit in my

19 name.

20 Q.       Showing you what's on the screen and has been

21 introduced as Government's Exhibit P-233(            A).

22          Do you recognize that vehicle?

23 A.       Yes.

24 Q.       What is that?

25 A.       The mobile home.




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1 Q.        How many trips to     Texas did you make in the

2 mobile home?

3 A.        One.

4 Q.        Who was with you when you made that trip?

5 A.        Xavier Moore and Katherine        Demara .

6 Q.        Did you take anything with you on that trip?

7 A.        The bad drugs.

8 Q.        Did you take any guns with you on that trip?

9 A.        No.

10 Q.       Why not?

11 A.       Because it was a trip that was already talked

12 about and it wasn't no threat.

13 Q.       How many trips did you actually take guns with

14 you to   Texas?

15 A.       Twice.

16 Q.       When was the other -- you have described one of

17 those circumstances; is that correct?

18 A.       Yes.

19 Q.       When was the other circumstance?

20 A.       Because when     I had been robbed and stuff before.

21 So I thought it would be safer.

22 Q.       When -- this is some time when?       Between your

23 Texas arrest in     January of 2004 and before        June 16 of

24 2004; is that correct?

25 A.       Yes.




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1 Q.        Where do you go when you get to           Texas?

2 A.        I stop off in    Houston, see my family, and then             I

3 go to El Paso .

4 Q.        Was Ms. Vessels with you on this trip?

5 A.        No.

6 Q.        How did you know who -- strike that.

7           Why did you go to El Paso?

8 A.        To return the bad drugs.

9 Q.        Why in El Paso and not in        Texas?

10 A.       Because that's where it was picked up, in El

11 Paso.

12 Q.       Who lived in El Paso?

13 A.       Kelly.

14 Q.       Where did you meet Kelly in El Paso when you got

15 there?

16 A.       At a -- when    I first got there, at a truck stop.

17 Q.       And where did he direct you to?

18 A.       A mobile home park.

19 Q.       Do you recall the name of the mobile home park?

20 A.       Road Runner.

21 Q.       How long did you stay at the mobile home park?

22 A.       Seven or more days.

23 Q.       What conversation did you have with           Mr. Kelly

24 once you got to the mobile home park?

25 A.       About switching the bad drugs off for good drugs




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 1 and how long would it take, and that was pretty much

 2 it.

 3 Q.         What did he tell you concerning switching the

 4 drugs?

 5 A.         He was going to talk to the people and take it

 6 back where he got it from.

 7 Q.         Did he tell you where he had gotten it from?

 8 A.         Yes.   Across the border.

 9 Q.         "Across the border" meaning where?

10 A.         Mexico.

11            MS. JOHNSTON:     Your Honor,    I don't know if the

12 court wants to take a break at this point.         We can.

13            THE COURT:   Great.   We will recess until a

14 quarter of four.

15                         (Jury excused at 3:31 p.m.)

16                         (Off the record at 3     :31 p.m.)

17                         (On the record at 3     :46 p.m.)

18            THE COURT:   Bring them in.

19                         (Witness resumes the stand.)

20            MS. JOHNSTON:     Your Honor,    I expect we're going

21 to be playing at least one, maybe four calls from the

22 wiretap.     I would advise the court that the agent and

23 our legal assistant have removed the pages we talked

24 about this morning from the books, so they are no

25 longer in there.




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 1            THE COURT:   All right.

 2            MR. MONTEMARANO :      Just using Book One,     Ms.

 3 Johnston?

 4            MS. JOHNSTON:   No, not just using Book One.

 5 There are calls in other books.        If the court will

 6 instruct the jury just to turn to the transcript books

 7 that area being used.

 8            THE COURT:   You will be playing them with this

 9 witness?

10            MS. JOHNSTON:   Yes.    And not to look at any of

11 the other transcripts, because they are not all in the

12 first volume.

13            MR. MONTEMARANO :      Your Honor,    I would object for

14 the record that if the books go to the jury, they

15 should not have those pages which are still subject of

16 debate between the parties.        The court has reserved

17 ruling on them.

18            THE COURT:    I will instruct the jury that they

19 should only look at the pages          I'm going to tell them to

20 look at, and they should turn them back in and not look

21 at any other pages.        I think they're going to follow

22 the instructions I give them.           I don't think they're

23 going to disregard my instructions, so I will give them

24 that instruction.

25            MR. MONTEMARANO :      Thank you,    Your Honor.




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 1          THE COURT:     How much longer do you think you

 2 will be with this witness?        The rest of the day?

 3          MS. JOHNSTON:     Yes,     Your Honor.

 4          THE COURT:     We will be resuming on        Tuesday at

 5 10:00.

 6          MR. HALL:     Counsel, were you indicating you were

 7 going to do those calls this afternoon?

 8          MS. JOHNSTON:         I may get to all of them in this

 9 afternoon.      I will get to one in the next ten minutes.

10          MR. HALL:     Okay.

11          THE CLERK:     Are you ready?

12          THE COURT:      Yes.

13                   (Jury returns at 3     :48 p.m.)

14          THE COURT:      All right, you may proceed.

15          BY MS. JOHNSTON:

16 Q.       While you were in El Paso,         Mr. Thurman, where

17 did you stay?

18 A.       The RV park.

19 Q.       Do you recall the name of the          RV park?

20 A.       Road Runner.

21 Q.       I'm going to show you what's been marked as

22 Government's Exhibit R-8.

23          Now, disregarding the stationery sheet, do you

24 recognize the receipt that's on there?

25 A.       Yes.




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 1 Q.       In whose name is that?

 2 A.       Mines.

 3 Q.       What was the date of that receipt?

 4 A.       4/2/04.

 5 Q.       Does it indicate some payments for multiple days

 6 that you were there?

 7 A.       Yes.

 8 Q.       How did you pay for the space at the            RV park?

 9 A.       Cash.

10 Q.       Who gave you the cash?

11 A.       Mr. Goodwin before       I left.

12 Q.       Excuse me?

13 A.       Mr. Goodwin before       I left.

14 Q.       While you were down there, did you receive

15 anything else -- any other items from            Mr. Goodwin?

16 A.       While I was down there?

17 Q.       Yeah.    Do you recall ever getting anything

18 mailed to you by Express Mail?

19 A.       Oh.    A Dealer tag.

20 Q.       For what purpose were you sent a Dealer tag?

21 A.       Because the paper tag had expired.

22 Q.       I want to show you what's marked as Government's

23 Exhibit Goodwin 10.

24          There are two pieces of paper there.         Do you

25 recognize the Express Mail receipt?




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1 A.         Yes.

2 Q.         Who was that sent to?

3 A.         Myself.

4 Q.         Do you recognize that address in north Houston,

5 Texas?

6 A.         Yes.

7 Q.         What was that?

8 A.         My cousin address.

9 Q.         Who was the sender?

10 A.        Lobo's Discount.

11 Q.        Now, there's another green sheet in there.        Do

12 you recognize any names on there?

13 A.        My name.

14 Q.        Do you recognize a number under your name?

15 A.        Pager number and cell phone.

16 Q.        Let me put it up on the screen so the jury can

17 see it.

18 Q.        Is that the mail receipt we just discussed?

19 A.        Yes.

20 Q.        And you got a permanent plate?

21 A.        Yes, a Dealer tag.

22 Q.        A Dealer tag; is that correct?

23 A.        Yes.

24 Q.        And then the little green sheet we talked of --

25 if you could read off your numbers and tell us which




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1 one was your pager and which was your cell?

2 A.       837-8356 is my pager and (301) 213-4934 was my

3 cell.

4 Q.       In addition to receiving the Dealer tag while

5 you were still there, did you speak with             Mr. Goodwin on

6 the telephone periodically?

7 A.       Yes.

8 Q.       Do you know how many times you spoke to him?

9 A.       No.

10 Q.      What was the nature of your conversation?

11 A.      To let him know the status and what was going

12 on.

13 Q.      What were the things you told him?

14 A.      That I was waiting to see the guy Kelly again,

15 and I was waiting for him to exchange the bad for good.

16 Q.      Have you had occasion to listen to some recorded

17 conversations when we met in preparation for your

18 testimony?

19 A.      Repeat your question.

20 Q.      Did you have an opportunity, when we were

21 preparing for your testimony, to listen to some

22 conversations?

23 A.      Yes.

24 Q.      Were you able to identify the voices in those

25 conversations?




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 1 A.        Yes.

 2 Q.        Your Honor,     I would like to play call B-2581,

 3 which is on      CD 1, and if    I could distribute the

 4 transcript books at this time.

 5           THE COURT:    All right.    Ladies and gentlemen, as

 6 before,   I want to advise you that the evidence that

 7 you're receiving and considering is the recording that

 8 you're hearing.     The transcript is being provided to

 9 you by the government to assist you.        If in any way you

10 think the transcript is different than what has been

11 played, it's what you heard that governs.

12           In addition, let me advise you that the notebook

13 that you're going to be handed has more than just this

14 one phone call in it, and         I instruct you only to look

15 at the pages covering this conversation today because

16 we have not yet ruled on the other conversations in

17 those notebooks.     So, please do not look at any other

18 part of the notebook other than the pages that you have

19 identified to you.      So, keep them closed until you hear

20 what that page number is.

21           MS. JOHNSTON:      The call number is call B-2581.

22 It begins on page 276 of -- the transcript book is,                I

23 believe, volume Two.

24           Your Honor, may       I approach the witness and give

25 him a copy of the transcript book?




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 1          THE COURT:     What was the page number again?

 2          MS. JOHNSTON:     276, I believe.

 3          THE COURT:     276?   All right.

 4          MS. JOHNSTON:     276.   It's B-2581.

 5          Counsel, we're going to play call B-2581.         It's

 6 on page 276, which is Volume Two of the transcript

 7 book.   Page 276.    There's a Baits number at the bottom

 8 of each page.

 9          Okay.    If we could play the call, Agent           Eveler .

10          (Audio recording begins playing at 3          :56 p.m.)

11          (Audio recording stops playing at 3          :57 p.m.)

12          BY MS. JOHNSTON:

13 Q.       Who were the voices we heard on that recording?

14 A.       Mine and    Mr. Goodwin.

15 Q.       Voices marked "M.T." and "L.G.?"

16 A.       Yes.

17 Q.       Does that match the voices we heard on the

18 recording?

19 A.       Yes.

20 Q.       When you say that you're waiting for your cousin

21 and you just talked to him, who are you referring to?

22 A.       Kelly.

23 Q.       Was he in fact your cousin?

24 A.       No.

25 Q.       Why did you use the term "cousin?"




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 1 A.         So I won't have to say his name.

 2 Q.         And then you said that he had to go over to "the

 3 main park."

 4            What were you referring to when you said, "the

 5 main park?"

 6 A.         Mexico.

 7 Q.         Then Mr. Goodwin says to you, "So they're

 8 exchanging the clothes?"

 9            Did you have any clothes you were returning in

10 El Paso, T exas?

11 A.         No.

12 Q.         What did you understand him to be asking you?

13 A.         About the bad drugs.

14 Q.         Then you say that you're waiting to see -- to

15 see him.     Who were you waiting to see?

16 A.         Kelly.

17 Q.         Then you tell him he "had to go wash his clothes

18 in Mexico."

19            What were you telling     Mr. Goodwin in that

20 phrase?

21 A.         That he had to go take the drugs back to           Mexico

22 to try to get an exchange.

23 Q.         The term "wash his clothes" refers to what?

24 A.         Change.

25 Q.         Then at the end,    Mr. Goodwin calls you his man.




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1 "My man."    What does that term mean?

2 A.         He's mine.   Like, it's all right.          I'm handling

3 the job.

4 Q.         After that call did you continue to be in           Texas

5 -- in El Paso waiting for the drugs to be exchanged by

6 Mr. Kelly?

7 A.         Yes.

8 Q.         How long did you stay there?

9 A.         Seven to -- seven to ten days.

10 Q.        What did you do after those seven to ten days?

11 A.        After I waited, then nothing had followed

12 through with Kelly,       I went back to El Paso --       I mean,      I

13 went back to     Houston.

14 Q.        Who went back to     Houston with you?

15 A.        Xavier Moore and Katherine       Demara .

16 Q.        Where did you stay in      Houston?

17 A.        In a RV park.

18 Q.        In the same camper?

19 A.        Yes.

20 Q.        How long were you,     Ms. Demara and Mr. Moore in

21 the RV camp in     Houston?

22 A.        All together?     Several months.

23 Q.        During that time you were there, did you have

24 any communications with        Mr. Goodwin?

25 A.        Yes.




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1 Q.          What was the nature of those communications?

2 A.          We were waiting to hear from Kelly.     Then          I had

3 to go back to El Paso and pick up the drugs.

4 Q.          Did you ever hear from Kelly?

5 A.          No.

6 Q.          Ever go back to pick up the drugs?

7 A.          No.

8 Q.          While you were in    Houston in the     RV camp, did

9 there come a time when you received information

10 concerning events that had happened up in            Maryland and

11 D. C.?

12 A.         Yes.

13 Q.         Do you recall who you received that information

14 from?

15 A.         Tiffany Vessels.

16 Q.         What was the conversation that you had with             Ms.

17 Vessels?

18 A.         That Mr. Goodwin and everybody got locked up,

19 and they raided all the spots.

20 Q.         They raided where?

21 A.         All the different locations.

22 Q.         Do you know approximately when that was?       That

23 conversation.

24 A.         I'm not sure of the exact time.     Around       June.

25 Q.         Do you recall getting arrested on or about             June




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 1 16 of 2004?

 2 A.        Yes.

 3 Q.        What state did you get arrested?

 4 A.        Lafayette,   Louisiana.

 5 Q.        Was your conversation with        Ms. Vessels about the

 6 arrest and the raids on all the locations before you

 7 got arrested in      Louisiana?

 8 A.        Yes.

 9 Q.        During that conversation -- strike that.

10           In addition to talking to        Ms. Vessels, did you

11 talk to   Mr. Goodwin at all after        Ms. Vessels told you

12 about the arrest but before you returned to             Maryland?

13 A.        No.

14 Q.        How did you get back to       Maryland?

15 A.        I flew.

16 Q.        You flew back to     Maryland from where?

17 A.        Houston.

18 Q.        What did you do with the camper?

19 A.        I left it parked at my grandmother's.

20 Q.        Before flying back from       Houston to    Maryland,

21 what if any effort did you make to drive back?

22 A.        One.

23 Q.        Can you describe that effort?

24 A.        Me and my -- me and a friend from          Houston was

25 driving back when we got pulled over in Lafayette,




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1 Louisiana.

2 Q.       Let me back up for a second.

3          What happened to      Mr. Moore and      Ms. Demara ?

4 A.       Ms. Demara caught the Greyhound home.          Then a

5 couple of months later       Xavier caught the plane home.

6 Q.       Did both of them leave        Houston before you left

7 in the camper and got stopped in          Louisiana?

8 A.       Yes.

9 Q.       Who was you with when you got stopped in

10 Louisiana?

11 A.      Marcus Weathersby.

12 Q.      Where were you going?

13 A.      To Maryland.

14 Q.      Did you have any cocaine with you at that time?

15 A.      Yes.

16 Q.      What cocaine did you have with you?

17 A.      The cocaine that      Marcus Weathersby had.

18 Q.      Where did    Mr. Weathersby have his cocaine?

19 A.      In a side panelling of the         RV.

20 Q.      What happened when you were stopped in

21 Louisiana?

22 A.      We were stopped, they said, for the tag plate,

23 and they asked to search the vehicle.            I told them no.

24 Then they called the k-9 unit.

25 Q.      What happened then?




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1 A.       They say the K-9 alerted at the front door, and

2 then they proceeded to check the vehicle.

3 Q.       Did they find anything in the vehicle?

4 A.       Yes.

5 Q.       What did they find in the vehicle?

6 A.       Like, a quarter key of the bad dope.

7 Q.       Where was that in the vehicle?

8 A.       Like, in between the stove and the sink.

9 Q.       Was that in a concealed department or

10 compartment or in a regular space in the camper?

11 A.      Concealed.

12 Q.      Why was that still in the van if you returned

13 the bad drugs to Kelly?

14 A.      Because when we returned it, we didn't count it

15 away and we thought it was all of it, and it was a

16 piece that had stuck down in there and we didn't know

17 it was there.

18 Q.      What about the cocaine that         Mr. Weathersby had

19 with him?

20 A.      That was not recovered.

21 Q.      How much was it that       Mr. Weathersby was bringing

22 back?

23 A.      Nine ounces.

24 Q.      Were you arrested then?

25 A.      Yes.




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1 Q.          Were you eventually let out on bond?

2 A.          Yes.

3 Q.          When you got out on bond, where did you go?

4 A.          To Homer,    Louisiana.

5 Q.          Excuse me?

6 A.          To Homer,    Louisiana then to     Houston.

7 Q.          Okay.   Why did you go to Homer,       Louisiana?

8 A.          Because    I had to get from where we at to get

9 back to     Houston to -- to get ourselves together to get

10 back to    Houston.

11 Q.         How did you get from Homer,        Louisiana back to

12 Houston?

13 A.         The RV.

14 Q.         So they released the camper to you after you

15 took the drugs out of it?

16 A.         Yes.

17 Q.         Who posted your bond for you there in         Louisiana?

18 A.         Marcus Weathersby.

19 Q.         Do you recall how much bond was?

20 A.         No.

21 Q.         And then you get back to      Houston?

22 A.         Yes.

23 Q.         How do you eventually get home?

24 A.         Airplane.

25 Q.         What happened in terms of        Mr. Weathersby?    Was




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1 he charged?

2 A.       No.

3 Q.       Why not?

4 A.       Because    I said it was mines.

5 Q.       In fact, was that your cocaine that was in the

6 vehicle that they seized?

7 A.       No.    It was part of the -- what          I was taking

8 back.

9 Q.       It was in your possession?

10 A.      Yes, it was in my possession.       Yes.

11 Q.      Did you realize that that cocaine was still in

12 the car -- that bad cocaine was still in the car?

13 A.      No, not until they searched the vehicle and

14 found it.

15 Q.      When you were taking -- when you originally left

16 Maryland with the camper with the bad cocaine, do you

17 know whether or not      Mr. Goodwin still had one or two of

18 the bad kilos with him?

19 A.      I'm not sure.

20 Q.      Well, you indicated that it didn't cook up very

21 well.

22 A.      Right.

23 Q.      Did you see him trying to cook it up?

24 A.      Yes.

25 Q.      What happened to it?




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1 A.       It wouldn't get hard.

2 Q.       So at least that portion that he tried to cook

3 up, that -- did that stay with him or did you repackage

4 --

5          MR. MARTIN:     Objection,     Your Honor.

6          Asked and answered.      Leading.

7          THE COURT:     Well, take the leading part out and

8 ask it again.

9          BY MS. JOHNSTON:

10 Q.      What was done with that cocaine that didn't get

11 hard?

12 A.      Still in his possession.

13 Q.      And what happened -- what residence were you in

14 when that didn't cook up?

15 A.      Larry Lane.

16 Q.      Who was with you there?

17 A.      Myself and    Mr. Goodwin.

18 Q.      When you get back to       Maryland after you've been

19 released in    Louisiana, do you have any contact with

20 anyone associated with      Mr. Goodwin?

21 A.      Tiffany Vessels and "      John D."

22 Q.      "John D." being      Mr. Irby ?

23 A.      Yes.

24 Q.      Are you familiar with Lobo's Discount Car Lot?

25 A.      Yes.




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 1   Q.     Do you have any identification associated with

 2 that facility?

 3 A.       A salesman license.

 4 Q.       Excuse me?

 5 A.       A salesman license.

 6 Q.       Could you describe for us how you got that

 7 salesman license?

 8 A.       Through the shop and       Michael    Jackson.

 9 Q.       Excuse me?

10 A.       I say through the shop and          Michael   Jackson.

11 Q.       Who at the shop helped you get it?

12 A.       Michael Jackson and       Learley    Goodwin.

13 Q.       Who is " Michael     Jackson?"

14 A.       The guy that did all the paperwork for the shop.

15 Q.       And was the -- what kind of business was

16 conducted at the shop?

17 A.       Auto body and minor repairs.

18 Q.       Could you describe the extent that there was

19 actual car business going on there?

20 A.       Explain the question.

21 Q.       Okay.   Let me try it again,         Mr. Thurman.

22          Who actually did any minor repairs and body shop

23 work there?

24          MR. MARTIN:     Objection to the form of the

25 question.




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 1          THE COURT:     Rephrase it.

 2          BY MS. JOHNSTON:

 3 Q.       Do you know who actually did the body repair

 4 work and the minor repairs --

 5          MR. MARTIN:     Objection.

 6          THE COURT:     Overruled.

 7          BY MS. JOHNSTON:

 8 Q.       -- and the mine or repairs you've just

 9 described?

10 A.       Lobo and a couple of guys he had working for

11 him.

12 Q.       Did this man,     Mr. Lobo, own the business?

13 A.       No.

14 Q.       Who owned the business?

15 A.       Mr. Goodwin.

16 Q.       In addition to listening to -- strike that.

17          In addition to      Mr. Kelly and    Steven   Campbell,

18 did you learn whether or not          Mr. Goodwin had any other

19 sources for cocaine?

20 A.       Yes.

21 Q.       Who were -- how did you learn that information?

22 A.       By just being around.

23 Q.       Being around whom?

24 A.       Mr. Goodwin.

25 Q.       Who were the other sources of cocaine that you




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 1 learned about?

 2 A.       It was different people.

 3 Q.       Can you give us the names of those different

 4 people, please?

 5 A.       "Cuban," and a guy in       Louisiana.

 6 Q.       "Cuba?"    Can you describe       Cuba for us?

 7 A.       Brown-skinned Cuban.

 8 Q.       Do you know what nationality he was?

 9 A.       Cuban.

10 Q.       And where did you -- where did you meet him?

11 A.       I met him at the shop.      Different places.

12 Q.       Who introduced you to him?

13 A.       Mr. Goodwin.

14 Q.       You said you met him where?       At the shop?

15 A.       Yes.

16 Q.       "The shop" referring to what?

17 A.       Lobo's Discount.

18 Q.       If I could, Your Honor, I'd like to play two

19 more calls for this witness at this time.              I would like

20 to play call 47.

21          THE COURT:     And the page number?

22          MS. JOHNSTON:     Call 247 is on Page 5 of Volume

23 One.

24          (Audio recording begins playing at 4          :10 p.m.)

25          (Audio recording stops playing at 4          :12 p.m.)




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 1          BY MS. JOHNSTON:

 2 Q.       Did you recognize those voices,          Mr. Thurman?

 3 A.       Yes.

 4 Q.       Whose voices were they?

 5 A.       Mr. Goodwin and Cuban.

 6 Q.       By looking at the voices, which one is            Cuba's?

 7          Who how is it identified?

 8 A.       M-1.

 9 Q.       Take this pen that       I'm giving you and, next to

10 M-1 in the transcript on Page 5, write "           Cuba," and then

11 put your initials and today's date.

12 A.       (Witness indicating.)

13 Q.       June 16.

14          If we could also play call 5763, which is going

15 to be on -- court's indulgence, please.

16          573 is on Page 461.

17          THE COURT:     Volume Three?

18          MS. JOHNSTON:     Volume Three,      Your Honor.

19          THE COURT:     All right.

20          (Audio recording begins playing at 4          :14 p.m.)

21          (Audio recording stops playing at 4          :15 p.m.)

22          BY MS. JOHNSTON:

23 Q.       Mr. Thurman, did you recognize the voices in

24 that call?

25 A.       Yes.




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 1 Q.       Who were they?

 2 A.       Mr. Goodwin and       Cuba.

 3 Q.       Again, if you could -- the voice that you

 4 identified as " Cuba" is identified in the transcript by

 5 what letters?

 6 A.       "U. M."

 7 Q.       Could you write next to "       U. M." the name " Cuba,"

 8 and put your initials and the date?

 9 A.       (Witness indicating.)

10 Q.       While we have the equipment out, play call

11 A-1415, and that would be on Page 415 -- starts on Page

12 415.

13          (Audio recording begins playing at 4          :17 p.m.)

14          (Audio recording stops playing at 4          :18 p.m.)

15          BY MS. JOHNSTON:

16 Q.       Did you recognize those voices,          Mr. Thurman?

17 A.       Yes.

18 Q.       Whose voices are they?

19 A.       "John D." and       Paula.

20 Q.       Are they correctly identified in the transcript

21 as Paulette     Martin and    John Irby ?

22 A.       Yes.

23 Q.       If we could turn to Page 129 which,           I think, is

24 in Volume One, call B-915.

25          THE COURT:     What page again?




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 1            MS. JOHNSTON:     It should be page 129,       Your

 2 Honor.

 3            THE COURT:   129.

 4            (Audio recording begins playing at 4        :19 p.m.)

 5            (Audio recording stops playing at 4        :20 p.m.)

 6            BY MS. JOHNSTON:

 7 Q.         Mr. Thurman, did you recognize the voices in

 8 that call?

 9 A.         Yes.

10 Q.         Who were they?

11 A.         Paula and Maurice.

12 Q.         Do you know Maurice's last name?

13 A.         Bowman.

14 Q.         If you could, take the trial exhibit and write

15 his last name next to "Maurice          LNU ."

16 Q.         (Witness indicating.)

17 Q.         How do you know     Mr. Bowman?

18 A.         From the shop, and     Mr. Goodwin.

19 Q.         When you say, "the shop," what are you talking

20 about?

21 A.         Lobo's.

22 Q.         Finally,   I'd like to play call      B-469, which is

23 on Page 60.

24            Could you turn that volume to Page 60,          Mr.

25 Thurman?     Do you have it open?




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 1           (Audio recording begins playing at 4         :21 p.m.)

 2           (Audio recording stops playing at 4         :22 p.m.)

 3           BY MS. JOHNSTON:

 4 Q.        Mr. Thurman, did you recognize the voices in

 5 that telephone call?

 6 A.        Yes.

 7 Q.        Who were they?

 8 A.        Paula and     Tiffany.

 9 Q.        Are they correctly identified in the transcript?

10 A.        Yes.

11 Q.        We started these calls with a reference to            Cuba

12 as being one of the other sources for            Mr. Goodwin.

13           Are there other people whom you learned

14 delivered cocaine to        Mr. Goodwin?

15 A.        Rephrase the question.

16 Q.        Okay.   You mentioned     Cuba as someone else who

17 provided cocaine to        Mr. Goodwin.

18 A.        Mm-hmm.

19 Q.        You have to say "yes" or "no" for the record,

20 please.

21 A.        Oh.    Yes.

22 Q.        Were there -- do you know anyone else who

23 provided cocaine to        Mr. Goodwin?

24 A.        No.

25 Q.        In terms of     Ms. Martin.     Do you know whether      or




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 1 not she had other sources of cocaine in addition to the

 2 cocaine that she was getting from           Mr. Goodwin and the

 3 cocaine you brought back from         Texas when they pooled

 4 their money?

 5 A.         Yes.

 6 Q.         Who else did she get cocaine from?

 7 A.         I'm not sure.

 8 Q.         How do you know that she had other sources of

 9 cocaine?

10 A.         Because sometimes he got it from her.

11 Q.         How do you know that sometimes he got it from

12 her?

13 A.         Because he had called her, or go and get it from

14 her.

15 Q.         Would you be with him when he would go get it

16 from her?

17 A.         Once.

18 Q.         One time.   Can you give us a time frame in terms

19 of when that one time was that you went with them?

20            Was it before or after your arrest in          Texas with

21 the conversion van?

22 A.         Before.

23 Q.         Was it before or after you started to go to

24 Texas in 2002?

25 A.         After.




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 1 Q.        Where did you go with him to get it from            Ms.

 2 Martin?

 3 A.        Her house.

 4 Q.        Where was her house?

 5 A.        Montgomery County.

 6 Q.        Can you describe the house that you went to to

 7 get the cocaine?

 8 A.        It was, like, in a      cul -de-sac.

 9 Q.        Excuse me?

10 A.        It was in a     cul -de-sac.

11 Q.        Was it a row house?     A townhouse?    An apartment?

12 A single family home?

13 A.        Single family home.

14 Q.        Can you describe it?     New?   Old?

15 A.        Fairly new.

16 Q.        Big?   Small?

17 A.        Medium.

18 Q.        Let me show you what's been marked as

19 Government's Exhibit P-2.

20           Do recognize the house that's depicted in P-2?

21 A.        Yes.

22 Q.        What is that?

23 A.        Paula's house.

24 Q.        Is that the house that you went with           Mr. Goodwin

25 to pick up cocaine?




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 1 A.         Yes.

 2 Q.         How much cocaine did he pick up there?

 3 A.         I'm not sure of the amount.

 4 Q.         How do you know that he picked up cocaine?

 5 A.         Because when we left and got back to the other

 6 spot, he had cocaine to give me.

 7 Q.         Excuse me?

 8 A.         Once we left and got back to the other place, he

 9 had cocaine to give me.       We didn't come with no

10 cocaine.

11            MR. MONTEMARANO :       Objection,   Your Honor.

12            Move to strike may.

13            We be heard at the bench?

14            THE COURT:     Approach the bench.

15                       (At the bar of the Court.)

16            MR. MONTEMARANO :       At best it's an educated

17 guess.     It     is not a basis for knowledge.    He went with

18 her.   After that       Mr. Goodwin didn't give any indication

19 the cocaine he then had to give to this witness was

20 from my client.       Therefore,      I would move --    I objected

21 and moved to strike this entire line of testimony

22 regarding obtaining cocaine from           Ms. Martin.   He

23 neither saw it, nor did         Mr. Goodwin make an admission

24 regarding it.

25            MS. JOHNSTON:     He said that's why he went there




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 1 with Mr. Goodwin.       I mean,    I'll go back over it again.

 2 If counsel wants,      I will go through the conversation

 3 that he had with      Mr. Goodwin and why they went there

 4 and where they went, that they had to go there to get

 5 the cocaine and then came back and that he got the

 6 cocaine from     Mr. Goodwin.     That's all perfectly

 7 admissible, and they can cross-examine him.

 8          There is nothing wrong with him saying what he

 9 said.   It's not inadmissible hearsay.       It's

10 circumstances.     He had a conversation with          Mr. Goodwin.

11 We needed to go get the cocaine.        They went to        Ms.

12 Martin's house.       I don't know if he saw it there or

13 not.

14          Then when they left there they went back to a

15 location --     I'll ask him where they went back to -- and

16 he got cocaine.       I don't think there's anything wrong

17 with this jury to hear those circumstances.         There is

18 nothing in it that's hearsay.

19          MR. MARTIN:      Your Honor,    I would move     to strike

20 as well, unless there's some foundation laid that he

21 either saw --

22          THE COURT:      I'm going to strike the        last answer

23 and make a ruling as she's indicated.

24          MS. JOHNSTON:     Circumstantial.

25          THE COURT:     -- she will tie it up.




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1                        (Back in open court.)

2          THE COURT:     Ladies and gentlemen, disregard the

3 last answer.     There will be some additional questioning

4 on this subject.

5          You may proceed.

6          BY MS. JOHNSTON:

7 Q.       Mr. Thurman, how many times did you go to that

8 house that we've just identified?

9 A.       Once.

10 Q.      Who did you go there with?

11 A.      Mr. Goodwin.

12 Q.      Did you have a conversation with           Mr. Goodwin

13 before you went there on that one occasion?

14 A.      Yes.

15 Q.      Okay.   What was your conversation with           Mr.

16 Goodwin before you went to        Ms. Martin's house?

17 A.      We had to go past there to pick up something.

18 Q.      Did he tell you what the "something" was that

19 you had to go there to pick up?

20 A.      Yes.

21 Q.      What did he tell you it was?

22 A.      Cocaine.

23 Q.      Do you recall whose vehicle you went in to go to

24 Ms. Martin's?

25 A.      I don't recall what vehicle it was in.




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1 Q.        Do you know whose vehicle it was?

2 A.        The one from the shop.

3 Q.        When you say, "the one from the shop," what shop

4 are you referring to?

5 A.        Lobo's Discount.

6 Q.        Can you describe for us how many cars there were

7 there and who used the cars and how they were passed

8 around?

9 A.        It was several cars there and we drove which one

10 was working.

11 Q.       Does that include      Mr. Goodwin as well?

12 A.       Yes.

13 Q.       When you got to -- who drove to         Ms. Martin's

14 house?

15 A.       I drove.

16 Q.       Who went inside     Ms. Martin's house?

17 A.       Both of us.

18 Q.       When you went inside, other than          Ms. Martin, did

19 you see anyone else there?

20 A.       A unknown person.

21 Q.       You don't recall who that person was?

22 A.       No.

23 Q.       Can you describe that person?

24 A.       Brown skin.   Older.

25 Q.       Male or female?




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 1 A.       Male.

 2 Q.       Were you introduced to him?

 3 A.       Yes.

 4 Q.       Do you recall his name?

 5 A.       No.

 6 Q.       Other than being brown skin, do you know whether

 7 he was   American or a different nationality?

 8 A.       Different nationality.

 9 Q.       Okay.    What nationality was that?

10 A.       I'm going to say maybe        Spanish.

11 Q.       Is that based on the way he spoke?

12 A.       Yes.

13 Q.       And approximately how old was he?

14 A.       50 years old.

15 Q.       Do you recall his hair at all?

16 A.       Grey and black.

17 Q.       Was that the only time you saw that individual?

18 A.       Yes.

19 Q.       Once you're there, you are introduced to this

20 man.

21          What if anything do see happen between            Ms.

22 Martin and      Mr. Goodwin?

23 A.       They just talked, and then they leave out.

24 Q.       They leave out where?

25 A.       Leave out of the room we were in.




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1 Q.       Excuse me?

2 A.       Leave out of the room we were in.

3 Q.       Okay.    And what happened -- who stays in the

4 room you're in?

5 A.       I did, and the guy.

6 Q.       The guy with the      Spanish accent?

7 A.       Yes.

8 Q.       Do they both come back to the room?

9 A.       Yes.

10 Q.      Do either of them have anything when they come

11 back to the room?

12 A.      They have a bag.

13 Q.      Who has a bag?

14 A.      Mr. Goodwin.

15 Q.      Is there any conversation about what's in the

16 bag?

17 A.      No.    We just got ready to leave.

18 Q.      Okay.    How long were you there, do you think?

19 A.      15 minutes.

20 Q.      When you left, who left?

21 A.      Oh.    Me and   Mr. Goodwin.

22 Q.      Were you driving when you left?

23 A.      Yes.

24 Q.      Where did you and      Mr. Goodwin go?

25 A.      To the "Ponderosa."




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1 Q.        Okay.    Did you make any stops in between leaving

2 Ms. Martin's and going back to the "Ponderosa?"

3 A.        Not that    I can recall.

4 Q.        When you got back to the "Ponderosa," who went

5 inside?

6 A.        Me and    Mr. Goodwin.

7 Q.        Did Mr. Goodwin take anything inside with him?

8 A.        Yes, the bag.

9 Q.        Once he got inside with the bag, what happened

10 there?

11 A.       I used the phone.      Then he got me some cocaine

12 ready.

13 Q.       Who got you cocaine?

14 A.       Mr. Goodwin.

15 Q.       Okay.    Was it powder or crack?

16 A.       Powder.

17 Q.       Did you see where he got it from?

18 A.       Out the bag.

19 Q.       Out of what bag?

20 A.       They had with them.

21 Q.       The bag that he picked -- where did he get the

22 bag that he took the cocaine out of?

23 A.       From Ms. Martin.

24 Q.       Can you describe the size of that bag?

25 A.       How?     Like, size?




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1 Q.       Yeah, the size.     Or describe what kind of bag           it

2 was.

3          Was it a little sandwich baggy?        Was it a brown

4 paper bag?      Was it a   Giant bag?

5 A.       Shopping bag.

6 Q.       Was it a large a shopping bag --

7 A.       Yes.

8 Q.       -- as opposed to a grocery store bag?

9 A.       Yes.

10 Q.      Could you describe how it looked from the

11 outside when he carried it out?

12 A.      Like a shopping bag with some type of -- some

13 type of products inside of it.

14 Q.      But you didn't actually see what was inside when

15 he carried it out of the house?

16 A.      No.

17 Q.      What did he take out of that bag that he gave to

18 you?

19 A.      Powder cocaine.

20 Q.      Do you know approximately how much he took out

21 of that bag and gave to you?

22 A.      He gave me two ounces.

23 Q.      While you were there, did he give any of that

24 powder cocaine to anyone else in your presence?

25 A.      No.     I left.




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 1 Q.       Did Mr. Goodwin ever say to you how much he had

 2 gotten from     Ms. Martin?

 3          MR. MONTEMARANO :      Objection,    Your Honor.

 4          Asked and answered.

 5          THE COURT:     Overruled.

 6          BY MS. JOHNSTON:

 7 Q.       After you returned to the "Ponderosa," did you

 8 have any conversation with         Mr. Goodwin about how much

 9 he had picked up from       Ms. Martin on that trip?

10 A.       No.

11 Q.       That was the only time you went to that

12 residence?

13 A.       Yes.

14 Q.       And the only time that you were with            Mr. Goodwin

15 when he picked up from        Ms. Martin; is that correct?

16 A.       Yes.

17 Q.       Did you have any other conversations with             Mr.

18 Goodwin concerning getting drugs from            Ms. Martin that

19 you recall?

20 A.       No.

21 Q.       I don't know if the court would like to stop

22 here.    I know it is 4 :30.

23          THE COURT:      I promised this jury we would be

24 better than     Amtrak, so we will recess today.

25          Ladies and gentlemen, please return on            Tuesday




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 1 at 10 o'clock.     Remember, we're off on         Monday.   Once

 2 again, please follow my instructions not to discuss

 3 this case among yourselves or with anybody else until

 4 we resume again on      Tuesday.     You're excused now.

 5          Counsel, remain behind.

 6          MS. GREENBERG:       Your Honor, where would        you like

 7 the books?

 8          THE COURT:     Recover the books.

 9          MS. JOHNSTON:     It might be better if the court

10 maintains those transcript books, because             I don't know

11 if some of them wrote in them or not.        If so, we

12 shouldn't be privy to their notes.

13          THE CLERK:     Can they just leave them here?

14          THE COURT:     Bea will take care of it.

15                        (Jury excused at 4     :35 p.m.)

16          THE COURT:     Counsel, on     Tuesday    I have an

17 initial status conference with counsel in a 14-

18 defendant case and a -- that's not your fault.

19 Somebody else in your office's fault.

20          MS. JOHNSTON:     No, but     I think    I may be on that

21 case now.

22          THE COURT:     Oh, wonderful.

23          I only get the large defendant cases in this

24 courthouse.    In any event,       I have a conference with

25 counsel in that case at 9 o'clock.        Knowing how easy it




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 1 is to get 14 lawyers to agree on anything,             I'm not sure

 2 it's going to -- how long it's going to last, but if

 3 you have preliminary matters on           Tuesday, be here by,

 4 you know, a quarter of ten.           I'm reasonably optimistic

 5 I can get 14 lawyers to get their calendars out to pick

 6 a date for a trial, but that's what           I'm doing at 9

 7 o'clock on    Tuesday.

 8           MR. MCKNETT :     Your Honor?

 9           THE COURT:     Yes.

10           MR. MCKNETT :     I understand we're going to get to

11 Detective    Sakala on Tuesday.       There are motions pending

12 that will affect his -- may affect his testimony.

13           THE COURT:     You mean like renewed motions on

14 him?

15           MR. MCKNETT :    There were motions that were filed

16 concerning expert testimony.

17           MR. MONTEMARANO :       Your Honor did not rule.    You

18 deferred to when the witness took the stand.

19           THE COURT:     Uh-oh.   It's a witness by witness

20 matter.   Sure.

21           MR. MARTIN:     Your Honor, an administrative

22 matter.   With respect to         Mr. Thurman's testimony today,

23 I would like to get authorization to file a             CJA 24 and

24 ask Madam Court Reporter if she would transcribe that

25 for me so that over the weekend           I would have an




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 1 opportunity to look at that.       He said a lot of things.

 2 It's far beyond the cross-examination that             I had

 3 initially planned, and it would be very helpful to the

 4 defense to have that.

 5            MS. JOHNSTON:     Your Honor,    Mr. Martin has been

 6 sitting there with is computer typing very quickly

 7 throughout, but it's not an issue for the government

 8 other than we will order a copy if court orders it.                 I

 9 just hate to see our court reporter's weekend --

10            THE COURT:    Do you really want to ruin Tracy's

11 weekend?

12            MR. MARTIN:    No, I don't.    In fact, she's been

13 so kind to me,     I even hesitated saying it, but           I've got

14 an obligation to        Mr. Goodwin.

15            THE COURT:    Well,   I have no problem signing the

16 thing, but    I can't guarantee        Tracy.   All right?

17            MR. MARTIN:    Yes.

18            MR. MONTEMARANO :     Do we have some indication on

19 additional witnesses for         Tuesday?

20            MS. JOHNSTON:    Technically, it's not due until

21 the day before, but you already have those witnesses.

22 I've given them to you in terms of Agent             Aske from the

23 FBI.   Then whether we start with Agent            Sakala with the

24 calls, and we will interrupt him with the

25 surveillances.     So, they will come in chronological




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 1 order.     You have the names of at least the first three

 2 or four surveillance agents.

 3            MR. MONTEMARANO :      Do you think we will get

 4 beyond those on        Tuesday?

 5            MS. JOHNSTON:     I don't think we will get beyond

 6 those on    Tuesday, and     I think may have again done it

 7 for those --

 8            THE COURT:    How much more direct do we have of

 9 this witness?

10            MS. JOHNSTON:    Maybe 20 minutes or half an hour.

11            THE COURT:    So I assume there will be five or

12 ten minutes of cross-examination.

13            MR. MONTEMARANO :      At least.   Maybe 15,    Your

14 Honor.

15            THE COURT:    All right.   Well, as      I said, be

16 here.

17            MR. WARD:    Are we going to go through the

18 airline tickets again line by line?

19            THE COURT:     I never knew so much about air

20 Southwest    Airline's booking process.

21            Counsel, we are adjourned.         I will see you on

22 Tuesday at quarter of ten with any minor remaining

23 preliminary matters.       See you then.

24                          (Off the record at 4    :39 p.m.)

25




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 1                             CERTIFICATE

 2

 3       I, Tracy Rae Dunlap,       RPR , CRR , an Official Court

 4 Reporter for the United States District Court of

 5 Maryland, do hereby certify that I reported, by machine

 6 shorthand, in my official capacity, the proceedings had

 7 and testimony adduced upon the Jury Trial Proceedings

 8 in the case of UNITED STATES OF AMERICA versus PAULETTE

 9 MARTIN, et al, criminal Action Number            RWT -04-0235 on

10 June 16, 2006.

11

12       I further certify that the foregoing            252 pages

13 constitute the official transcript of said proceedings,

14 as taken from my machine shorthand notes, of said

15 proceedings.

16

17       In witness whereof, I have hereto subscribed my

18 name, this 18th day of June 2006.

19

20

21                                    __________________________

22                                    TRACY RAE DUNLAP, RPR , CRR
                                      OFFICIAL COURT REPORTER
23

24

25




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